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1    UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
2    ------------------------------x
                                               15-CR-95(WFK)
3    UNITED STATES OF AMERICA,
                                               United States Courthouse
4                Plaintiff,                    Brooklyn, New York

5                -against-                     September 16, 2019
                                               9:30 a.m.
6    DILKHAYOT KASIMOV,

7              Defendant.
     ------------------------------x
8

9             TRANSCRIPT OF CRIMINAL CAUSE FOR JURY SELECTION
                 BEFORE THE HONORABLE WILLIAM F. KUNTZ, II
10                     UNITED STATES DISTRICT JUDGE

11   APPEARANCES

12   For the Government:           UNITED STATES ATTORNEY'S OFFICE
                                   Eastern District of New York
13                                 271 Cadman Plaza East
                                   Brooklyn, New York 11201
14                                 BY: DOUGLAS M. PRAVDA, AUSA
                                        DAVID K. KESSLER, AUSA
15                                      MATTHEW HAGGANS, AUSA

16

17   For the Defendant:            ELIZABETH E. MACEDONIO, P.C.
                                   40 Fulton Street - 23rd Floor
18                                 New York, New York 10038
                                   BY: ELIZABETH E. MACEDONIO, ESQ.
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                                   KELLEY J. SHARKEY
20                                 26 Court Street - Suite 2805
                                   Brooklyn, New York 11242
21                                 BY: KELLEY J. SHARKEY, ESQ.

22                                 LORD & SCHEWEL
                                   233 Broadway - Suite 2220
23                                 New York, New York 10279
                                   BY: ABRAHAM RUBERT-SCHEWEL, ESQ.
24

25

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1    APPEARANCES(Continued)

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3

4    Also Present:                 ERIKA LOPEZ, PARALEGAL SPECIALIST

5                                  SANJAR BABADJANOV, INTERPRETER
                                   NODIRA MATYAKUBOVA, INTERPRETER
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20   Court Reporter:               GEORGETTE K. BETTS, RPR, FCRR, CCR
                                   Phone: 718-804-2777
21                                 Email: Georgetteb25@gmail.com

22

23
     Proceedings recorded by mechanical stenography.           Transcript
24   produced by computer-aided transcription.

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1                (In open court.)

2                THE COURTROOM DEPUTY:      All rise.    The Honorable

3    William F. Kuntz II now presiding.         Criminal cause for jury

4    trial and selection.      Docket number 15-CR-95 U.S.A. versus

5    Kasimov.

6                Counsel, please state your appearances for the

7    record and spell your first and last names for the court

8    reporter including the Uzbek interpreter.

9                MR. PRAVDA:    Good morning, Your Honor, Doug Pravda,

10   David Kessler and Matthew Haggans for the United States and,

11   Erica Lopez who is a paralegal at the U.S. Attorney's Office.

12   For the court reporter, Doug Pravda D-O-U-G P-R-A-V-D-A.

13   David Kessler, D-A-V-I-D K-E-S-S-L-E-R.          Matthew Haggans,

14   M-A-T-T-H-E-W H-A-G-G-A-N-S.        Erika Lopez, E-R-I-K-A

15   L-O-P-E-Z.

16               THE COURT:    Good morning.     You may be seated.

17               MR. PRAVDA:    Thank you, Your Honor.

18               THE COURT:    Ladies and gentlemen of the public you

19   may be seated as well.

20               MS. MACEDONIO:     Good morning, Your Honor.       Elizabeth

21   Macedonio.    We're waiting for Kasimov to come out from the

22   back he is present here.       E-L-I-Z-A-B-E-T-H M-A-C-E-D-O-N-I-O.

23               THE COURT:    Good morning, Ms. Macedonio.        Please be

24   seated.

25               MS. SHARKEY:     Good morning, Your Honor.      Kelley

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1    Sharkey for Mr. Kasimov.        K-E-L-L-E-Y S-H-A-R-K-E-Y.

2                THE COURT:    Good morning, please be seated.

3                MR. RUBERT-SCHEWEL:      Good morning, Your Honor,

4    Abraham A-B-R-A-H-A-M S-C-H-E-W-E-L.

5                THE COURT:    Good morning, sir.      Now, sir, I'm going

6    to ask you, I know you have the computer set up this way but

7    it's rude to have one's back to the jury in a jury trial so

8    I'm going to ask you to move to the other side of the table.

9                MS. SHARKEY:     Can he sit at the top, Your Honor?

10               THE COURT:    No.

11               MS. MACEDONIO:      The bottom.

12               THE COURT:    I want everyone to be facing the jury.

13               MS. SHARKEY:     Okay.

14               THE COURT:    Okay.    Sorry about that.

15               Now, we're going to have the interpreter state and

16   spell his name and/or her name for the record because we have

17   two interpreters.

18               INTERPRETER BABADJANOV:       Good morning, Judge.

19   Sanjar Babadjanov S-A-N-J-A-R B-A-B-A-D-J-A-N-O-V.

20               THE COURT:    Previously sworn.

21               INTERPRETER BABADJANOV:       Yes, correct.

22               THE COURT:    Yes, thank you.     Good morning.

23               INTERPRETER MATYAKUBOVA:       Good morning.    Nodira

24   Matyakubova.     N-O-D-I-R-A M-A-T-Y-A-K-U-B-O-V-A.

25               THE COURT:    Thank you.    Good morning, you may be

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1    seated as well.

2                INTERPRETER MATYAKUBOVA:       Thank you.

3                THE COURT:    We have the defendant present.

4                MS. MACEDONIO:     Yes, Your Honor.

5                MS. SHARKEY:     Yes, Your Honor.

6                THE COURT:    Please be seated as well, sir.

7                Now we have a couple of preliminary matters to

8    address before we address the other preliminary matters.

9                The first preliminary matter I want to address is we

10   are waiting for an additional list from the government of your

11   cooperating witnesses who may be testifying.           We've not

12   received that nor has defense counsel at this time.            I think

13   it would be appropriate, since I need to advise the jurors of

14   those names as well as the names that were previously

15   provided, so Mr. Pravda if you and your team would be good

16   enough to hand to Mr. Jackson that additional list of names,

17   if any, and hand it to defense counsel I will read them into

18   the record at the appropriate time when I'm reading out the

19   names of potential witnesses.

20               Do you have that, sir?

21               MR. PRAVDA:    I do, Your Honor.      And I will hand that

22   up to Mr. Jackson.

23               THE COURT:    Yes.

24               MR. PRAVDA:    For the Court's information, we have

25   also revised the witness list that we previously submitted to

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1    reflect the witnesses that we intend to call at trial and we

2    provided a copy of this to defense counsel already.

3                THE COURT:    Well, I was inclined -- why don't give

4    that list to Ms. Macedonio in the first instance, the

5    additional names.

6                MS. MACEDONIO:     I've received it, Your Honor.

7                THE COURT:    You have the names of the cooperating

8    witnesses?

9                MS. MACEDONIO:     Yes.

10               THE COURT:    Why don't you hand it up to Mr. Jackson

11   then and what I will do is simply add the names -- thank you,

12   Mr. Jackson.

13               THE COURTROOM DEPUTY:      You're welcome, Judge.

14               THE COURT:    -- to the list of materials that I've

15   prepared in terms of listing the witnesses for the trial.

16               MR. PRAVDA:    Your Honor, if I could just clarify,

17   what we have done is this list is intended to replace the list

18   we previously provided, so it's not just the names of the two

19   cooperating witnesses.       What we've done is we've streamlined

20   the prior list and removed names of individuals that we no

21   longer intend to call as witnesses.         So this is the

22   government's current anticipated witness list.           So this list

23   could simply substitute for the information that we previously

24   provided to the Court.

25               THE COURT:    Do you have any names -- I know the

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1    Court's designated witnesses, should the defense put on a

2    case, but do you have any names to add to the list that you've

3    now been provided by Mr. Pravda?

4                MS. MACEDONIO:     No, Your Honor.

5                THE COURT:    Okay.    All right.    We'll go with your

6    revised list of potential witnesses and that will keep the

7    process streamlined.

8                The other issue is there was a motion that came late

9    on Friday with respect to Special Agent Neas and his issues,

10   to put it at 30,000 feet.        I've read the submission from the

11   government.     I was curious to know if defense counsel had any

12   response to that motion.

13               MS. SHARKEY:     Can we have a moment, Judge?

14               THE COURT:    You can have several moments.

15               MS. MACEDONIO:     Thank you.

16               MS. SHARKEY:     Thank you.

17               THE COURT:    You're welcome.

18               MS. MACEDONIO:     We might need several.

19               THE COURT:    You can have several.

20               MS. MACEDONIO:     Okay, thanks.

21               (Pause in proceedings.)

22               MS. MACEDONIO:     Your Honor.

23               THE COURT:    Yes.

24               MS. MACEDONIO:     In order to give a more better

25   thought out response to this, can we advise Your Honor of our

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1    position after the break?

2                THE COURT:    Yes.

3                MS. MACEDONIO:     Thank you.

4                THE COURT:    You're welcome.

5                Are there any other preliminary issues that either

6    counsel wish to raise with me before I address preliminary

7    issues that I have in addition to the ones I've just raised?

8                MR. PRAVDA:    Your Honor, I just would like to note

9    for the record that we've provided copies of the government's

10   trial exhibits and the government's 3500 material both to the

11   defense and to the Court.

12               THE COURT:    Yes.   Thank you.

13               MR. PRAVDA:    Thank you.

14               MS. MACEDONIO:     We received them, Your Honor.

15               THE COURT:    Thank you, Ms. Macedonio.

16               Anything else?

17               MR. PRAVDA:    Nothing else from the government,

18   Judge.

19               MS. MACEDONIO:     No, thank you, Judge.

20               THE COURT:    All right.    Now, counsel, before we

21   bring the jury pool into the courtroom I'm going to instruct

22   you as to how this Court conducts voir dire.

23               In a few minutes my courtroom deputy and law clerks

24   will bring the potential jurors into this courtroom.            The

25   first 14 potential jurors will be seated in the jury box to my

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1    right.    The remaining potential jurors will be seated in

2    sequential order in the rows in the back of the courtroom.             So

3    I'm now going to ask the members of the public who are here,

4    and who certainly have right to be here, to relocate

5    themselves to the far corner of the courtroom now because we

6    are going to be using this space in part for the selection of

7    the jurors.     So with all due respect, move it over there.

8    Thank you.    With all due respect I'm going to ask you to make

9    the very last row of the theater.         And if you've left any

10   bags, materials, water bottles or anything else in that front

11   row, please remove them because we're going to be using that

12   area for jurors to sit as well.

13               I'm going to ask you to move that teleprompter

14   screen, at least for the moment, a little bit to the side

15   because we're going to have people sitting there.           We can live

16   with it on the podium side here to the right, but on the left

17   side we've got to move it over.

18               MR. RUBERT-SCHEWEL:      Turn it.

19               THE COURT:    Closer to the wall, please because we're

20   going to have people sitting there and we don't want them

21   tripping over wires and suing the court, all that good stuff.

22   And move the box off the chairs there or whatever else you've

23   got there.    Thank you.

24               Prior to entering this courtroom each potential

25   juror will be given an auctioneer style paddle with a number

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1    on it.   Each paddle states the number of each juror.           A

2    potential juror's number never changes during the entire voir

3    dire process.     This Court will always refer to a potential

4    juror by his or her paddle number and not by the number of his

5    or her seat.    Jurors' names will not be used.        This is how the

6    Court conducts voir dire in all cases.

7                As the potential jurors enter the courtroom, they

8    will be handed a jury questionnaire by one of my law clerks.

9    Each potential juror will receive the questionnaire for his or

10   her respective -- by his or her respective juror number which

11   then can be identified on the top right-hand corner of the

12   questionnaire.     So juror number one will be seated there and

13   we'll have a questionnaire marked number one.          Juror number

14   two will be seated next, we'll have the questionnaire that's

15   marked number two, so you'll be able to follow along.

16               When the potential jurors are all seated, the Court

17   will swear the jurors in and explain the voir dire process

18   before beginning questioning.       The Court will advise the jury

19   that their names will not be used throughout the voir dire

20   process and, indeed, throughout the entirety of the trial as

21   is common practice in federal court for the names and

22   identities of the jurors to be kept confidential.

23               As the Second Circuit has noted, anonymity will ward

24   off curiosity that might infringe on a juror's privacy.

25   United States versus Thai, T-H-A-I, 29F.3d, 785-801 decided by

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1    the Second Circuit in 1994.

2                After instructing the jurors on anonymity, this

3    Court will ask the potential jurors to complete in silence the

4    jury questionnaire.      When all potential jurors have completed

5    that process, my law clerks will collect the completed

6    questionnaires and hand them to counsel for the government to

7    make the necessary number of copies for all parties.

8                Next -- and we'll take a brief recess at that point

9    so you can have your comfort break then.         Next the Court will

10   ask the potential jurors as a whole questions about their

11   respective backgrounds, relationships, conflicts, prior jury

12   service and other relevant issues.        After each question the

13   Court will ask the potential juror to raise their respective

14   paddle if the question applies to him or to her.           My law

15   clerks will record these responses.

16               After the Court has finished its questioning of each

17   potential juror, each potential juror will be called to the

18   sidebar to my left, your right, for questioning outside of the

19   hearing of the other potential jurors but on the record with

20   all counsel of record in attendance.         All clients will have

21   access to sidebar colloquy from the realtime transcripts

22   available to be seen while those clients and co-counsel are

23   seated at counsel table.

24               And, counsel, I want you to confirm now that your

25   realtime is working.      Government is it working?

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1                MR. HAGGANS:    Yes, Your Honor.

2                THE COURT:    Defense counsel is your realtime

3    working?

4                MS. MACEDONIO:    It is, Your Honor.

5                THE COURT:    So that your client can see it as it

6    goes forward; is that correct?

7                MS. SHARKEY:    Yes, Judge.

8                THE COURT:    Okay.   Now, listen carefully, all

9    questioning is undertaken by the Court and the Court alone.

10   Let me say it again.      All questioning of the potential jurors

11   is undertaken by the Court and the Court alone.           Because this

12   is an anonymous jury, the Court will never ask potential

13   jurors their names or discuss their residences or specific

14   places of employment.

15               If an attorney believes a potential juror has not

16   mentioned an issue for which the juror previously raised his

17   or her paddle, or if an attorney has a concern about a

18   potential juror's response in light of the questionnaire

19   responses, the attorney must wait until after the potential

20   juror has left the sidebar and returned to his or her seat to

21   raise the issue with the Court outside of the presence and the

22   hearing of that potential juror.

23               After the Court has finished its questioning and

24   excused any potential jurors for cause, I will direct my

25   courtroom deputy to refill the jury box with the first 14

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1    potential jurors who remain and we will do this in sequential

2    order.    We're not going to be flipping.       It will go straight

3    through.

4                As I mentioned, the Court and counsel will continue

5    to refer to the potential jurors by their paddle numbers and

6    not by their respective seat numbers.         So, for example, if

7    potential juror number 23 is placed in seat number eight in

8    the jury box, he or she will be referred to as juror number 23

9    and not juror number eight.       The paddle is the juror for

10   identification purposes.

11               Once the jury box is full with potential -- with the

12   36 potential jurors not excluded and excused for cause by this

13   Court, I will ask all the potential jurors in the courtroom to

14   raise their respective paddles so that the attorneys may take

15   note of their juror numbers.       The attorneys will then have

16   several minutes to review their respective notes and to confer

17   with their co-counsel and their clients seated at their

18   respective counsel tables to determine how they wish to

19   exercise their peremptory challenges.

20               In this case, we have 12 jurors and four alternate

21   jurors.    The government has a total of six, that is to say,

22   six peremptory challenges and the defendant has 10, that is to

23   say, 10 peremptory challenges.        Each party will also be given

24   two alternate challenges.       This Court will conduct six rounds

25   of peremptory challenges.

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1                In the first round the government will exercise the

2    first challenge and the defendant will exercise the next two

3    challenges.

4                In the second round the defendant will exercise two

5    challenges followed by one challenge from the government.

6                In the third round the government will exercise the

7    first challenge and the defendant will exercise the next two

8    challenges.

9                In the fourth round the defendant will exercises two

10   challenges followed by one challenge from the government.

11               In the fifth round the government will exercise one

12   challenge followed by one challenge from the defendant.

13               In the sixth round the defendant will exercise one

14   challenge followed by one challenge from the government.

15               The Court will then hold two alternate strike

16   rounds.   In alternate juror round one the defendant will issue

17   the first challenge and the government will follow with one

18   challenge.    In the second alternate round the government will

19   exercise one challenge followed by one challenge from the

20   defendant.

21               By agreement with the parties, after we've completed

22   jury selection, we will adjourn for the day to resume tomorrow

23   at 9:30 a.m.

24               Now, are there any questions before we bring the

25   jury pool into the courtroom?

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1                MS. SHARKEY:    Your Honor, may I ask a question?

2                THE COURT:    Let me hear from the government first.

3    Any questions?

4                MR. PRAVDA:    No questions from the government, Your

5    Honor.    Thank you.

6                THE COURT:    Defense counsel.

7                MS. SHARKEY:    Your Honor, forgive me.

8                THE COURT:    You're forgiven.

9                MS. SHARKEY:    Okay.   Thanks.    How many jurors are we

10   striking against?      Are we just striking against the box?

11               THE COURT:    Yes.

12               MS. SHARKEY:    Thank you.

13               THE COURT:    Or you can do what some lawyers have

14   done which is to strike against jurors who are outside of the

15   box for reasons that I will never understand.          But we once had

16   a situation where someone struck a juror who was so far out of

17   the box we practically had to call in NASA to find where they

18   were.    But, hey, like I said, anyone who has a paddle at that

19   point you can strike them if they are among the first 36,

20   which is your box, or not.

21               MS. SHARKEY:    Thank you, Judge.

22               THE COURT:    You're welcome.     Anything else?

23               MR. HAGGANS:    I'm sorry, Your Honor, just for

24   confirmation, it goes through 1 through 7, 8 through 14 in the

25   box?

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1                THE COURT:    Mr. Jackson, is that how we do it?

2                THE COURTROOM DEPUTY:      One through seven, 15 at the

3    chair outside the box at the bottom.         Then you have eight

4    through 14 and then 16 at the chair on top outside the box.

5                THE COURT:    But the good news is you only have to

6    look at the paddles because that will tell you who the juror

7    is.

8                Because when I first became a judge and people

9    started moving around I said, I've got to keep it simple

10   because it is for me.      So the paddles have worked.

11               Other questions before we bring in the jury, from

12   the government?

13               MR. KESSLER:    No, Your Honor.

14               THE COURT:    From defense?

15               MS. MACEDONIO:    No, thank you, Judge.

16               THE COURT:    Okay.

17               Remember, when the green light is on we can hear

18   you.

19               MS. MACEDONIO:    Thank you.

20               (Pause in proceedings.)

21               (Prospective jurors enter the courtroom.)

22               THE COURT:    Good morning.    You know what?     It will

23   be easier if you folks just come in.         Juror number one, you

24   can sit there.     Juror number two, come in, follow

25   Mr. Jackson's direction rather than climb over each other,

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1    okay?

2                THE COURTROOM DEPUTY:      Please come back this way.

3                THE COURT:    Juror number three, will you head back,

4    it will make life a lot easier.        And welcome, thank you for

5    your patience.

6                THE COURTROOM DEPUTY:      Eight through 10 please

7    follow me.    Have a seat in the first chair top row.

8                THE COURT:    You may be seated counsel and parties.

9    You can sit down and members of the public.

10               Thank you, ladies and gentlemen of the jury, you can

11   start filling in those questionnaires.         You should each have a

12   pen and we'll be bringing in the additional jurors.

13               THE COURTROOM DEPUTY:      Jurors 11 through 16.      All

14   the way down, please.      Place your bags between your legs not

15   on the benches.     Can you slide down a little bit more please.

16               THE COURT:    I know it's a little cozy but it won't

17   be for very long, so I want to thank you for filling out the

18   forms as we wait for the rest of the jurors to be brought up.

19               Just be glad you're not sitting next to me on an

20   airplane, right.

21               THE COURTROOM DEPUTY:      Juror 26 through 42 here.

22   All the way down, shoulder to shoulder.         Please place your

23   bags between your legs not on the bench.         All the way over

24   shoulder to shoulder.

25               If you follow me please, come all the way down.

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1    Shoulder to shoulder.      Place your bags between your legs not

2    on the bench.     Shoulder to shoulder, please.       Please slide

3    down.

4                All the way down, shoulder to shoulder please.

5    Thank you.    All the way down.     Please place the bags between

6    your legs and right against the back of the bench.

7                All the way down shoulder to shoulder.         I'm sorry

8    for the closeness of the room but I don't have a choice.

9    There is a space right there for you, sir.

10               Slide down a little bit more.       Thank you very much.

11               Slide all the way down.      Please place your bags

12   between your legs not on the bench or against the bench.            All

13   the way down shoulder to shoulder please.

14               All the way down to the end please.        Place your

15   belongings between your legs not on the bench or on the back

16   of the bench.     Please move all the way down shoulder to

17   shoulder.    Slide down a little bit more please.         Thank you.

18               All the way down shoulder to shoulder, please.

19   Thank you.

20               Slide all the way down please.       Eighty-one, 82, 83,

21   84, all the way down shoulder to shoulder.          Eighty-five.    All

22   the way down please, shoulder to shoulder.          Place your

23   belongings between your legs not on the bench.

24               All the way down please, shoulder to shoulder.          One

25   more there.    All the way down please, shoulder to shoulder.

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1                Please slide down a little, thank you.         Slide down.

2    All the way down, shoulder to shoulder.         Place your belongings

3    between your legs.     Thank you.

4                Slide all the way down, please.        Please slide down,

5    shoulder to shoulder.      Sir, please slide down, shoulder to

6    shoulder.    Thank you.    Place your belongings between your

7    legs.    Please have a seat.

8                Judge, all the jurors are accounted for.

9                THE COURT:    Have they all been given the

10   questionnaires?

11               THE COURTROOM DEPUTY:      Absolutely.

12               THE COURT:    Mr. Jackson, would you please call the

13   case and swear the jurors.

14               THE COURTROOM DEPUTY:      Criminal cause for jury

15   selection and trial.      Docket number 15-CR-95.      U.S.A. versus

16   Kasimov.

17               Jurors, will you please stand and raise your right

18   hands.

19               You, and each of you, do solemnly swear or affirm

20   that the answers you're about to give touching upon your

21   qualifications to serve as prospective jurors in this case,

22   now before the court, shall be the truth, the whole truth and

23   nothing but the truth, so help you God.

24               THE COURT:    Please say I do.

25               PROSPECTIVE JURORS:     I do.

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                                  PROCEEDINGS

1                THE COURT:    Please be seated, ladies and gentlemen

2    of the jury.    I want to thank you very much and I wish to

3    welcome you a good afternoon.       I know it's been a long day for

4    you already and we appreciate your time and your patience.

5                I want each of you to take a deep breath and to

6    relax.   We're here for a very serious purpose, a purpose that

7    makes each of us proud to be citizen of this great nation,

8    that is to serve the interests of justice fairly and

9    impartially.

10               My name is William Kuntz, I am the United States

11   District Court Judge who will be trying this case with you.

12   We are now about to engage in a time-honored process referred

13   to as voir dire.     This is simply the traditional way of

14   stating that we are going to ask you, the prospective members

15   of the jury panel, whether you have a problem that would

16   prevent you from serving on this jury.         That is to say,

17   whether any of you should be excused from service for what we

18   judges and lawyers call for cause.

19               For example, if you were married to one of the

20   lawyers trying this case, or if you work for the Assistant

21   United States Attorney's office, or for the office of one of

22   the defense counsel that would be a for cause reason to be

23   excused from jury service.       Also, we give an opportunity for

24   the attorneys on each side to excuse a certain number of

25   potential jurors without having to give any particular reason.

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                                                                          21
                                  PROCEEDINGS

1                The Court estimates this trial will take no more

2    than two weeks beginning today, meaning this week and next

3    week, Monday through Friday.       We will start the trial today.

4    We will meet each weekday after that from 9:30 a.m. until

5    5 p.m.   The trial concludes at 5 p.m. each day at 5 p.m.

6    sharply.

7                If that timetable presents a problem for any of you,

8    I will ask you in a few minutes to raise your paddle and we

9    will discuss it individually with the lawyers over here to my

10   left, straight ahead at what we call the sidebar.           And I want

11   to emphasize that we will be discussing it here with the

12   lawyers in private.      We are not here to embarrass anyone.

13   This is the real world and we know that each and every one of

14   you has something else to do, some place else to be, a job,

15   family responsibilities, children we get that and we are

16   solicitous of and grateful for your service and your time.

17   We're not here to embarrass anyone and you will not be forced

18   to discuss any private matters in front of everyone else.

19   We're all adults and we're all here to support each other's

20   rights to privacy, so take a deep breath and relax.

21               It is common practice in federal court for the names

22   and identities of the jurors to be kept confidential and

23   that's what we're doing in this case.         I can assure you as the

24   federal judge trying this case, trying this case with you, I

25   take issues of privacy very seriously especially in the

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                                  PROCEEDINGS

1    Internet age.     In this trial your names will not be known to

2    the public, to members of the press, to the parties in this

3    action, to the lawyers.      Your names are known only to certain

4    Court personnel.     As the Court, I will refer to you only by

5    your juror paddle number throughout this trial.

6                No camera nor cell phones are allowed in this

7    courtroom and no pictures of anyone will be taken.           The Court

8    Security Officers and the Federal Marshals of course will have

9    communication devices but no members of the public will have

10   such devices so you don't have to worry about that.

11               In addition to being an anonymous jury, as jurors

12   you will also be what is referred to as partially sequestered.

13   That simply means the United States Marshals Service will

14   escort you, as the jury, to from and within the courthouse

15   daily.   This will ensure a timely start to each day an as

16   jurors you will remain together during the breaks and during

17   lunch in order to preserve the trial continues expeditiously.

18   The Court will provide you with lunch each day that you are a

19   juror here.

20               When you entered the courtroom my law clerks handed

21   each of you a juror questionnaire and a pen with your juror

22   number on the top right-hand corner.         I will now ask each of

23   you, if you have not yet done so, to read the instructions on

24   the first page and to complete the jury questionnaire, it's

25   fairly short, but take your time and do not write your name or

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1    social security number or any other identifying information

2    anywhere on the questionnaire.        When you have finished the

3    questionnaire I will ask you to hold on to it and to look up

4    and wait for further instructions.        We anticipate it takes

5    about 10 minutes to fill out the questionnaire and in about 10

6    minutes I will ask you to raise your respective paddles if you

7    need more time.     So if you would just be good enough to fill

8    out this brief questionnaire and in about 10 minutes we'll

9    check in with you.     If you need more time, I know some of you

10   have already started to fill it out, I'm very grateful.

11   Again, no names, no socials, no identifying numbers, just fill

12   out the questionnaire.      Each of you has -- you see there is a

13   number on the top right corner, that's your juror paddle

14   number.    So the number on your questionnaire, for example,

15   juror number one you ought to have a questionnaire number one.

16   Juror number two, you ought to have questionnaire number two.

17   Hopefully, you will have a paddle number that comports with

18   the questionnaire.     If not that's not the case let me know and

19   my law clerks will take care of that now.

20               So please fill out questionnaire and when you're

21   done in about 10 minutes we'll check in with you again.            Okay.

22   Thanks.

23               (Pause in proceedings.)

24               THE COURT:    Would another two or three minutes be

25   helpful?    Anybody need a little more time?        If you do just

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                                  PROCEEDINGS

1    raise your paddle, I'll give you a couple of more minutes.

2    Anybody need a little more time?        Yes, no problem we'll give

3    you a couple of more minutes, sure.

4                (Pause in proceedings.)

5                THE COURT:    Okay, one more minute and then we'll

6    collect the completed questionnaires.

7                (Pause in proceedings.)

8                (Continued on the next page.)

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                                                                          25
                                Jury Selection

1                (Continuing.)

2                THE COURT:    Is there anyone who has not completed

3    his or her questionnaire?       All right.    Seeing no paddles

4    raised, that's great.      I'm now going to ask you to pass down

5    your completed questionnaire to the end of the row so we can

6    have my law clerks collect them and just pass them down and

7    they will collect them and then we'll deal with them

8    appropriately.     Thank you very much for your patience on that.

9    Think of it as a collection and a place of worship but you

10   don't have to put any money in, just hand it down.

11               Have all of the questionnaires been handed in?

12   Anybody hanging on to one.        Thank you very much ladies and

13   gentlemen of the jury.      Now what we are going to do is we're

14   going to have them made available to all the counsel and we

15   will then proceed once that copying process has been done so

16   that each side has got their respective copies of your

17   questionnaires, but, again, those questionnaires do not

18   contain any identifying information other than just your jury

19   number.

20               Can we get that copying process underway right away,

21   folks?

22               MR. HAGGANS:    Yes, Your Honor, we will.

23               THE COURT:    Good.

24               (Pause.)

25               MS. MACEDONIO:    Your Honor, may the parties

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                                Jury Selection

1    approach?

2                THE COURT:    The parties may approach.

3                MS. MACEDONIO:    Thank you, Your Honor.

4                (Continued on the next page.)

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                                                                          27
                          Jury Selection - Sidebar

1                (Sidebar conference held on the record out of the

2    hearing of the prospective jurors.)

3                MS. MACEDONIO:    We need a little direction from the

4    Court on how Your Honor anticipates proceeding.           I think from

5    the parties' perspective, we thought we were going to break

6    now, have those copied, and then given the chance to be able

7    to review them so that we could strike whoever is in the panel

8    who would automatically be excused rather than questioning

9    them now individually.      That is what I believe the parties

10   anticipated.

11               THE COURT:    I'm so sorry that you anticipated

12   incorrectly.

13               MS. MACEDONIO:    Okay, I apologize.

14               THE COURT:    No need to apologize, but now you have

15   been informed.

16               Anything else?

17               MS. MACEDONIO:    No, Your Honor.

18               THE COURT:    Anything else?

19               MR. KESSLER:    Just to add, Your Honor, that our

20   administrative person will come and collect the questionnaires

21   and start the copying process, but we don't have an exact time

22   frame for how fast that will be.        It will be as fast as an

23   army of people can do it.

24               THE COURT:    Anything else?

25               I think the administrative person should have been

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                                                                          28
                          Jury Selection - Sidebar

1    here where you could have one of your people schlep it over to

2    your administrative person, but I can't tell you folks how to

3    run your part of the shop.

4                Anything else?

5                MS. MACEDONIO:    No, Your Honor.

6                MR. KESSLER:    Thank you.

7                MR. PRAVDA:    Thank you.

8                (End of sidebar conference.)

9                (Continued on the next page.)

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                                Jury Selection

1                (Sidebar ends; in open court.)

2                THE COURT:    Mr. Jackson?

3                THE COURTROOM DEPUTY:      Yes, Judge.

4                THE COURT:    All right, ladies and gentlemen of the

5    jury, now that the questionnaires have been completed, they're

6    off being copied, we're now going to begin with an overview

7    while we await the return of the completed questionnaires for

8    counsels' benefit so we can move right ahead.          I want to tell

9    you about the case and then we'll get started with our sidebar

10   individual discussions with each of you.

11               This case is a criminal prosecution brought by the

12   United States of America.       The defendant, who sits before you,

13   is Mr. Dilkhayot Kasimov.       Mr. Kasimov has been charged by way

14   of an indictment.     An indictment is simply the means by which

15   the Government gives a defendant notice of the charges against

16   him and brings the defendant to court.         The indictment is

17   merely an accusation and nothing more than an accusation.            It

18   is not evidence and it is not to be considered by the jury in

19   arriving at a verdict.

20               In response to the indictment, the defendant has

21   pled not guilty.     The defendant is presumed to be innocent and

22   presumed to be not guilty unless and until such time, if ever,

23   his guilt has been proven by the United States government

24   beyond a reasonable doubt.       If you are selected as a juror in

25   this case, it will be your duty to determine whether based on

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                                Jury Selection

1    all the evidence presented at the trial, and only the evidence

2    presented at the trial, whether the Government has proven

3    beyond a reasonable doubt that the defendant is guilty of the

4    crimes charged in the indictment.

5                If the Government does not meet its burden of proof

6    beyond a reasonable doubt, then you, the jury, must find the

7    defendant not guilty.      I will now ask each of the attorneys to

8    rise and to introduce themselves, their institutional

9    affiliations, and their clients beginning with the Government.

10               Please stand and introduce yourselves to the members

11   of the jury on the record.

12               MR. PRAVDA:    Good morning.     Doug Pravda, Assistant

13   United States Attorney, Eastern District of New York.

14               MR. KESSLER:    Good afternoon.     David Kessler, also

15   an Assistant United States Attorney with the Eastern District

16   of New York.

17               MR. HAGGANS:    Good afternoon.     Matthew Haggans, also

18   an Assistant United States Attorney in the Eastern District of

19   New York.

20               MS. MACEDONIO:    Good afternoon.      My name is

21   Elizabeth Macedonio and I represent Dilkhayot Kasimov.

22               MS. SHARKEY:    Good afternoon, ladies and gentlemen.

23   My name is Kelley Sharkey and I also represent Dilkhayot

24   Kasimov.

25               MR. RUBERT-SCHEWEL:     Good afternoon.     Abraham

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                                Jury Selection

1    Rubert-Schewel.     I represent Dilkhayot Kasimov.

2                THE COURT:    We also have translators who are seated

3    next to the defendant, Mr. Kasimov.

4                Mr. Kasimov, would you stand, please?

5                THE DEFENDANT:    Good morning.

6                THE COURT:    Good afternoon.     Thank you.    You may be

7    seated, Mr. Kasimov.

8                Now, I'm going to stop right here and ask, does

9    anyone know the defendant, Mr. Kasimov?         If you do, please

10   raise your paddle and hold it up.

11               I see no paddles raised.

12               Has anyone here had any dealings with Mr. Kasimov or

13   with the attorneys representing him or any of the attorneys

14   representing the Government?       If so, please raise your paddle

15   now.

16               I see no paddles raised.      Thank you.

17               In this case, the Government charges Mr. Kasimov

18   with one count of conspiracy to provide material support to a

19   foreign terrorist organization, the Islamic State of Iraq and

20   al-Sham, also referred to as ISIS, I-S-I-S, and one count of

21   an attempt to provide material support to a foreign terrorist

22   organization, ISIS.

23               I am now going to ask you some questions about your

24   ability to serve on this jury.        Please listen carefully to my

25   questions and my comments.       The attorneys having introduced

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                                Jury Selection

1    themselves and identified their institutional affiliations and

2    their clients; we're now going to proceed.

3                Have any of you had any direct or indirect dealings,

4    business -- social or otherwise -- with any of the attorneys

5    who just introduced themselves to you by name?          If so, please

6    raise your paddle and hold them up high.

7                I see no paddles raised.      Thank you.

8                Now, the lawyers have given this Court a list of

9    prospective witnesses who may be called and other names that

10   you may hear during the trial.        I'm going to ask you to listen

11   to this list of names -- and I will spell the names for you --

12   and to please let the Court know if you have or may have had

13   dealings with any one or more of them.         And to give you an

14   example, if someone says "John Jones" is the name -- pretty

15   common name, but maybe you know the John Jones we're talking

16   about, maybe you don't -- in a super abundance of caution,

17   just raise your paddle if I call out a name and you may or may

18   not have known that person.       And if you do, we will discuss it

19   at the sidebar.

20               So I'm going to go through the list of names and ask

21   you to pay attention.      As I said, I will spell the names of

22   each of the potential witnesses.

23               Special Agent Rajeev, which is spelled R-A-J-E-E-V,

24   last name Bhatia, B as in "boy," H-A, T as in "Thomas," I, A

25   as in "apple," Homeland Security Investigations.           Does anyone

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                                Jury Selection

1    know Special Agent Rajeev Bhatia?        If so, please raise your

2    paddle.

3                I see no paddles raised.      Thank you.

4                Next.   Detective Mariano Capellan, C as in "candy,"

5    A, P as in "Peter," E-L-L-A, N as in "Nancy," New York City

6    Police Detective.     Anyone know Detective Capellan?

7                I see no paddles raised.      Thank you.

8                Next.   Special Agent Thais, T-H-A-I-S, second name

9    Canin, C like "candy," A, N like "Nancy," I-N, Federal Bureau

10   of Investigation.     Anyone know that special agent?

11               I see no paddles raised.      Thank you.

12               Next.   Special Agent Michael DiCaprio, D as in

13   "David," I, capital C as in "candy," A-P-R-I-O, Federal Bureau

14   of Investigation.     Anyone know that person?

15               I see no paddles raised.      Thank you.

16               Next.   Special Agent Megan, M-E-G-A-N, Dolan,

17   D-O-L-A-N, Federal Bureau of Investigation.          Anyone know

18   Special Agent Dolan?

19               I see no paddles raised.      Thank you.

20               Next, a gentleman Abror, A-B-R-O-R, last name

21   Habibov, H as in "Harry," A, B as in "boy," I, B as in "boy,"

22   O, V as in "Victor."      Does anyone know Mr. Habibov?

23               I see no paddles raised.      Thank you.

24               Next name is Mr. Dilorom, D as in "David,"

25   I-L-O-R-O, M as in "Mary."       Last name, K as in "king," A, M as

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                                Jury Selection

1    in "Mary," B as in "boy," A-R-O, V as in "Victor," A.            Anyone

2    know that individual?

3                I see no paddles raised.

4                Next name.    His first name is U-L-U-G-H, B as in

5    "boy," E-K.    Last name, M as in "Mary," A, M as in "Mary,"

6    A-D-J-A-N-O, V as in "Victor."        Anyone know that individual?

7                I see no paddles raised.      Thank you.

8                Next is Detective Sean McTighe, capital M-C, T as in

9    "tiger," I-G-H-E.     New York City Police Department.        Anyone

10   know that individual?

11               I see no paddles raised.      Thank you.

12               Next is Special Agent John Neas, N as in "Nancy,"

13   E-A, S as in "Sam," Junior, Federal Bureau of Investigation.

14   Anyone know Special Agent Neas?

15               I see no paddles raised.      Thank you.

16               Next is Special Agent, first name J-A, M as in

17   "Mary," S-H-I, D as in "David."        Last name O-C-H-I-L-O, V as

18   in "Victor," Federal Bureau of Investigation.          Anyone know

19   that individual?

20               I see no paddles raised.

21               Next is Special Agent Marcus, M-A-R-C-U-S, Rivera,

22   R-I-V-E-R-A, United States Attorney's Office, Eastern District

23   of New York.    Anyone know Special Agent Marcus Rivera?

24               I see no paddles raised.      Thank you.

25               Next is Special Agent Ryan, last name Singer, S-I, N

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                                Jury Selection

1    as in "Nancy," G-E, R as in "Roger," Federal Bureau of

2    Investigation.     Anyone know that person?

3                I see no paddles raised.      Thank you.

4                Next is Dr. Lorenzo, L-O-R-E-N-Z-O, last name

5    Vidino, V as in "Victor," I, D as in "David," I, N as in

6    "Nancy," O.    Anyone know that individual?

7                I see no paddles raised.

8                And finally Mr. A-K-M-A-L, last name Zakirov, Z as

9    in "Zoro," A, K as in "king," I-R-O, V as in "Victor."            Anyone

10   know that individual?

11               I see no paddles raised.      Thank you.

12               Is there anyone who knows me personally or has had

13   any dealings with me?      If I do not recognize you as I look out

14   on to the prospective jury panel, please do not be offended.

15   If I recognize you but you do not remember me, I promise I

16   will not be offended.      Anyone know me?

17               No paddles go up.     I continue to have the much

18   obscurity that I deserve and have borne.

19               Now, I have some general questions for you.

20               Do you have any knowledge about the parties for this

21   case that might influence your ability to decide this case

22   fairly and impartially, or have you read or heard anything

23   about this case?     If so, please raise your paddle high and

24   keep it up until I call out your number.

25               Anyone read anything about this case or know

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                                Jury Selection

1    anything about the parties that might influence your ability

2    to be fair and impartial in this case?         Please raise your

3    hands up with your paddle.

4                I see no paddles raised.      Thank you.

5                Now, if you believe that any group does not receive

6    fair treatment from police, prosecutors, or law enforcement

7    agencies, or if you believe that any group receives

8    preferential treatment from police, prosecutors, or law

9    enforcement agencies and you feel that you would be unable to

10   put aside any such opinions or beliefs that you hold in

11   evaluating the evidence presented in this Court at this trial

12   in this courtroom, please raise your paddles now and I will

13   call out your number and we will discuss it at the sidebar.

14   So hold your paddles up high, please, and hold them up until I

15   call your number and then you can put your paddle down.            Thank

16   you.

17               Number 25, thank you.      You can put it down when I

18   call your number out, but not before I call your number out.

19   Okay.   Number 50, thank you.      You can put it down.      Number 74,

20   thank you.    Number 87, thank you.      Number 110, thank you.

21   Number -- you have to wait until I call your number.            Okay.

22   Number 112, thank you.      Any other paddles?      Okay.

23               I see none.    Thank you very much.

24               Do you hold any beliefs about incarceration or the

25   criminal justice system that would make it difficult for you

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1    to be a fair and impartial juror in this case?          If so, please

2    raise your paddle high and hold it up until I call out your

3    number.

4                Number 25, thank you.      Number 50, thank you.      Number

5    37, thank you.     Number 102, thank you.      Number 123, thank you.

6                Anyone else?    All right.

7                Is there anything in what you have seen, heard,

8    read, or experienced about the following offices and/or

9    agencies that would make it difficult for you to render a fair

10   and impartial verdict in this case:        The United States

11   Department of Justice or the United States Attorney's Office

12   or the FBI or the Joint Terrorism Task Force or the United

13   States Department of Homeland Security or the New York City

14   Police Department or any other law enforcement agency?            If so,

15   please raise your paddle and hold it up until I call it and

16   then you put it down.

17               Number 10, thank you.      Number 7, thank you.      Number

18   13, thank you.     Number 25, thank you.      Number 37, thank you.

19   Number 50, thank you.      Number 55, thank you.

20               Hold them up high so I can see.        Thanks.

21               Number 80, thank you.      Number 81, thank you.      Number

22   90, thank you.     Number 92, thank you.      Number 93, thank you.

23   Number 95, thank you.      Number 118, thank you.

24               Anyone else?    Okay.

25               Have you ever served as a juror in any case -- civil

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                                Jury Selection

1    or criminal -- or as a member of a grand jury either in

2    federal court or in state court?        If so, please raise your

3    paddle high until I call out your number.          Thank you.

4                Number 14, thank you.      16, thank you.     18, thank

5    you.   20, thank you.     23, thank you.     24, thank you.     27,

6    thank you.    31, thanks.    33, thank you.     35, thank you.     36,

7    thank you.    44, thank you.     46, thank you.     50, thank you.

8    52, thank you.     56, thank you.     57, thank you.    61, thanks.

9    63, thank you.     74, thank you.     78, thank you.    84, thank you.

10   96, thank you.     99, thank you.     100, thank you.     107, thank

11   you.   117, thanks.    119, thank you.     120, thanks.     121, thank

12   you.   126, thank you.

13               Anyone else?    All right.

14               Have any of you personally or has anyone in your

15   immediate family, anyone that you consider your immediate

16   family -- that is to say, your parents, your spouse, children,

17   siblings or significant others -- ever participated in a

18   lawsuit or a criminal case as a witness?         If so, please raise

19   your paddle until I call out your number.

20               Thank you, number 2.      Thank you, number 13.      Thank

21   you, number 27, thank you.       29, thank you.     45, thank you.

22   68, thank you.     91, thank you.     100, thank you.     114, thank

23   you.

24               Anyone else?    I see no other paddles.

25               If you are selected to sit on this case, would you

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                                                                          39
                                Jury Selection

1    be able to render a decision based solely on the evidence

2    presented in this courtroom at this trial and in the context

3    of the law that I, as the trial judge, will provide to you in

4    my instructions?     You would have to disregard any ideas,

5    notions, or beliefs about the law or any biases or prejudices

6    or other views which you may have encountered in reaching your

7    verdict and keeping in mind that, under our legal system, this

8    defendant is presumed innocent unless until such time as he is

9    found to be guilty beyond a reasonable doubt.          If you will not

10   be able to follow my instructions, if you aren't willing to

11   follow my instructions, please raise your paddle now.

12               Number 21, thank you.      Number 10, thank you.      Number

13   22, thank you.     24, thank you.     25, thank you.    37, thank you.

14   45, thank you.     50, thank you.     62, thank you.    69, thank you.

15   74, thank you.     87, thanks.    95, thank you.     110, thank you.

16   112, thank you.     115, thanks.    121, thank you.     123, thank

17   you.    126, thank you.

18               Anyone else?    Okay.

19               Is there any member of the panel who has a special

20   personal obligation that makes you think it would be

21   impossible for you to be present for jury duty between the

22   hours of 9:30 a.m. and 5:00 p.m. every day this week and next

23   week?   If so, remember we will discuss at the sidebar, but

24   please raise your paddle now.

25               Number 1, thank you.      6, thanks.    7, thank you.    13,

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                                                                          40
                                Jury Selection

1    thanks.   14, thank you.     16, thank you.     19, thank you.     22,

2    thanks.   23, thank you.     24, thank you.     25, thank you.     29,

3    thanks.   30, thank you.     32, thanks.     34, thank you.     39,

4    thank you.    42, thank you.     44, thank you.     46, thanks.    47,

5    thank you.    52, thank you.     60, thank you.     57, thank you.

6    62, thank you.     66, thank you.     65, thanks.    71, thank you.

7    73, thank you.     74, thanks.    75, thank you.     76, thanks.      81,

8    thank you.    82, thanks.    83, thank you.     85, thank you.     87,

9    thanks.   88, thank you.     91, thank you.     92, thanks.     93,

10   thank you.    94, thanks.    95, thank you.     127, thanks.     105,

11   thank you.    128, thank you.     98, thanks.    100, thank you.

12   129, thank you.     108, thank you.     109, thanks.    110, thanks.

13   111, thank you.     112, thank you.     113, thank you.     114 -- 114

14   up?    Okay, not 114.    115, thank you.     118, thanks.    121, thank

15   you.   122, thank you.     123, thanks.    124, thank you.      125,

16   thank you.    126, thank you.     130, thank you.

17               Any other paddles that I may have missed?         Okay.

18               Is there any member of the panel who has a

19   disability or special need that makes you think it would be

20   difficult or impossible for you to serve on this jury?            You do

21   not need to tell everyone what it is, as I've said repeatedly

22   before, we will discuss it discretely at the sidebar.            Is

23   there anyone who thinks upfront that you cannot or should not

24   sit on this jury for any reason involving disability or

25   special needs?     If so, please raise your paddle now.

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                                                                          41
                                Jury Selection

1                Number 23, thank you.      Number 85, thanks.     Number

2    72, thank you.      92, thanks.   121, thank you.

3                Anyone else have special-needs issues?         Okay, thank

4    you.

5                Is there any member of the panel who has a legal

6    education or legal training?        If so, please raise your paddle

7    now.   Number 21, thanks.     39, thank you.     68, thanks.     70,

8    thanks.   80, thank you.     93, thank you.     102, thanks.     112,

9    thanks.   117, thank you.

10               Anyone else legal training or education?

11               43, thank you.

12               Anyone else?    Legal training, legal education,

13   anyone else?    Okay.

14               Have any of you ever been a victim of a crime?            If

15   so, please raise your paddle, hold it up now.

16               Number 10, thanks.      Number 13, thank you.     18,

17   thanks.   20, thank you.     24, thanks.     25, thank you.     31,

18   thanks.   34, thank you.     37, thank you.     44, thanks.     46,

19   thank you.    53, thanks.    55, thank you.     62, thank you.      64,

20   thanks.   65, thank you.     68, thanks.     74, thank you.     75,

21   thank you.    80, thanks.    83, thank you.     86, thank you.      87,

22   thank you.    91, thank you.      93, thank you.    99, thank you.      Is

23   that 106?    Yes.    Thank you.   110, thank you.     112, thanks.

24   119, thank you.      120, thanks.    121, thank you.    130, thank

25   you.   Number 7, thank you.

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                             Official Court Reporter
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                                Jury Selection

1                Anyone else?    I see no other paddles.       Okay.

2                Do any of you have any relationship -- business,

3    social, or otherwise -- with any members of law enforcement

4    whether the police, the FBI, Homeland Security, diplomatic or

5    security services, security officers, or otherwise broadly

6    defined?    If so, please raise your paddle and I will call out

7    your number.

8                2, thank you.    3, thanks.    6, thank you.     9, thanks.

9    10, thank you.     13, thank you.     14, thank you.    22, thanks.

10   21, thank you.     20, thank you.     27, 28, thanks.     30, thank

11   you.   33, thanks.    34, thank you.     38, thank you.     41, thanks.

12   43, thank you.     45, thanks.    47, thank you.     49, thanks.      51,

13   thank you.    52, thank you.     53, thank you.

14               In the back, hold it a little bit higher.         Thank

15   you.

16               67, thanks.    68 -- 60, thank you.      61, thank you.

17   73, thank you.     78, thanks.    80, thank you.     81, thanks.      82,

18   thank you.    85, thank you.     95, thanks.    94, thanks.     93,

19   thank you.    96, thanks.    97, thank you.     100, thanks.      103,

20   thank you.    104, thank you.     108, thank you.     117, thank you.

21   126, thank you.     130, thank you.

22               Anyone else?    Any or paddles?     Okay.

23               Do any of you have any relationship with a

24   prosecutorial office, the District Attorney's Office, the

25   United States Attorney's Office, State Attorney General

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                            Official Court Reporter
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                                                                          43
                                Jury Selection

1    Office, or with anyone working there?         If so, please raise

2    your paddle and keep it up high.

3                2, thank you.    45, thanks.     13, thank you.     93,

4    thanks.   80, thank you.     108, thank you.     25, thank you.

5                Anyone else?    Okay.

6                Do any of you have strong positive or negative

7    feelings, general or specific, about law enforcement whether

8    due to your interaction with law enforcement or otherwise?              If

9    so, please raise your paddle.

10               Number 2, thanks.     3, thanks.    6, thank you.     7,

11   thanks.   10, thank you.     13, thanks.     16, thank you.     22,

12   thanks.   24, thank you.     25, thank you.     30, thank you.     40,

13   thanks.   39, thank you.     38, thanks.     37, thank you.     45,

14   thank you.    46, thanks.    50, thank you.     53, thank you.     5,

15   thank you.    73, thank you.     74, thank you.     80, thanks.    90,

16   thank you.    93, thanks.    95, thank you.     87, thank you.     96,

17   thanks.   108, thank you.     112, thanks.     113, thanks.     115,

18   thank you.    116, thank you.     129, thanks.     126, thanks.    123,

19   thanks.   121, thanks.     119, thanks.    118, thank you.

20               Anyone else?    All right.

21               Have any of you ever been arrested or the subject of

22   a criminal investigation or case?        Do any of you have an

23   immediate relative who has been arrested or the subject of a

24   criminal investigation or case?        If so, please raise your

25   paddle high.

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                            Official Court Reporter
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                                                                          44
                                Jury Selection

1                Number 3, thanks.     16, thank you.     24, thanks.    31,

2    thanks.   29, thank you.     36, thank you.     38, thank you.     55,

3    thank you.    65, thank you.     68, thank you.     77, thanks.    78,

4    thank you.    80, thanks.    87, thank you.     90, thanks.     127,

5    thank you.    109, thank you.     112, thank you.     113, thank you.

6    115, thank you.     116, thank you.     118, thank you.

7                Anyone else?

8                Some people believe that if someone has been

9    arrested that he or she must have been guilty of something.

10   Do you feel that way?      If so, please raise your paddle.

11               Number 44, thank you.      Number 10, thank you.

12               Anyone else?

13               I see no other paddles raised.       All right.

14               Have you or any family member or close friend ever

15   worked for a criminal defense lawyer or private investigator?

16   If so, please raise your paddle high.

17               Number 2, thanks.     7, thank you.     13, thank you.

18   14, thank you.     24, thanks.    25, thank you.     37, thanks.    39,

19   thanks.   68, thank you.     97, thank you.     62, thank you.     102,

20   thank you.

21               Anyone else?

22               I see no other paddles raised.

23               As I previously mentioned, the defendant is charged

24   with conspiring and attempting to provide material support to

25   a foreign terrorist organization.        Does anyone have any views

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                                Jury Selection

1    about or experience with United States response to terrorism

2    or its foreign policy concerning the Middle East that would

3    prevent you from being a fair and impartial juror in this

4    case?   If so, please raise your paddle and keep it up until I

5    call your number.

6                Number 10, thank you.      7, thanks.    13, thank you.

7    14, thank you.     22, thanks.    25, thank you.     30, thanks.      37,

8    thank you.    43, thank you.     45, thank you.     44, thank you.

9    46, thank you.     50, thanks.    60, thanks.    53, thank you.       55,

10   thank you.    62, thank you.     83, thanks.    95, thanks.     128,

11   thank you.    126, thank you.     87, thank you.     86, thank you.

12               Anyone else?

13               65, thank you.    16, thank you.

14               Anyone else?

15               49, thank you.

16               Anyone else?

17               I see no other paddles raised.       All right, thank

18   you.

19               Is there anything about this case that would or

20   might cause you to favor one side over the other?           If so,

21   please raise your paddle now.

22               2, thank you.    1, thank you.     3, thank you.     6,

23   thanks.   7, thank you.     10, thank you.     11, thank you.     13,

24   thank you.    14, thank you.     16, thank you.     21, thanks.    22,

25   thank you.    25, thank you.     30, thank you.     28, thank you.

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                            Official Court Reporter
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                                Jury Selection

1    44, thank you.     45, thank you.     38, thank you.    53, thank you.

2    62, thanks.    65, thank you.     60, thank you.     69, thank you.

3    70, thank you.     71, thank you.     83, thank you.    90, thanks.

4    92, thank you.     94, thank you.     95, thank you.    102, thanks.

5    110, thank you.     112, thank you.     128, thank you.     116, thank

6    you.   115, thank you.     126, thank you.     124, thank you.

7                Anyone else?

8                I see no paddles raised.      Thank you.

9                Will you be able to wait until all the evidence is

10   presented in this case and given to you as the jury all the

11   evidence before making up your mind?         If not, will you raise

12   your paddle high.     I'll call the number now.

13               Number 10, thank you.      2, thanks.    6, thank you.     7,

14   thank you.    16, thank you.     21, thanks.    22, thanks.     25,

15   thank you.    62, thank you.

16               Hold them up high.

17               28, thank you.

18               Other paddle numbers?

19               110, thank you.

20               Anyone else?

21               I see no other paddles raised.

22               Will you be able to accept the proposition that any

23   question of punishment is for the Court alone to decide and

24   that the possibility of punishment does not enter into your

25   deliberations as jurors as to whether the defendant on trial

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                            Official Court Reporter
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                                                                          47
                                Jury Selection

1    is guilty or not guilty?      If you are not able to do that,

2    please raise your paddle now.

3                Number 50, thank you.      Number 7, thank you.      Number

4    60, thanks.    Number 49, thank you.

5                Anyone else?    Number 62, thank you.

6                Anyone else?    I see no other paddles raised.

7                Under our system of laws, the defendant is presumed

8    to be innocent as I previously stated to you, and that

9    presumption stays with the defendant unless and until you, as

10   the jury, are satisfied from the evidence before you that his

11   guilt has been proven beyond a reasonable doubt.           Furthermore,

12   because the defendant is presumed under the law to be not

13   guilty, no defendant is required under the law to prove that

14   he is not guilty or to prove that he is innocent of the

15   charges.    Indeed, the defendant does not have to prove

16   anything at all in a criminal trial.         Rather, it is the

17   Government that must come forward to prove a defendant's guilt

18   beyond a reasonable doubt.

19               Is there any juror who would not be able or willing

20   to follow these principles and to follow my instructions in

21   this case?    If so, please raise your paddle now.

22               Number 110, thank you.

23               Anyone else who would be unable or unwilling to

24   follow those instructions?

25               I see no other paddles raised.       Thank you.

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                                Jury Selection

1                In the event that this defendant does not testify at

2    trial, I will instruct you that this is not a factor which can

3    in any way, shape, or form impact or even be considered by you

4    as the jury during your deliberations.

5                Is there any juror who would not follow this

6    principle?    If so, please raise your paddle now.

7                I see no paddles raised.

8                Is there any juror who feels that even if the

9    evidence established in defendant's guilt is beyond a

10   reasonable doubt in that juror's mind that he or see might not

11   be able to render a guilty verdict for reasons unrelated to

12   the law as I give it to you and the evidence as presented to

13   you in this case?     If so, please raise your paddle now.

14               Any juror who feels that way?

15               I see no paddles raised.

16               Do any of you have any difficulty reading or

17   understanding English?      If so, if you have that difficulty

18   with the English language, written and/or spoken form, please

19   raise your paddle now and we'll discuss it as sidebar.

20               Number 8, thank you.      Number 4, thank you.      Number

21   28, thank you.     Number 49, thanks.     26, thank you.     54, thank

22   you.   59, thanks.    58, thank you.     72, thank you.     92, thank

23   you.   105, thank you.

24               Anyone else?    Please raise your paddle high.        All

25   right.

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                                Jury Selection

1                Having heard these questions, is there anything else

2    that I did not mention that makes you feel that you could not

3    be an impartial and fair juror in this case?          If so, please

4    raise your paddles now.      This is a catchall question,

5    something I didn't touch on.

6                Yes, number 87, thank you.

7                Anyone else?

8                25, thank you.    22, thank you.     Number 10, thanks.

9    Number 25, thank you.      60, thanks.    44, thank you.     65, thank

10   you.   130, thanks.    93, thank you.     88, thank you.     110, thank

11   you.   112, thank you.     123, thank you.     13, thank you.     60,

12   thank you.

13               Anyone else?

14               Number 1, thank you.

15               Anyone else?

16               14, thank you.

17               Anyone else?

18               All right.    Now that you have heard all of my

19   questions, I will ask Mr. Jackson, the court deputy, to bring

20   each juror over to the sidebar here, which as I indicated

21   earlier is to my left directly ahead, and we will turn on the

22   white noise machine, and this is how we will proceed.            If you

23   are excused by the Court, please return your paddle to my law

24   clerk right in front of you before leaving the courtroom.            You

25   are then to return to the second floor jury department and to

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                            Official Court Reporter
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                                Jury Selection

1    check in with the clerk at the main desk.

2                If you are not excused, however, please retain your

3    paddle, keep it with you, and return to your seat in the jury

4    box and in the courtroom.

5                So with that, we are now going to commence the

6    individual discussions with the white noise machine turned on,

7    and I'm going to ask Juror Number 1 to bring her paddle

8    forward and we're going over to the sidebar, so thank you.

9                (Continued on the next page.)

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                          JURY SELECTION - SIDEBAR

1                (Sidebar conference held on the record out of the

2    hearing of the prospective jurors.)

3                THE COURT:    Juror Number 1, thank you for your

4    patience, and I appreciate it.        I saw you raised your paddle

5    for a number of issues.      Why don't you tell us what your

6    issues are.

7                THE PROSPECTIVE JUROR:      I work as a nanny, and maybe

8    I could get two days off, but I can't get, like, two weeks

9    off.

10               THE COURT:    You couldn't take two weeks off?

11               THE PROSPECTIVE JUROR:      No.

12               THE COURT:    I will excuse you from service.        Please

13   give your paddle to my law clerk and go back to the second

14   floor, okay?

15               THE PROSPECTIVE JUROR:      Thank you.

16               THE COURT:    Thank you.

17               Next juror, Juror 2.

18               (Prospective juror excused.)

19               THE COURTROOM DEPUTY:      Juror Number 2.

20               (Prospective juror approaches sidebar.)

21               THE COURT:    Please come forward, ma'am.       Thank you

22   so much for your patience, Juror Number 2.          I saw you raised

23   your paddle on a number of issues.        Tell us what they are

24   generally.

25               THE PROSPECTIVE JUROR:      Police officer -- I have a

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                            Official Court Reporter
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                          JURY SELECTION - SIDEBAR

1    lot of -- husband, friends, family.        I don't really think I

2    can be unbiased in this situation.

3                THE COURT:    Well, if you don't think you can be

4    unbiased, I respect that, you are excused from service in this

5    case.   We will find you a nice contract case to work on.           Go

6    back down to the second floor.        Thank you.

7                (Prospective juror excused.)

8                THE COURT:    Next.

9                THE COURTROOM DEPUTY:      Juror 3.

10               (Prospective juror approaches sidebar.)

11               THE COURT:    Thank you, sir.     Appreciate your

12   patience.

13               I saw, Juror Number 3, you raised your paddle a

14   couple times.     Tell us what your issues are.

15               THE PROSPECTIVE JUROR:      Very pro police.     Don't like

16   terrorism whatsoever.      Very, very partial towards the United

17   States.

18               THE COURT:    So you could not be fair and impartial

19   in a case like this?      You have to look me in the eye and tell

20   me the truth.     Could you be fair and impartial?

21               THE PROSPECTIVE JUROR:      I don't think so.

22               THE COURT:    Okay.   If you don't think so, we'll

23   excuse you.    Thanks.    Give the paddle to my law clerk, go back

24   down to the second floor.       Thank you.

25               (Prospective juror excused.)

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                            Official Court Reporter
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                                                                          53
                          JURY SELECTION - SIDEBAR

1                THE COURTROOM DEPUTY:      Juror 4.

2                (Prospective juror approaches sidebar.)

3                THE COURT:    Good afternoon, Juror Number 4.        Thank

4    you very much for your patience.

5                I saw you raised your paddle a couple times.          What

6    are your issues.

7                THE PROSPECTIVE JUROR:      I speak little English.

8                THE COURT:    You don't speak English well enough to

9    participate?    I respect that.     Thank you very much.      You are

10   excused.    Please give the paddle back to my law clerk and go

11   back to the second floor.

12               THE PROSPECTIVE JUROR:      Thank you.

13               THE COURT:    Thank you.

14               (Prospective juror excused.)

15               THE COURTROOM DEPUTY:      Juror Number 5.

16               (Prospective juror approaches sidebar.)

17               THE COURT:    Thank you, Juror Number 5.       Thank you

18   for your patience.

19               THE PROSPECTIVE JUROR:      How are you?

20               THE COURT:    Good, sir.    How are you?

21               THE PROSPECTIVE JUROR:      Good.

22               THE COURT:    Did you raise your paddle for any

23   issues?

24               THE PROSPECTIVE JUROR:      No.

25               THE COURT:    Okay.   Do you think you would be able to

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                          JURY SELECTION - SIDEBAR

1    serve fairly and impartially in this case?

2                THE PROSPECTIVE JUROR:      I think so.    Just I have a

3    little eye infection I am taking care of.

4                THE COURT:    A little eye infection?

5                THE PROSPECTIVE JUROR:      Yeah, a little bit, so I

6    don't know, sometimes it's a little uncomfortable.

7                THE COURT:    Do you think you will be able to sit for

8    the two weeks?     We are sitting from 9:30 in the morning until

9    5:00, so if you need to get a prescription filled or

10   something, I assume you can do that.         Do you think you will be

11   able to serve?

12               THE PROSPECTIVE JUROR:      I don't like to do it.

13               THE COURT:    I'm sorry?

14               THE PROSPECTIVE JUROR:      I really don't want to do

15   it.

16               THE COURT:    I know you don't want to do it, but do

17   you think you could do it?

18               THE PROSPECTIVE JUROR:      I could do it, yes.

19               THE COURT:    You know what, we'll let you serve.        Go

20   back, please take that first seat and sit in seat number 1.

21   Hang on to your paddle.      Okay?

22               THE PROSPECTIVE JUROR:      Okay.

23               THE COURT:    Great, thanks.

24               (Prospective juror returns to seat.)

25               THE COURTROOM DEPUTY:      Juror 6.

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                          JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Good afternoon.      Thank you, Juror 6.     I

3    appreciate your patience.

4                I see you raised your paddle once or twice.          Any

5    issues.

6                THE PROSPECTIVE JUROR:      Yes.

7                THE COURT:    Keep your voice up; they can't hear you

8    over there.

9                THE PROSPECTIVE JUROR:      Yes.

10               THE COURT:    Tell us what your issues are.

11               THE PROSPECTIVE JUROR:      I just believe that I would

12   be on one side.     I don't feel that I would be able --

13               THE COURT:    You would not be fair and impartial on a

14   case like this?

15               THE PROSPECTIVE JUROR:      No.

16               THE COURT:    If you don't think so, we respect that

17   of you, you're excused.      Give the paddle to my law clerk and

18   go back down to the second floor.        Thank you, ma'am.

19               THE PROSPECTIVE JUROR:      Thank you.

20               (Prospective juror excused.)

21               THE COURTROOM DEPUTY:      Juror 7.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon, young lady.       Thank you

24   very much for your patience.

25               I saw you raised your paddle a couple times.          Tell

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                          JURY SELECTION - SIDEBAR

1    us what your issues are.

2                THE PROSPECTIVE JUROR:      Specifically, this is my

3    deferment date, but I tried to get it deferred until January

4    due to work and travel plans.       So this week, for example, I'm

5    not able to attend on Friday due to travel.

6                THE COURT:    You are traveling on vacation or work --

7                THE PROSPECTIVE JUROR:      Yes, to Boston.

8                THE COURT:    Okay.   Well, Boston is a great city, so

9    I'm going to excuse you.      Thank you for your service and

10   hopefully you will get deferred to January and get you in a

11   case that works for you then.

12               THE PROSPECTIVE JUROR:      Thank you.

13               THE COURT:    Give the paddle to my law clerk and go

14   back to the second floor.       Thanks.

15               THE PROSPECTIVE JUROR:      Okay.

16               (Prospective juror excused.)

17               THE COURTROOM DEPUTY:      Juror 8.

18               (Prospective juror approaches sidebar.)

19               THE COURT:    Good afternoon, Juror Number 8.

20               THE PROSPECTIVE JUROR:      Good afternoon.

21               THE COURT:    Thank you, I appreciate your patience.

22               You raised your paddle a couple times, I think.

23               THE PROSPECTIVE JUROR:      I'm sorry, sir, my English

24   not so good.

25               THE COURT:    Your English isn't good enough to

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                          JURY SELECTION - SIDEBAR

1    follow?   I appreciate that.      You are excused.     Please give the

2    paddle to my law clerk.      Go back to the second floor.

3                THE PROSPECTIVE JUROR:      Thank you for the

4    opportunity.

5                THE COURT:    Well, thank you.

6                (Prospective juror excused.)

7                THE COURTROOM DEPUTY:      Juror 9.

8                (Prospective juror approaches sidebar.)

9                THE COURT:    Good afternoon.      How are you?   Thank

10   you, Juror Number 9.      I appreciate your patience.

11               Did you raise your paddle for any issues?

12               THE PROSPECTIVE JUROR:      Just for the -- I know law

13   enforcement officers because I am a law enforcement officer.

14               THE COURT:    You are a law enforcement officer?

15               THE PROSPECTIVE JUROR:      Yes.

16               THE COURT:    What do you do?

17               THE PROSPECTIVE JUROR:      I'm a court officer at the

18   family court, actually down the block over here.

19               THE COURT:    You are a court officer at the family

20   court?

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    I'm going to excuse you from service in

23   this case.    I thank you for coming in and we will get you a

24   nice contract dispute to work on.        Thank you.

25               THE PROSPECTIVE JUROR:      Thank you.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Please head down to the second floor.

2    Thanks.

3                (Prospective juror excused.)

4                THE COURTROOM DEPUTY:      Juror 10.

5                (Prospective juror approaches sidebar.)

6                THE COURT:    Good afternoon.     Thank you for your

7    patience, sir.

8                I saw you raised your paddle a couple times.          Tell

9    you what you've got.

10               THE PROSPECTIVE JUROR:      My best friend -- best man

11   at my wedding is in the FBI Foreign Intelligence Unit.            Years

12   of friendship, stories, I just could not consider myself to be

13   impartial.

14               THE COURT:    We will find a nice contract dispute for

15   you to work on, but not this case.        Give the paddle to my law

16   clerk and go back to the second floor.         Thank you.

17               (Prospective juror excused.)

18               THE COURTROOM DEPUTY:      Juror 11.

19               (Prospective juror approaches sidebar.)

20               THE COURT:    Good afternoon, Juror 11.       Thank you for

21   your patience.     I appreciate it.

22               I saw you raised your paddle a couple times.          What

23   are your issues?

24               THE PROSPECTIVE JUROR:      I just raised mine once.

25               THE COURT:    Just once, okay.     What's your issue?

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1                THE PROSPECTIVE JUROR:      Not really any issues.

2                THE COURT:    What did you raise your paddle on?

3                THE PROSPECTIVE JUROR:      I think if you have any -- I

4    guess one side or the other.

5                THE COURT:    Do you have any views about one side or

6    the other?

7                THE PROSPECTIVE JUROR:      Yes.

8                THE COURT:    Do you have such views?

9                THE PROSPECTIVE JUROR:      I hear negative views on the

10   news a lot about ISIS.

11               THE COURT:    Do you have negative views about ISIS?

12               THE PROSPECTIVE JUROR:      Yeah.

13               THE COURT:    Could you put those aside in terms of

14   being fair to this defendant in this case?

15               THE PROSPECTIVE JUROR:      Yes.

16               THE COURT:    Okay, we'll let you serve.       Why don't

17   you go to the seat next to the juror there.          Okay?   In the

18   second seat there.

19               (Prospective juror returns to seat.)

20               THE COURTROOM DEPUTY:      Juror number 12.

21               MS. SHARKEY:    Judge, this is the most efficient --

22               THE COURT:    Whoa, whoa.

23               MS. SHARKEY:    -- jury selection.

24               THE COURT:    I'm trying.    I'm trying.    I have to give

25   you a fair and impartial jury.        That's what I'm working on.

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                          JURY SELECTION - SIDEBAR

1                MS. SHARKEY:    I didn't mean to --

2                THE COURT:    No, no, that's all right.

3                (Prospective juror approaches sidebar.)

4                THE COURT:    Come forward, sir.     How are you?     I

5    appreciate your patience, Juror Number 12.

6                Did you raise your paddle on any issues?

7                THE PROSPECTIVE JUROR:      No.

8                THE COURT:    Is there any reason you could not be a

9    fair and impartial juror in this case?

10               THE PROSPECTIVE JUROR:      No.

11               THE COURT:    Okay, we'll let you serve.       Thank you.

12   Please go to your seat there.       Thanks.

13               (Prospective juror returns to seat.)

14               THE COURTROOM DEPUTY:      Juror 13.

15               (Prospective juror approaches sidebar.)

16               THE COURT:    Hello.   How are you?     Thank you, Juror

17   13.

18               THE PROSPECTIVE JUROR:      Good.   How are you?

19               THE COURT:    I think you raised your paddle a number

20   of times?    Tell us what your issues are.

21               THE PROSPECTIVE JUROR:      Childcare.    I got a

22   seven-month and a five-year-old at home.         My father's an

23   attorney.

24               THE COURT:    What kind of an attorney?

25               THE PROSPECTIVE JUROR:      He does personal injury.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Personal injury.      I know you've got the

2    young kids.

3                THE PROSPECTIVE JUROR:      Yeah.

4                THE COURT:    Do you have childcare to take care of

5    that over the next two weeks?

6                THE PROSPECTIVE JUROR:      Two weeks is going to be an

7    issue.   That's a really big issue.

8                THE COURT:    You have to tell me, could you do it?

9                THE PROSPECTIVE JUROR:      No.

10               THE COURT:    Well, in that case, we'll excuse you.

11               THE PROSPECTIVE JUROR:      Thank you.

12               THE COURT:    Give the paddle to my law clerk, go back

13   to the second floor, and say hi to your kids.

14               THE PROSPECTIVE JUROR:      Okay.

15               THE COURT:    You can give the pen to my law clerk,

16   too.   Thanks.

17               THE PROSPECTIVE JUROR:      Thank you.

18               (Prospective juror excused.)

19               THE COURTROOM DEPUTY:      Juror 14.

20               (Prospective juror approaches sidebar.)

21               THE COURT:    Hello.   Thank you for your patience.        I

22   appreciate it.

23               THE PROSPECTIVE JUROR:      You're welcome.     I'm

24   freezing.

25               THE COURT:    I'm sorry about that.      We get

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                          JURY SELECTION - SIDEBAR

1    complaints:    It's too cold, it's too hot.        You know, I wear

2    this thing so I never really quite know.

3                Tell me if you have any issues that would prevent

4    you from serving in this case.

5                THE PROSPECTIVE JUROR:      The only major issue that I

6    have, one is the commitment of vacation, but the other thing

7    is my son-in-law was a Green Beret, spent two tours in Iraq,

8    came back with really bad PTSD.        An IED -- he head a injury

9    and it's destroyed my family, pretty much, so that whole ISIS

10   thing has a real -- it's --

11               THE COURT:    I can understand that.      I thank him and

12   you and your whole family for your service.          We will excuse

13   you from this case; we will find a nice contract dispute case

14   for you to work on.

15               THE PROSPECTIVE JUROR:      I don't mind that.

16               THE COURT:    I can understand that.

17               THE PROSPECTIVE JUROR:      It's destroyed my family.

18               THE COURT:    I'm sorry.    Go back to the second floor,

19   please.   Thank you, ma'am.

20               (Prospective juror excused.)

21               THE COURT:    Why don't you bring him back.

22               THE COURTROOM DEPUTY:      Sir?

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Juror Number 11, you said that you have

25   an issue you want --

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      No, no, no.    Not -- not --

2    just, like, we haven't been released for lunch yet, but we are

3    getting --

4                THE COURT:    You know what, if you're on this jury,

5    we're going to actually buy your lunch.

6                THE PROSPECTIVE JUROR:      Oh, okay.

7                THE COURT:    Hang in there and I'm going to move it

8    along.   Look at me, you know I like to eat.

9                (Prospective juror returns to seat.)

10               THE COURTROOM DEPUTY:       Juror 15.

11               (Prospective juror approaches sidebar.)

12               THE COURT:    Good afternoon.     Thank you very much,

13   sir.

14               Did you raise your paddle for any issues?

15               THE PROSPECTIVE JUROR:      No.

16               THE COURT:    No?   Okay.   Any reason you could not

17   serve in a case like this?

18               THE PROSPECTIVE JUROR:      I don't think so.

19               THE COURT:    Okay.   Well, then, we'll let you serve.

20   Thank you.    Go sit in that seat next to that gentleman.

21               (Prospective juror returns to seat.)

22               THE COURTROOM DEPUTY:       Juror 16.

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Good afternoon, Juror 16.       Thank you for

25   your patience.

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                          JURY SELECTION - SIDEBAR

1                I think I saw you raise your paddle a couple times.

2    What are your issues?

3                THE PROSPECTIVE JUROR:      I'm honestly not

4    comfortable, like -- I'm not comfortable at all.

5                THE COURT:    You are not comfortable?      Why not?    And

6    just generally.

7                THE PROSPECTIVE JUROR:      I guess I'm a little

8    worried.

9                THE COURT:    You're a little worried?      About?

10               THE PROSPECTIVE JUROR:      I guess the actual case.

11               THE COURT:    Okay, but could you be fair and

12   impartial in an actual case, or do you think that your worry

13   would make you be unfair and --

14               THE PROSPECTIVE JUROR:      Right.

15               THE COURT:    You don't think you could be fair?

16               THE PROSPECTIVE JUROR:      No.

17               THE COURT:    Okay.   If you couldn't be fair, then

18   we'll excuse you.     Thank you.    Give the paddle to my courtroom

19   assistant and go back to the second floor.          Thanks.

20               THE PROSPECTIVE JUROR:      Thank you.

21               (Prospective juror excused.)

22               THE COURTROOM DEPUTY:      Juror 17.

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Good afternoon, Juror 17.       Thank you for

25   your patience.

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                          JURY SELECTION - SIDEBAR

1                I think I saw you raise your paddle once or twice.

2    What are your issues?

3                THE PROSPECTIVE JUROR:      No, I didn't have any.

4                THE COURT:    Oh, you didn't, okay.      Do you have any

5    issues?   Any ability or inability to serve in a case like

6    this?

7                THE PROSPECTIVE JUROR:      No.

8                THE COURT:    You're willing to serve?

9                THE PROSPECTIVE JUROR:      I am.

10               THE COURT:    Then you can serve.      Thank you.    You get

11   to sit in that seat.

12               Mr. Jackson, will you seat the juror?         Thank you.

13               (Prospective juror returns to seat.)

14               THE COURTROOM DEPUTY:      Juror 18.

15               (Prospective juror approaches sidebar.)

16               THE COURT:    Good afternoon, Juror 18.       Thank you so

17   much for your service, appreciate your time.

18               So tell us, did you raise your paddle for any

19   issues?

20               THE PROSPECTIVE JUROR:      No.

21               THE COURT:    Okay.   Are you able to serve in a case

22   like this and be fair?

23               THE PROSPECTIVE JUROR:      Yes.

24               THE COURT:    Okay, we'll let you serve.       Thank you.

25               THE PROSPECTIVE JUROR:      Thank you, sir.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Go sit next to that gentleman.

2                (Prospective juror returns to seat.)

3                THE COURTROOM DEPUTY:      Juror 19.

4                (Prospective juror approaches sidebar.)

5                THE COURT:    Good afternoon.      How are you, sir?

6                THE PROSPECTIVE JUROR:      Good.

7                THE COURT:    Did you raise your paddle for any of

8    those issues?

9                THE PROSPECTIVE JUROR:      Yes.

10               THE COURT:    Tell us what they were, please.

11               THE PROSPECTIVE JUROR:      This trial will last, I

12   think, for two weeks?

13               THE COURT:    Two weeks, sir.

14               THE PROSPECTIVE JUROR:      During this trial, you know,

15   I'm missing my two prayers.       I'm religious kind of person, you

16   know.    I'm missing my two prayers every day.        I never miss my

17   prayers.

18               THE COURT:    I understand that.

19               THE PROSPECTIVE JUROR:      Especially the Friday

20   prayer, I need to go to the mosque.

21               THE COURT:    So you will be uncomfortable doing that?

22               THE PROSPECTIVE JUROR:      Yes.

23               THE COURT:    All right, we will excuse you on that

24   basis.    Thank you so much.

25               THE PROSPECTIVE JUROR:      Thank you very much.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    You can give the paddle to my law clerk

2    and go back to the second floor.        Thank you.

3                THE PROSPECTIVE JUROR:      Thank you very much.

4                (Prospective juror excused.)

5                THE COURT:    Okay, Mr. Jackson, you can call the next

6    one.

7                THE COURTROOM DEPUTY:      Juror number 20.

8                (Prospective juror approaches sidebar.)

9                THE COURT:    Hello.   Come forward.     Thank you for

10   your patience, Juror Number 20.

11               THE PROSPECTIVE JUROR:      Thank you.

12               THE COURT:    Did you raise your paddle on any issues?

13               THE PROSPECTIVE JUROR:      Yes.

14               THE COURT:    Tell us about those.

15               THE PROSPECTIVE JUROR:      I work for the police

16   department.

17               THE COURT:    You work for the police department?

18               THE PROSPECTIVE JUROR:      (No verbal response.)

19               THE COURT:    What do you do for them?

20               THE PROSPECTIVE JUROR:      Associate investigator.

21               THE COURT:    Okay, well, keep up your service.        Thank

22   you for coming in.     You are excused from this jury.

23               THE PROSPECTIVE JUROR:      Thank you.

24               THE COURT:    Hand the paddle to my law clerk and head

25   back to the second floor.

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Thank you.

2                (Prospective juror excused.)

3                (Continued on next page.)

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                          JURY SELECTION - SIDEBAR

1                (Sidebar conference held on the record out of the

2    hearing of the prospective jurors.)

3                THE COURTROOM DEPUTY:      Juror 21.

4                (Prospective juror approaches sidebar.)

5                THE COURT:    Hello, Juror 21.     Thank you for your

6    service.

7                Did you raise your paddle on any issues?

8                THE PROSPECTIVE JUROR:      Yes, Judge.

9                THE COURT:    Tell us about that.

10               THE PROSPECTIVE JUROR:      I had childhood friends who

11   died in 9/11 and al-Qaeda was involved in that plot, so

12   anybody that's associated with terrorist organizations, I

13   tried very much to try to block that out of my mind, but

14   psychologically as much as I try to look at the evidence, I

15   think I have a little bias in the back of my head.

16               THE COURT:    You don't think you could be fair in an

17   ISIS case, is that what you're telling me?          You've got to tell

18   me --

19               THE PROSPECTIVE JUROR:      No, no, it's just I --

20               THE COURT:    -- look me in the eye and tell me.

21               THE PROSPECTIVE JUROR:      I think I'd try to be but

22   yet in the back of mind psychologically I think that will

23   definitely in come in my judgment.

24               THE COURT:    You don't think you could be fair when

25   all is said and done.      You've got to tell me the truth.

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      I don't think so.

2                THE COURT:    Okay.   Then I will excuse you from

3    service.    We'll get you a nice contract case to work on.

4                Give the paddle to my law clerk and go back to the

5    second floor.     Thank you.

6                (Prospective juror excused.)

7                THE COURTROOM DEPUTY:      Juror 22.

8                (Prospective juror approaches sidebar.)

9                THE COURT:    Good afternoon, sir.

10               THE PROSPECTIVE JUROR:      Good afternoon.

11               THE COURT:    Appreciate your patience.

12               Did you raise your paddle for any issues?

13               THE PROSPECTIVE JUROR:      Yes.

14               THE COURT:    Tell us about those.

15               THE PROSPECTIVE JUROR:      Financial issues.     Like,

16   right now I --

17               THE COURT:    You don't have to show me.

18               THE PROSPECTIVE JUROR:      Okay.   Base salary I need

19   the overtime so I get a minimum two hours every day, so I'm

20   breadwinner.    My wife works two part-time jobs.

21               THE COURT:    You couldn't do two-week jury service.

22               THE PROSPECTIVE JUROR:      Definitely not.

23               THE COURT:    Then you're definitely, sir.

24               THE PROSPECTIVE JUROR:      Thank you, sir.

25               THE COURT:    Give that paddle to my law clerk and go

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                          JURY SELECTION - SIDEBAR

1    back the second floor.

2                THE PROSPECTIVE JUROR:      Do I --

3                THE COURT:    They'll tell you.

4                THE PROSPECTIVE JUROR:      Thank you.

5                (Prospective juror excused.)

6                THE COURTROOM DEPUTY:      Juror 23.

7                (Prospective juror approaches sidebar.)

8                THE PROSPECTIVE JUROR:      Good afternoon.

9                THE COURT:    Good afternoon, sir.      Thank you four

10   patience, I appreciate it.

11               THE PROSPECTIVE JUROR:      No problem.

12               THE COURT:    You raised your paddle a couple of times

13   I think.

14               THE PROSPECTIVE JUROR:      Yes.

15               THE COURT:    Tell us about those issues.

16               THE PROSPECTIVE JUROR:      Well, the main one is that I

17   have a medical issue, I'm on the dialysis.

18               THE COURT:    I'm sorry.

19               THE PROSPECTIVE JUROR:      And I'm in the last -- the

20   third session.

21               THE COURT:    You don't have to say anymore because my

22   brother is also on dialysis.       You are excused.

23               THE PROSPECTIVE JUROR:      I wouldn't mind but it

24   starts at five.

25               THE COURT:    No, no, you are excused.      We go to five

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1    every day but we don't break early so you are absolutely

2    excused from service.      God bless you and good luck.       I know

3    what that's like.

4                THE PROSPECTIVE JUROR:      Thank you.

5                THE COURT:    Thank you.    You can give the paddle to

6    my law clerk and go back to the second floor.

7                (Prospective juror excused.)

8                THE COURTROOM DEPUTY:      Juror 24.

9                (Prospective juror approaches sidebar.)

10               THE COURT:    Please come forward.

11               THE PROSPECTIVE JUROR:      Judge, everybody, how you

12   all doing.

13               THE COURT:    We're doing just fine, sir.

14               How are you, juror 24.

15               THE PROSPECTIVE JUROR:      I'm doing fine.

16               THE COURT:    Okay.   Tell us what your issues are.        I

17   see you raised your paddle.

18               THE PROSPECTIVE JUROR:      So quick fast, my wife is

19   about to have a kid in about eight weeks, we have all type of

20   birth classes leading up to that, this is just not a good time

21   for you.

22               THE COURT:    Well, if it's not a good time for you

23   God bless you and your wife.       You're excused.

24               THE PROSPECTIVE JUROR:      Thank you, sir.

25               THE COURT:    Give the paddle to my law clerk and go

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1    back to the second floor.       God bless.

2                (Prospective juror excused.)

3                THE COURTROOM DEPUTY:      Juror 25.

4                (Prospective juror approaches sidebar.)

5                THE COURT:    Good afternoon, Juror 25.       Thank you for

6    your patience.

7                I saw you raised your paddle a couple of times.

8    Come forward, tell us what your issues are.

9                THE PROSPECTIVE JUROR:      I'm going to be out of town

10   next week.    I also have very immense biases against our law

11   enforcement and government and foreign policy.

12               THE COURT:    Well, if you have biases and you're

13   going to be out of the town for sure you won't be able to

14   serve on this jury.      Thank you very much.

15               Give your paddle to my law clerk, go back to the

16   second floor.

17               THE PROSPECTIVE JUROR:      Great, all right.

18               THE COURTROOM DEPUTY:      Thank you.

19               (Prospective juror excused.)

20               THE COURTROOM DEPUTY:      Juror 26.

21               THE COURT:    Good afternoon, Juror 26.       Please come

22   forward.    Thank you very much, young lady.        Did you raise your

23   paddle on any issues?

24               THE PROSPECTIVE JUROR:      I don't understand nothing,

25   sorry.

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1                THE COURT:    You don't understand.      You know what?

2    You're excused.     You can go back to the second floor.         Give

3    the paddle to my law clerk, go back to the second floor jury

4    room.    Thank you.

5                THE PROSPECTIVE JUROR:      Okay, thank you, second

6    floor.

7                THE COURT:    Yes.

8                (Prospective juror excused.)

9                THE COURTROOM DEPUTY:      Juror 27.

10               (Prospective juror approaches sidebar.)

11               THE COURT:    Good afternoon, sir.      Thank you for your

12   patience.

13               THE PROSPECTIVE JUROR:      Yes.

14               THE COURT:    Did you raise your paddle on any issues?

15               THE PROSPECTIVE JUROR:      I did.

16               THE COURT:    Tell us about those.

17               THE PROSPECTIVE JUROR:      God, you know, most -- just

18   saying yes to most of the questions, I'd say thinking through

19   probably the only thing that I think is really relevant is

20   that one of my good friends has been involved in -- she was

21   the only civilian on New York's Antiterrorism Task Force and

22   was investigating these cases for probably a decade --

23               THE COURT:    Okay.

24               THE PROSPECTIVE JUROR:      -- and she probably stopped

25   a year and a half ago.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Did you ever discuss her work with her?

2    And what's your relationship with her, friendship, more than

3    friendship, other than friendship?

4                THE PROSPECTIVE JUROR:      Friendship, I've known her

5    for 15 years.

6                THE COURT:    Not a family member.

7                THE PROSPECTIVE JUROR:      Not a family member.

8                THE COURT:    Could you be fair and impartial in a

9    case like this?     Only you can tell us.

10               THE PROSPECTIVE JUROR:      Yeah, I'd say the only

11   concern that I have is the means with which she used to

12   collect information --

13               THE COURT:    Right.

14               THE PROSPECTIVE JUROR:      -- has now become illegal.

15               THE COURT:    Yes.

16               THE PROSPECTIVE JUROR:      So I would be very concerned

17   about that in a case like this.        The legality under which

18   information has been collected, because I've had discussions

19   with her about that.

20               THE COURT:    Okay.

21               THE PROSPECTIVE JUROR:      And ultimately it made it

22   very hard for her to do her job not having the information.

23               THE COURT:    It's called a Constitution sometimes,

24   you know, we're kind of tough about enforcing it --

25               THE PROSPECTIVE JUROR:      I agree with it.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    -- we, people appointed for life for

2    good behavior.

3                THE PROSPECTIVE JUROR:      Totally.

4                THE COURT:    Could you follow my instructions on the

5    law in a case like this?

6                THE PROSPECTIVE JUROR:      Yeah, yeah, I could.

7                THE COURT:    And you would.

8                THE PROSPECTIVE JUROR:      Yeah, I would.

9                THE COURT:    Then you'll be able to serve.

10               THE PROSPECTIVE JUROR:      Yes.

11               THE COURT:    Okay.   You can go sit next to that juror

12   there.

13               THE PROSPECTIVE JUROR:      Okay.   Thank you.

14               THE COURT:    Thank you, sir.

15               (Prospective juror returns to seat.)

16               THE COURTROOM DEPUTY:      Juror 28.

17               (Prospective juror approaches sidebar.)

18               THE COURT:    Good afternoon, Juror 28.       Thank you

19   very much, young lady.

20               Did you raise your paddle on any issues?

21               THE PROSPECTIVE JUROR:      Yes, I understand 60 percent

22   English but the 40 percent I -- my vocabulary is not enough.

23               THE COURT:    Well, you know what?      We have to have

24   you understanding a hundred percent.

25               THE PROSPECTIVE JUROR:      Yes.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    So I understand, I appreciate your

2    candor.    You're excused.

3                Give the paddle to my law clerk and go back to the

4    second floor.     Thank you.

5                (Prospective juror excused.)

6                THE COURTROOM DEPUTY:      Juror 29.

7                (Prospective juror approaches sidebar.)

8                THE COURT:    Good afternoon, Juror 29.

9                THE PROSPECTIVE JUROR:      Hello.

10               THE COURT:    Thank you.    Appreciate your patience.

11               Did you raise your paddle for any issues?

12               THE PROSPECTIVE JUROR:      Yes.   So I'm starting a new

13   job I --

14               THE COURT:    When you do start?

15               THE PROSPECTIVE JUROR:      I'm starting -- supposed to

16   have been today --

17               THE COURT:    Oh, okay.

18               THE PROSPECTIVE JUROR:      -- and I don't know if they

19   give me more than five day's pay.

20               THE COURT:    What's the new job, if I may ask?

21               THE PROSPECTIVE JUROR:      It's human resource.

22               THE COURT:    Where if I may ask, or generally?

23               THE PROSPECTIVE JUROR:      In Times Square.

24               THE COURT:    City, private?

25               THE PROSPECTIVE JUROR:      Times Square --

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1                THE COURT:    Say no more.    You're starting a new job,

2    we'll excuse you.

3                Give the paddle to my law clerk and head down to the

4    second floor.

5                THE PROSPECTIVE JUROR:      Thanks.

6                (Prospective juror excused.)

7                THE COURTROOM DEPUTY:      Juror 30.

8                (Prospective juror approaches sidebar.)

9                THE COURT:    Good afternoon, thank you for your

10   patience, Juror 30.

11               Did you raise your paddle on any of those issues?

12               THE PROSPECTIVE JUROR:      I did.

13               THE COURT:    Tell us about those just generally.

14               THE PROSPECTIVE JUROR:      My boyfriend is in the

15   Marine Corps, he just go home from Afghanistan.           He spent all

16   of last year there --

17               THE COURT:    I want you to spend time with him and

18   not here --

19               THE PROSPECTIVE JUROR:      Thank you very much.

20               THE COURT:    -- you're excused.      Give your paddle to

21   my law clerk and you can go back to the second floor, and

22   Oorah.

23               THE PROSPECTIVE JUROR:      I appreciate it.

24               (Prospective juror excused.)

25               THE COURTROOM DEPUTY:      Juror 31.

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                          JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Good afternoon, sir.

3                THE PROSPECTIVE JUROR:      Good afternoon, Your Honor.

4                THE COURT:    Thank you very much for your patience, I

5    appreciate it, Juror 31.      Did you raise your paddle on any of

6    those issues?

7                THE PROSPECTIVE JUROR:      Yes, I did.

8                THE COURT:    Tell us about those.

9                THE PROSPECTIVE JUROR:      I was arrested, the case was

10   dismissed back in 2006 I believe.

11               THE COURT:    I'm sorry you were arrested.       Glad the

12   case was dismissed.      Any other issues?

13               THE PROSPECTIVE JUROR:      Yes, it was home invasion in

14   my apartment.

15               THE COURT:    Did they catch the invaders?

16               THE PROSPECTIVE JUROR:      Probably not.     I have no

17   idea.

18               THE COURT:    Sorry about that.     Any other issues?

19               THE PROSPECTIVE JUROR:      I went to school in the

20   former Soviet Union, I don't know if that disqualifies me.

21               THE COURT:    I don't know why it would.

22               THE PROSPECTIVE JUROR:      I can be honest and fair.       I

23   visited Uzbekistan several times.

24               THE COURT:    Do you have any views about Uzbekistan

25   that would impact --

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Not really --

2                THE COURT:    -- your thinking here.

3                THE PROSPECTIVE JUROR:      -- no.

4                THE COURT:    Anything else?

5                THE PROSPECTIVE JUROR:      No.

6                THE COURT:    You can serve.      Thank you.   Why don't

7    you go sit in that seat.

8                (Prospective juror returns to seat.)

9                THE COURT REPORTER:     Mr. Jackson, you should move

10   him to the seat he is going to sit in.

11               THE COURTROOM DEPUTY:      He's going to get his

12   property.

13               (Juror approaches sidebar.)

14               THE PROSPECTIVE JUROR:      Hello, guys.

15               THE COURT:    Hello, how are you.

16               THE PROSPECTIVE JUROR:      Good.

17               THE COURT:    Juror number 32.

18               THE PROSPECTIVE JUROR:      Yes.

19               THE COURT:    I believe you raised your paddle on an

20   issue or two, tell us about that.

21               THE PROSPECTIVE JUROR:      Which one was it?     Oh, I

22   think it's a doctor's appointment.

23               THE COURT:    Tell us about that.

24               THE PROSPECTIVE JUROR:      Well, I have vascular vein

25   problem that I have to -- I can't do the walking too much and

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1    on the steps and all, so I have an appointment for next week,

2    so...

3                THE COURT:    Would you be able to serve on a two-week

4    trial and reschedule your appointment?         It's not going to go

5    any longer than two weeks, trust me on that, it will not go

6    any longer than two weeks.

7                THE PROSPECTIVE JUROR:      One of the problem is the

8    walking.

9                THE COURT:    Okay.

10               THE PROSPECTIVE JUROR:      It's the walking, like, up

11   the steps and stuff like that.        You know, honestly --

12               THE COURT:    Do you think -- the real question I'm

13   asking, do you think you could do it for two weeks, come into

14   this court and be on this jury, or would it be impossible?

15   Only you can tell us.

16               THE PROSPECTIVE JUROR:      Yeah, it will be --

17               THE COURT:    Impossible.

18               THE PROSPECTIVE JUROR:      Yes, yes.

19               THE COURT:    Then we'll excuse you, please give the

20   paddle to my law clerk.      Go back to the second floor.

21               THE PROSPECTIVE JUROR:      Thank you.

22               THE COURT:    Thank you, ma'am.

23               (Prospective juror excused.)

24               THE COURTROOM DEPUTY:      Juror 33.

25               (Prospective juror approaches sidebar.)

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Good afternoon, Juror 33.

2                THE PROSPECTIVE JUROR:      Hi, Your Honor.

3                THE COURT:    Thank you for your patience.

4                Did you raise your paddle on any issues?

5                THE PROSPECTIVE JUROR:      I have a cousin in law

6    enforcement, he's out in California.

7                THE COURT:    Anything about that relationship that

8    would make it impossible for you to serve here?

9                THE PROSPECTIVE JUROR:      No, it wouldn't.

10               THE COURT:    Anything else that you raised your

11   paddle on?

12               THE PROSPECTIVE JUROR:      Not really.    I mean, I

13   wouldn't say it's impossible I can serve --

14               THE COURT:    That's what I'm asking.

15               THE PROSPECTIVE JUROR:      Yeah.   I'm a high school

16   teacher, I teach advanced placement.         It would be difficult on

17   my students if I was gone for two weeks.

18               THE COURT:    Okay.   But you could do it and then you

19   would have lots of great stories to tell them afterwards about

20   jury service and the importance of service.

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    You can serve, thank you.       Go back to

23   your seat and sit down.      Mr. Jackson, seat him.

24               (Prospective juror returns to seat.)

25               THE COURTROOM DEPUTY:      Juror number 34.

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                          JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Good afternoon, Juror 34.       Thank you

3    your service and your patience.

4                Did you raise your paddle for any issues?

5                THE PROSPECTIVE JUROR:      Yes.

6                THE COURT:    Tell us about those.

7                THE PROSPECTIVE JUROR:      One is I'm a single mom two

8    weeks would kill me and then like the car pooling and stuff

9    like that would hurt also.

10               THE COURT:    Just too hard to do?

11               THE PROSPECTIVE JUROR:      Yeah.

12               THE COURT:    I got it.    You're excused.

13               THE PROSPECTIVE JUROR:      Thank you.

14               THE COURT:    Give your paddle to my clerk and go back

15   to the second floor.      Thanks.

16               (Prospective juror excused.)

17               THE COURTROOM DEPUTY:      Juror 35.

18               (Prospective juror approaches sidebar.)

19               THE COURT:    Good afternoon.

20               THE PROSPECTIVE JUROR:      Good afternoon.

21               THE COURT:    Please come forward.      I appreciate your

22   patience, Juror 34.

23               So did you raise your paddle for any issues?

24               THE PROSPECTIVE JUROR:      No, I didn't.

25               THE COURT:    Is there any reason you could not serve

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1    in a case like this.

2                THE PROSPECTIVE JUROR:      No.

3                THE COURT:    Okay, any issues?

4                THE PROSPECTIVE JUROR:      I may have to have some kind

5    of surgery done, it's a one-day thing I'm not sure of the

6    exact date, sometime next week.

7                THE COURT:    Well, we have to have two weeks

8    committed to this trial, it may end a little sooner but you

9    have to be able to be here this week and all of next week for

10   sure.   You have to be able to block that time.         And this is

11   elective surgery you would have to move it beyond that, but

12   only you can tell us if you can serve.

13               THE PROSPECTIVE JUROR:      Okay.

14               THE COURT:    We can't like let you go on a given day

15   to have it done.     You'd have to be here this week and next

16   week and that's a real commitment.

17               THE PROSPECTIVE JUROR:      Okay.   So I don't think I

18   would be able to.

19               THE COURT:    You don't think so?

20               THE PROSPECTIVE JUROR:      Yeah.

21               THE COURT:    We'll excuse you, give your paddle back

22   to the law clerk and go back to the second floor.

23               THE PROSPECTIVE JUROR:      Thank you.

24               (Prospective juror excused.)

25               THE COURTROOM DEPUTY:      Juror 36.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Mr. Jackson, ask Juror 110 to come

2    forward.    We have one question.

3                Hang on one second, I'm sorry.

4                (Prospective juror approaches sidebar.)

5                THE COURT:    You can come up.      I'm sorry, we're

6    taking you out of turn, Juror 110, you asked to be heard.

7                Is there some issue you want to address to the

8    Court?

9                THE PROSPECTIVE JUROR:      Yes, I have high blood

10   pressure.

11               THE COURT:    High blood pressure, you can't serve?

12               THE PROSPECTIVE JUROR:      No, no, not that, it's just

13   that I need to eat something and I'm a 110 and I'm light

14   headed.

15               THE COURT:    You know what?     I'm going to excuse you

16   from service.     You're excused.     You can give the paddle to my

17   law clerk and go back to the second floor.

18               THE PROSPECTIVE JUROR:      Okay.

19               THE COURT:    Thank you.

20               THE PROSPECTIVE JUROR:      Thank you so much.

21               (Prospective juror excused.)

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Thank you, Juror 36, appreciate your

24   patience.

25               Did you raise your paddle on any of those issues?

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1                THE PROSPECTIVE JUROR:      Just one.

2                THE COURT:    Tell us about that.

3                THE PROSPECTIVE JUROR:      I was just -- was anybody

4    arrested.

5                THE COURT:    You were going to be arrested.

6                THE PROSPECTIVE JUROR:      No, no, was anybody

7    arrested --

8                THE COURT:    Was anybody arrested.

9                THE PROSPECTIVE JUROR:      Was anybody arrest or

10   somebody that you know was arrested, I raised my paddle for

11   that one.

12               THE COURT:    Tell us about that generally, were you

13   arrested?

14               THE PROSPECTIVE JUROR:      I was arrested five years

15   ago.

16               THE COURT:    All right.    What was the outcome of

17   that?

18               THE PROSPECTIVE JUROR:      Nothing.

19               THE COURT:    The case dismissed.

20               THE PROSPECTIVE JUROR:      Yes -- no, I'm sorry,

21   disorderly conduct.

22               THE COURT:    Disorderly conduct.      Anything about that

23   experience that would make it difficult or impossible for you

24   to be fair and impartial in a case like this?

25               THE PROSPECTIVE JUROR:      No.

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1                THE COURT:    Any other issues involving law

2    enforcement one way or the other?

3                THE PROSPECTIVE JUROR:      No.

4                THE COURT:    You can serve.      Why don't you go sit

5    down next to the juror.

6                (Prospective juror returns to seat.)

7                THE COURTROOM DEPUTY:      Juror 37.

8                (Prospective juror approaches sidebar.)

9                THE COURT:    Good afternoon.      Thank you, juror 37 for

10   your patience, appreciate it.

11               Did you raise your paddle on any issues?

12               THE PROSPECTIVE JUROR:      Yeah.

13               THE COURT:    Tell us about those.

14               THE PROSPECTIVE JUROR:      The context of --

15   institutions like -- sorry, very nervous.

16               THE COURT:    Take your time.

17               THE PROSPECTIVE JUROR:      Being able to be totally

18   objectionable about -- sorry.

19               THE COURT:    As I say to people, I sound a little

20   like James Earl Jones, Darth Vader, but I look just like

21   Denzel Washington, so it's all cool.

22               Take a deep breath, everybody can laugh about it.

23   Take a deep breathe and just relax.        Tell us what your issues

24   are.

25               THE PROSPECTIVE JUROR:      It would ultimately be hard

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1    to decide this case without any other kind of context from

2    police officers, from institutions, from the Federal Court

3    systems and the biases baked into those, so it would be really

4    difficult for me to make a decision without any of those kind

5    of previously beliefs or context.

6                THE COURT:    Well, could you be fair and impartial in

7    this case?

8                THE PROSPECTIVE JUROR:      I mean, I would try

9    definitely.    I'm glad that --

10               THE COURT:    But could you do it?      You have to look

11   me in the eye and tell me that you could.

12               THE PROSPECTIVE JUROR:      I think so.

13               THE COURT:    You think you could?

14               THE PROSPECTIVE JUROR:      I think so, yeah.

15               THE COURT:    Well, then I think you could too, so

16   have a seat.

17               THE PROSPECTIVE JUROR:      All right.

18               (Prospective juror returns to seat.)

19               THE COURTROOM DEPUTY:      Juror 38.

20               (Prospective juror approaches sidebar.)

21               THE COURT:    Thank you, Juror 38, for your patience I

22   appreciate that.

23               Did you have any issues that you raised your paddle

24   on?

25               THE PROSPECTIVE JUROR:      Um, I don't remember.      Yes.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    You don't remember.

2                THE PROSPECTIVE JUROR:      I don't remember.

3                THE COURT:    Any issues?

4                THE LAW CLERK:    Relationship with law enforcement.

5                THE COURT:    Relationship with law enforcement, do

6    you have any.

7                THE PROSPECTIVE JUROR:      Yeah I have a best friend

8    that's a CO.

9                THE COURT:    Anything about that relationship that

10   would make it difficult or impossible for you to be fair in a

11   case like this?

12               THE PROSPECTIVE JUROR:      No.

13               THE COURT:    Okay.   You can serve.     Thank you.

14               (Prospective juror returns to seat.)

15               THE COURTROOM DEPUTY:      Juror 39.

16               (Prospective juror approaches sidebar.)

17               THE COURT:    Good afternoon, Juror 39.

18               THE PROSPECTIVE JUROR:      Hi.

19               THE COURT:    Thank you for your patience.

20               THE PROSPECTIVE JUROR:      Sure.

21               THE COURT:    Did you raise your paddle on any of the

22   issues?

23               THE PROSPECTIVE JUROR:      Yes.

24               THE COURT:    Tell us about those.

25               THE PROSPECTIVE JUROR:      I'm a lawyer.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Where do you work?

2                THE PROSPECTIVE JUROR:      Right now I'm teaching but I

3    worked at South Brooklyn Legal Services, did a three-week jury

4    trial in this building a couple of years ago.

5                THE COURT:    Congratulations, I'm sure you did very

6    well.   I'm sure you're a fine lawyer.        I will excuse you from

7    service in this case.

8                THE PROSPECTIVE JUROR:      I had a feeling.

9                THE COURT:    Please give the paddle to my law clerk

10   and go back to the second floor.

11               THE PROSPECTIVE JUROR:      Okay, I will.     Thanks.

12               (Prospective juror excused.)

13               THE COURTROOM DEPUTY:      Juror 40.

14               (Prospective juror approaches sidebar.)

15               THE COURT:    Thank you for your patience, Juror 40,

16   we appreciate it.

17               Did you raise your paddle for any issues?

18               THE PROSPECTIVE JUROR:      I did.

19               THE COURT:    Tell us about those.

20               THE PROSPECTIVE JUROR:      I think one of the -- I

21   think the thing that I have to consider my father-in-law was a

22   police officer for many years.

23               THE COURT:    Here in New York?

24               THE PROSPECTIVE JUROR:      Yes, New York City.

25               THE COURT:    Yes, sir.

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      And my cousin is actually in

2    Iraq at this time.

3                THE COURT:    Okay.

4                THE PROSPECTIVE JUROR:      The other consideration I

5    have -- and, you know, I realize you had said that we had a

6    two-week period for this.

7                THE COURT:    Yes.

8                THE PROSPECTIVE JUROR:      I actually have surgery

9    scheduled for October the 4th.

10               THE COURT:    We'll be done.

11               THE PROSPECTIVE JUROR:      I had a stroke last year --

12               THE COURT:    I'm so sorry.

13               THE PROSPECTIVE JUROR:      -- and we just kind of

14   delayed the surgery until now, but I realize we'll be done by

15   then so I mean --

16               THE COURT:    We will definitely be done by then.

17               Do you think you can serve in this case over the

18   next two weeks, this week and next?

19               THE PROSPECTIVE JUROR:      I will do my best, yes.

20               THE COURT:    Okay.   We'll let you serve.      Thank you,

21   you can sit down.

22               (Prospective juror returns to seat.)

23               THE COURTROOM DEPUTY:      Juror 41.

24               (Prospective juror approaches sidebar.)

25               THE COURT:    Thank you, Juror 41, I appreciate your

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                          JURY SELECTION - SIDEBAR

1    patience.

2                Did you raise your paddle on any issues?

3                THE PROSPECTIVE JUROR:      One -- not an issue I think

4    it's just do you know anyone who is in law enforcement.

5                THE COURT:    Yes.

6                THE PROSPECTIVE JUROR:      I raised my paddle for that

7    one.

8                THE COURT:    Tell us about that, who do you know and

9    how do you know them?

10               THE PROSPECTIVE JUROR:      My close friend of mine

11   Vitale he works for -- oh, I shouldn't mention names.

12               THE COURT:    Don't mention names, just say a friend.

13               THE PROSPECTIVE JUROR:      He works for NYPD.

14               THE COURT:    Anything about that relationship that

15   would make it impossible for you to be fair in this case?

16               THE PROSPECTIVE JUROR:      No.

17               THE COURT:    Any other issues?

18               THE PROSPECTIVE JUROR:      No other issues.

19               THE COURT:    Okay.   Then you can serve, thank you.

20   Mr. Jackson.

21               (Prospective juror returns to seat.)

22               THE COURTROOM DEPUTY:      Juror number 42.

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Good afternoon.

25               THE PROSPECTIVE JUROR:      Your Honor.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Thank you very much.

2                Did you raise your paddle for any issues?

3                THE PROSPECTIVE JUROR:      I did.

4                THE COURT:    Tell us about those.

5                THE PROSPECTIVE JUROR:      I raised it for hardship.       I

6    have two children both school age, nine and six.           I am the

7    before care and after care provider for them as well.            So I

8    also live in Nassau, Eastern Nassau, so this is --

9                THE COURT:    Schlep, to use the technical term.

10               THE PROSPECTIVE JUROR:      To use the technical term,

11   it's a schlep, but -- so it is difficult to find coverage for

12   my children.    Obviously they are too young to care for

13   themselves.

14               THE COURT:    I understand.

15               THE PROSPECTIVE JUROR:      They can't be left

16   unsupervised.

17               THE COURT:    Your excused from service --

18               THE PROSPECTIVE JUROR:      Thank you.

19               THE COURT:    -- and a model to all men of your

20   generation.

21               THE PROSPECTIVE JUROR:      Thank you very much.

22               THE COURT:    Please give the paddle to my law clerk

23   and you can go downstairs to the second floor.

24               (Prospective juror excused.)

25               THE COURTROOM DEPUTY:      Juror 43.

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                          JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Hello.

3                THE PROSPECTIVE JUROR:      Hi.

4                THE COURT:    How are you?    Did you raise your paddle

5    for any issues?

6                THE PROSPECTIVE JUROR:      Yeah.

7                THE COURT:    Tell us about those.

8                THE PROSPECTIVE JUROR:      Yeah, because I'm working in

9    Taiwan military, I'm second lieutenant.

10               THE COURT:    In the Taiwan military, second

11   lieutenant.

12               THE PROSPECTIVE JUROR:      Yeah, I work on the carriers

13   for years.

14               THE COURT:    So I appreciate your service, I respect

15   it.   You're excused.     Please give the paddle to my courtroom

16   deputy here, my law clerk and go back to the second floor.

17               Thank you.

18               THE PROSPECTIVE JUROR:      Thank you.

19               (Prospective juror excused.)

20               THE COURTROOM DEPUTY:      Juror 44.

21               (Prospective juror approaches sidebar.)

22               THE COURT:    Hi, good afternoon.

23               THE PROSPECTIVE JUROR:      Good afternoon.

24               THE COURT:    Thank you very much, Juror 44.

25               Did you raise your paddle on any issue?

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Yes.

2                THE COURT:    Tell us.

3                THE PROSPECTIVE JUROR:      Well, I think the

4    immigration policy bothers me, the lack of enforcement so that

5    was an issue.     Other than that, as an adjunct teacher I only

6    get paid for when I'm there so they would give my classes away

7    if it lasted more than two weeks, but that's a maybe.            But on,

8    you know, accusation -- one of your questions that you asked

9    was if someone was arrested, why assume that they're guilty.

10               THE COURT:    That they are guilty.

11               THE PROSPECTIVE JUROR:      Now I think, I think I could

12   be fair, but that is my inclination they must have done

13   something.

14               THE COURT:    In that case I will excuse you, I

15   appreciate your candor.      Give the paddle to my law clerk --

16               THE PROSPECTIVE JUROR:      Thanks very much.

17               THE COURT:    -- and go back to the second floor.

18   Thank you.

19               (Prospective juror excused.)

20               THE COURTROOM DEPUTY:      Juror 45.

21               (Prospective juror approaches sidebar.)

22               THE COURT:    Good afternoon, Juror 45.       Thank you for

23   your patience.

24               Did you raise your paddle and any of those issues?

25               THE PROSPECTIVE JUROR:      I did.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Tell us about those.

2                THE PROSPECTIVE JUROR:      I think that I have a bias.

3    I'm conservative, I've been conservative.          I have a son that

4    works in Southern District for a judge there.          And I don't

5    think I could give an unbiased and fair trial.

6                THE COURT:    Then I will excuse you from jury service

7    because every defendant and the government is entitled to fair

8    and impartial jurors.      Thank you.

9                Give the paddle to my law clerk and go back to the

10   second floor.

11               THE PROSPECTIVE JUROR:      Thank you.

12               (Prospective juror excused.)

13               THE COURTROOM DEPUTY:      Juror 46.

14               (Prospective juror approaches sidebar.)

15               THE COURT:    Good afternoon, Juror 46.

16               THE PROSPECTIVE JUROR:      Hello.

17               THE COURT:    Thank you for your patience.

18               THE PROSPECTIVE JUROR:      Hi.

19               THE COURT:    Did you raise your paddle on any issues?

20               THE PROSPECTIVE JUROR:      Yes.

21               THE COURT:    Tell us about those.

22               THE PROSPECTIVE JUROR:      The main one is -- I

23   actually brought the records --

24               THE COURT:    I believe you.

25               THE PROSPECTIVE JUROR:      -- my mother fell last

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                          JURY SELECTION - SIDEBAR

1    week --

2                THE COURT:    Oh, dear.

3                THE PROSPECTIVE JUROR:      -- and broke her --

4    fractured her vertebrae.      She had a stroke a couple of months

5    ago and she's just starting to walk again.          She's living with

6    me, so I'm kind of --

7                THE COURT:    Say no more --

8                THE PROSPECTIVE JUROR:      -- the main person.

9                THE COURT:    -- you have our blessings.       Please give

10   the paddle to my law clerk and go back to the second floor and

11   good luck to your mom.

12               THE PROSPECTIVE JUROR:      Thank you, sir.

13               THE COURT:    Thank you, sir.

14               (Prospective juror excused.)

15               THE COURTROOM DEPUTY:      Juror 47.

16               MS. MACEDONIO:    Your Honor, 109 is raising their

17   paddle.

18               THE COURT:    Mr. Jackson, after we do this call up

19   109 after this.

20               (Prospective juror approaches sidebar.)

21               THE COURT:    Hi, how are you?

22               THE PROSPECTIVE JUROR:      Good, how are you?

23               THE COURT:    Thank you for your patience.

24               Did you raise your paddle on any issues?

25               THE PROSPECTIVE JUROR:      No, my only issue I'm a

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                          JURY SELECTION - SIDEBAR

1    speech pathologist with kids for special needs and two weeks

2    is kind of a long time for them not to get -- and I'll miss

3    back to school night but --

4                THE COURT:    I appreciate that, but you'll have great

5    stories once you finish your jury service, so if that's the

6    only issue we'll let you serve.

7                THE PROSPECTIVE JUROR:      Okay.

8                THE COURT:    Thank you.

9                Mr. Jackson, seat the juror and then call up 109.

10               (Prospective juror returns to seat.)

11               THE COURT:    109 you can come forward.

12               (Prospective juror approaches sidebar.)

13               THE COURT:    Hello, Juror 109, we're taking you out

14   of turn.

15               THE PROSPECTIVE JUROR:      I'm so sorry.

16               THE COURT:    Don't apologize.

17               THE PROSPECTIVE JUROR:      I haven't eaten anything all

18   day, and I'm feeling light headed.

19               THE COURT:    You want to go to eat something.        Well,

20   I'll tell you what, you want to go eat something in the

21   cafeteria and then come back.

22               THE PROSPECTIVE JUROR:      That's fine.    Plus I have

23   high blood pressure and I'm getting light headed, so I

24   couldn't --

25               THE COURT:    You know what?     Maybe we should because

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                          JURY SELECTION - SIDEBAR

1    we're going to continue we'll just excuse you from the service

2    and you go back -- give the paddle to my courtroom deputy and

3    you go back to the second floor and then you'll be done with

4    this jury --

5                THE PROSPECTIVE JUROR:      Oh.

6                THE COURT:    -- just go back to the second floor,

7    okay, and you won't have to come back to this courtroom.

8                THE PROSPECTIVE JUROR:      Oh, okay.    All right.

9                THE COURT:    Give her the paddle and go back to the

10   second floor.

11               THE PROSPECTIVE JUROR:      Thank you.    Okay.

12               THE COURT:    Okay, thank you.

13               Call the next one.

14               THE COURTROOM DEPUTY:      Juror 48.

15               (Prospective juror approaches sidebar.)

16               THE COURT:    Good afternoon, young lady.       Thank you

17   for your patience, I appreciate it.

18               Did you raise your paddle on any of the issues?

19               THE PROSPECTIVE JUROR:      No.

20               THE COURT:    Is there any reason you could not serve

21   in a case like this?

22               THE PROSPECTIVE JUROR:      No.

23               THE COURT:    Then you can serve, thank you.

24               Mr. Jackson, would you seat the juror.

25               (Prospective juror returns to seat.)

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                          JURY SELECTION - SIDEBAR

1                THE COURTROOM DEPUTY:      Juror 49.

2                (Prospective juror approaches sidebar.)

3                THE COURT:    Good afternoon, Juror 49.       Thank you for

4    your patience.

5                THE PROSPECTIVE JUROR:      With respect to you.

6                THE COURT:    Appreciate it.

7                Did you raise your paddle on any of those issues?

8                THE PROSPECTIVE JUROR:      Yes, I did.

9                THE COURT:    Tell us about those.

10               THE PROSPECTIVE JUROR:      For example, I have issues

11   like putting together with questions and answers.

12               THE COURT:    You have difficulty following --

13               THE PROSPECTIVE JUROR:      Yeah, I have problem with

14   that.

15               THE COURT:    You know what?     We'll excuse you from

16   service.    I appreciate that.      Give your paddle to my deputy

17   here and go back to the second floor, okay?

18               THE PROSPECTIVE JUROR:      Thank you so much.

19               THE COURT:    Thank you.

20               (Prospective juror excused.)

21               THE COURTROOM DEPUTY:      Juror number 50.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon.     Thank you, young lady,

24   appreciate your patience.       You can come forward.

25               Did you raise your paddle on any of the issues?

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      I did.

2                THE COURT:    Tell us about those.

3                THE PROSPECTIVE JUROR:      I think my biggest issue is

4    that I have very highly critical feelings of our criminal

5    justice penal system.      I have a hard time, even if I believed

6    someone had done what they were accused of doing putting them

7    in --

8                THE COURT:    You think you could be fair and

9    impartial in a given case or --

10               THE PROSPECTIVE JUROR:      I think it would be hard for

11   me.

12               THE COURT:    -- you think not.

13               THE PROSPECTIVE JUROR:      I mean, I could maybe do it

14   but --

15               THE COURT:    Hard or impossible?

16               THE PROSPECTIVE JUROR:      I think --

17               THE COURT:    Only you know.     Look me the eye --

18               THE PROSPECTIVE JUROR:      I don't --

19               THE COURT:    Over here.    I'm over here.

20               THE PROSPECTIVE JUROR:      I guess I couldn't do it.

21               THE COURT:    You couldn't do it, okay.       I appreciate

22   your candor.     Thank you.

23               Give the paddle to my deputy and you'll head down to

24   the second floor.

25               THE PROSPECTIVE JUROR:      Thank you.

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                          JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURTROOM DEPUTY:      Juror 51.

3                THE COURT:    I'm kind of like Batman, look me in the

4    eye, I drop the voice.

5                (Prospective juror approaches sidebar.)

6                THE COURT:    Good afternoon.

7                THE PROSPECTIVE JUROR:      Good afternoon, Your Honor.

8                THE COURT:    Thank you, Juror 51.      I appreciate it.

9                Did you raise your paddle on any issue?

10               THE PROSPECTIVE JUROR:      I did on a couple.

11               THE COURT:    Tell us about those.

12               THE PROSPECTIVE JUROR:      Law enforcement I have a

13   good friend --

14               THE COURT:    Good friend.

15               THE PROSPECTIVE JUROR:      -- Nassau County Police

16   Officer.    My son just took the test.

17               THE COURT:    Your son just took the test.

18               THE PROSPECTIVE JUROR:      Yeah.

19               THE COURT:    Could you be fair in a case like this or

20   not really?

21               THE PROSPECTIVE JUROR:      I could try but I also -- I

22   did write on my juror thing I do support President Trump's

23   immigration policy.      And I did support --

24               THE COURT:    You know what?     As a matter of law --

25               THE PROSPECTIVE JUROR:      It's legal, you have to.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    -- I not only do, I have to.        You know,

2    I can support anybody.

3                THE PROSPECTIVE JUROR:      I did support the Muslim

4    ban.

5                THE COURT:    You supported the Muslim --

6                THE PROSPECTIVE JUROR:      The ban.

7                THE COURT:    You know what?     The Supreme Court said

8    it was okay.

9                THE PROSPECTIVE JUROR:      Okay.

10               THE COURT:    You know, my sister judge, Judge

11   Donnelly struck it down.

12               THE PROSPECTIVE JUROR:      All right.

13               THE COURT:    This is the way it works in America.

14   You can be a conservative --

15               THE PROSPECTIVE JUROR:      Yeah.

16               THE COURT:    -- you can be a liberal, you can be

17   someone who follows the law as we now have with President

18   Trump --

19               THE PROSPECTIVE JUROR:      Right.

20               THE COURT:    -- and be appointed by President Obama,

21   it's okay.

22               THE PROSPECTIVE JUROR:      Okay.

23               THE COURT:    The question is, can you be fair and

24   impartial, you as a juror.

25               THE PROSPECTIVE JUROR:      I struggle with --

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    You have to look me in the eye though

2    when you answer me.

3                THE PROSPECTIVE JUROR:      I could try to do my best --

4                THE COURT:    No, no, no try is not enough.        Could you

5    do it.    You got to tell me the truth, federal judge.

6                THE PROSPECTIVE JUROR:      I think I'd have a tough

7    time --

8                THE COURT:    You think --

9                THE PROSPECTIVE JUROR:      I think I'd have a tough

10   time with this guy, with the whole --

11               THE COURT:    You know what?

12               THE PROSPECTIVE JUROR:      I just --

13               THE COURT:    He's entitled to a fair and impartial --

14               THE PROSPECTIVE JUROR:      No, he is, he is.

15               THE COURT:    Okay, and I hear you, I appreciate your

16   candor.    Give the paddle to my deputy and head down to the

17   second floor.

18               THE PROSPECTIVE JUROR:      Thank you.

19               THE COURT:    We'll get you a nice civil contract case

20   to work on.     Thanks.

21               THE PROSPECTIVE JUROR:      Thank you.

22               (Prospective juror excused.)

23               THE COURTROOM DEPUTY:      Juror 52.

24               (Prospective juror approaches sidebar.)

25               THE COURT:    Good afternoon, young lady.

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Afternoon.

2                THE COURT:    Thank you very much for your patience.

3                Did you raise your paddle on any issues?

4                THE PROSPECTIVE JUROR:      Yes.

5                THE COURT:    Tell us about those.

6                THE PROSPECTIVE JUROR:      I have to pick up my

7    grandkids on Wednesday and Thursday.

8                THE COURT:    And you pick them up before five

9    obviously --

10               THE PROSPECTIVE JUROR:      Yes.

11               THE COURT:    -- so you couldn't serve in this case --

12               THE PROSPECTIVE JUROR:      Yeah, right at two

13   something.

14               THE COURT:    -- because we're going to go to five

15   every day.

16               THE PROSPECTIVE JUROR:      Right.

17               THE COURT:    Okay.    You're excused.     Give the paddle

18   to my law clerk and go back to the second floor.

19               THE PROSPECTIVE JUROR:      Okay, all right.      Thank you.

20               THE COURT:    Thank you.

21               (Prospective juror excused.)

22               THE COURTROOM DEPUTY:      Juror 53.

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Good afternoon, sir.

25               THE PROSPECTIVE JUROR:      How you doing?

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1                THE COURT:    Please come forward.      Thank you for your

2    patience.

3                Did you raise your paddle for any issues?

4                THE PROSPECTIVE JUROR:      I did.

5                THE COURT:    Tell us about those.

6                THE PROSPECTIVE JUROR:      I can't remember which ones

7    they were.

8                THE LAW CLERK:     Relationships with law enforcement.

9                THE COURT:    Relationship with law enforcement.

10               THE PROSPECTIVE JUROR:      I have a couple of friends

11   that are policemen or retired police.

12               THE COURT:    Would that have an impact on your

13   ability in a case like this.

14               THE PROSPECTIVE JUROR:      Um, I don't think so.

15               THE COURT:    You have to look me in the eye when you

16   answer.

17               THE PROSPECTIVE JUROR:      I don't think so.

18               THE COURT:    You don't think so.

19               THE PROSPECTIVE JUROR:      No.

20               THE COURT:    Okay.    And other issues?

21               THE LAW CLERK:     Inability to be fair and impartial.

22               THE COURT:    Inability to be fair and impartial.

23   What do you think?      You know, fair and impartial?

24               THE PROSPECTIVE JUROR:      Well, you know every one has

25   their opinions --

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Yeah.

2                THE PROSPECTIVE JUROR:      -- and you know especially

3    in this kind of thing, it's just --

4                THE COURT:    Yes, tell us.     Could you be fair and

5    impartial?     And if not please --

6                THE PROSPECTIVE JUROR:      I'm not sure.

7                THE COURT:    You got to let me know because --

8                THE PROSPECTIVE JUROR:      Well, okay, I look at it

9    this way, because it's a terrorism charge --

10               THE COURT:    Right.

11               THE PROSPECTIVE JUROR:      -- it's fairly serious --

12               THE COURT:    Yes.

13               THE PROSPECTIVE JUROR:      -- and it's difficult for me

14   to imagine a universe, okay, where a Muslim person to some

15   degree would not kind of like help wherever they could.

16               THE COURT:    So you think that there's a

17   predilection, as it were.

18               THE PROSPECTIVE JUROR:      The only exception would be

19   someone who is -- doesn't believe in God, doesn't believe

20   in -- doesn't even read the Koran and they are just cultural

21   Muslims, that's the only exceptional.

22               THE COURT:    Otherwise --

23               THE PROSPECTIVE JUROR:      And in that kind of

24   situation they would just be set up here.

25               THE COURT:    Otherwise your view?

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Yeah, they are going to help

2    when they can.

3                THE COURT:    You know what?     You're excused from

4    service --

5                THE PROSPECTIVE JUROR:      Thank you.

6                THE COURT:    -- please give that paddle to my

7    courtroom deputy.      Thanks.

8                (Prospective juror excused.)

9                THE COURTROOM DEPUTY:      Juror 54.

10               (Prospective juror approaches sidebar.)

11               THE COURT:    Good afternoon, how are you?

12               THE PROSPECTIVE JUROR:      Good afternoon.

13               THE COURT:    Thank you for your patience.        I

14   appreciate it.

15               You raised your paddle on one or two instances?

16               THE PROSPECTIVE JUROR:      Sorry I no English.

17               THE COURT:    You don't speak English well enough.

18               THE PROSPECTIVE JUROR:      Yes.

19               THE COURT:    You know what?     You're excused from

20   service, please give that to my courtroom deputy, go back to

21   second floor.

22               THE PROSPECTIVE JUROR:      Okay, I know that, yeah,

23   thank you so much.      Sorry.

24               THE COURT:    Thank you.

25               (Prospective juror excused.)

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                          JURY SELECTION - SIDEBAR

1                THE COURTROOM DEPUTY:      Juror 55.

2                (Prospective juror approaches sidebar.)

3                THE COURT:    Good afternoon, sir.

4                THE PROSPECTIVE JUROR:      Good afternoon.

5                THE COURT:    Thank you for your patience.        I

6    appreciate it.

7                Did you raise your paddle on any issues?

8                THE PROSPECTIVE JUROR:      Yes.

9                THE COURT:    Tell us about those.

10               THE PROSPECTIVE JUROR:      A couple about foreign

11   policy.

12               THE COURT:    Yes, tell us about your views.

13               THE PROSPECTIVE JUROR:      I feel U.S. failed foreign

14   policy it caused a lot of issues over there.

15               THE COURT:    Right.

16               THE PROSPECTIVE JUROR:      It caused a power vacuum in

17   Iraq and all of those situations.         I raised my hand on --

18   about bias against police.

19               THE COURT:    Right.    You have a bias one way or the

20   other when it comes to the police?

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    Tell me about that.

23               THE PROSPECTIVE JUROR:      Well, I was assaulted by

24   police officers at one time when I was younger.

25               THE COURT:    I'm sorry.

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      I was arrested for that as

2    well.

3                THE COURT:    What was the outcome of the arrest?         Did

4    they dismiss the charges?

5                THE PROSPECTIVE JUROR:      They put me on probation.

6                THE COURT:    Put you on probation.

7                THE PROSPECTIVE JUROR:      Yeah.

8                THE COURT:    Do you think you could be fair and

9    impartial in a case like this or do those experiences make it

10   difficult for you to be -- or impossible for you to be fair in

11   a case like this.

12               THE PROSPECTIVE JUROR:      It would be difficult

13   because what I've been through and what I've seen my friends

14   have been through in a similar situation.          I mean, I had a

15   friend where doesn't smoke weed at all and he was arrested for

16   possession of weed because they placed it on him.           Some of my

17   friends witnessed that, so that's something, you know, what --

18               THE COURT:    Again, this is not a drug case.

19               THE PROSPECTIVE JUROR:      Yeah, I know, I know but it

20   is just from --

21               THE COURT:    But you add it all up --

22               THE PROSPECTIVE JUROR:      Yeah.

23               THE COURT:    -- could you be fair or do you think not

24   so much.

25               THE PROSPECTIVE JUROR:      It would be difficult.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    I'll excuse you from this case, we'll

2    get you a nice civil contract case, something boring, you

3    know, that wouldn't involve the police or anything.

4                You go back to the second floor.        Give the paddle to

5    my law clerk.

6                THE PROSPECTIVE JUROR:      Thank you.

7                (Prospective juror excused.)

8                THE COURTROOM DEPUTY:      Juror 56.

9                (Prospective juror approaches sidebar.)

10               THE COURT:    Good afternoon, and thank you so much

11   for your patience.

12               THE PROSPECTIVE JUROR:      Of course.

13               THE COURT:    Appreciate it.

14               Did you raise your paddle on any issues?

15               THE PROSPECTIVE JUROR:      Just that I had served on a

16   jury before.

17               THE COURT:    Was it civil or criminal?

18               THE PROSPECTIVE JUROR:      It was criminal I believe.

19               THE COURT:    Without telling us anything more, did

20   you reach a verdict in that case?

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    Anything about that experience that

23   would have an impact on our ability in this case?

24               THE PROSPECTIVE JUROR:      No.

25               THE COURT:    Any other issues?

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      No.

2                THE COURT:    Then you can serve.      Thank you.

3                THE PROSPECTIVE JUROR:      Oh, okay.

4                THE COURTROOM DEPUTY:      Mr. Jackson, please seat the

5    juror.

6                (Prospective juror returns to seat.)

7                THE COURTROOM DEPUTY:      Juror 57.

8                THE COURT:    Good afternoon.     Thank you, Juror 57.

9    Appreciate your patience.

10               Did you raise your paddle on any issues?

11               THE PROSPECTIVE JUROR:      I believe one of them just

12   remember.

13               THE COURT:    Come forward, keep your voice up a

14   little bit.     What was the issue that you had?

15               THE PROSPECTIVE JUROR:      I can't remember which

16   one --

17               THE COURT:    You don't remember.

18               THE PROSPECTIVE JUROR:      -- so many questions.

19               THE LAW CLERK:     Prior jury service.

20               THE COURT:    Prior jury service.

21               THE PROSPECTIVE JUROR:      Yes, I did a civil.

22               THE COURT:    Without talking about the case in any

23   detail, did you reach a verdict in that case?

24               THE PROSPECTIVE JUROR:      Yes, the case was --

25               THE COURT:    That's okay.

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      -- settled.

2                THE COURT:    You reached a verdict, it was settled.

3    Was that state or federal, do you know?

4                THE PROSPECTIVE JUROR:      State.

5                THE COURT:    State.    How long ago was it?

6                THE PROSPECTIVE JUROR:      It was probably like four

7    years ago.

8                THE COURT:    Four years ago.     Anything about that

9    experience make it difficult or impossible for you in a case

10   like this to serve?

11               THE PROSPECTIVE JUROR:      I'm not really.

12               THE COURT:    Not really.     Anything else?

13               THE PROSPECTIVE JUROR:      I have a doctor's

14   appointment, I'm a diabetic on Wednesday.

15               THE COURT:    Could you reschedule it?       Because you

16   have to be here from 9:30 to five.

17               THE PROSPECTIVE JUROR:      I already rescheduled it

18   from last Wednesday to this week.

19               THE COURT:    I'm sorry, but could you reschedule

20   it --

21               THE PROSPECTIVE JUROR:      I don't know.     I could call

22   I guess.

23               THE COURT:    -- is the question.

24               What do you think?

25               THE PROSPECTIVE JUROR:      I can call again and see --

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    But you'd have to commit now one way or

2    the other.

3                THE PROSPECTIVE JUROR:      No, I can't.

4                THE COURT:    No.   Okay.   In that case we'll excuse

5    you, please give the paddle to the court deputy here and go

6    back to the second floor.

7                THE PROSPECTIVE JUROR:      Thank you.

8                THE COURT:    Thank you.

9                (Prospective juror excused.)

10               THE COURTROOM DEPUTY:       Juror 58.

11               (Prospective juror approaches sidebar.)

12               THE COURT:    Good afternoon, how are you?

13               THE PROSPECTIVE JUROR:      Good.

14               THE COURT:    Thank you for your patience, young lady.

15               Did you raise your paddle on any issues?

16               THE PROSPECTIVE JUROR:      No.

17               THE COURT:    No.   Any reason you couldn't --

18               THE PROSPECTIVE JUROR:      I mean, just -- I don't

19   my -- English not so good.       That's the only --

20               THE COURT:    Was your English good enough to follow

21   you think in a case like this, only you can tell us.            What do

22   you think?

23               THE PROSPECTIVE JUROR:      I don't know the language, I

24   mean the language in the Court but I don't know if I'm so

25   good.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Have you followed everything --

2                THE PROSPECTIVE JUROR:      Yeah.

3                THE COURT:    -- I've said so far.

4                THE PROSPECTIVE JUROR:      Yeah, I did.

5                THE COURT:    Have you gotten it so far?

6                THE PROSPECTIVE JUROR:      I did.

7                THE COURT:    Okay.    Then we'll let you serve.      You

8    can serve.

9                Mr. Jackson, seat the juror.

10               (Prospective juror returns to seat.)

11               THE COURT:    You can come forward 112.

12               (Prospective juror approaches sidebar.)

13               THE COURT:    Yes, sir, you raised your paddle?

14               THE PROSPECTIVE JUROR:      Yes.

15               THE COURT:    You wanted to come out of turn, what's

16   up?

17               THE PROSPECTIVE JUROR:      First of all, I know I'm yet

18   picked --

19               THE COURT:    Well, I don't know how you know that

20   because I don't know who's going to be picked.

21               THE PROSPECTIVE JUROR:      Well, I'm getting light

22   headed actually.

23               THE COURT:    You're getting light headed.

24               THE PROSPECTIVE JUROR:      Yes.

25               THE COURT:    We'll excuse you.      Give the paddle to my

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1    courtroom deputy and go down to the second floor.           You're

2    excused.

3                THE PROSPECTIVE JUROR:      Thank you.

4                (Prospective juror excused.)

5                THE COURTROOM DEPUTY:      Juror 59.

6                THE COURT:    Hello, good afternoon.       Thank you your

7    patience.

8                Did you raise your paddle on any issues?

9                THE PROSPECTIVE JUROR:      Yeah, because only -- only

10   my English may be little not --

11               THE COURT:    Your English isn't quite good enough you

12   don't think, sir?

13               THE PROSPECTIVE JUROR:      Not too good.

14               THE COURT:    I appreciate that.      You're excused.

15   Give the paddle to my courtroom deputy here and go back to the

16   second floor.

17               (Prospective juror excused.)

18               THE COURTROOM DEPUTY:      Juror 60.

19               (Prospective juror approaches sidebar.)

20               THE COURT:    Good afternoon, Juror 60.       Thank you for

21   your patience.

22               THE PROSPECTIVE JUROR:      Yes.

23               THE COURT:    Did you raise your paddle on any issues?

24               THE PROSPECTIVE JUROR:      Yes.

25               THE COURT:    Tell us about those.

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Well, I was born in on 9/11.

2    I have a hard time, I turned 30 that day.          I don't like the

3    policies that this country has as far as our -- their

4    relationship to other foreign countries.          I was born in El

5    Salvador.    I think what this country did in my country of El

6    Salvador was inappropriate and not fair and I just don't want

7    to get involved.      And I teach and I rather be teaching.        So I

8    don't think I'm --

9                THE COURT:    Fair and impartial?

10               THE PROSPECTIVE JUROR:      Yeah.

11               THE COURT:    You know what?     If you don't think your

12   fair and impartial, I accept that.

13               THE PROSPECTIVE JUROR:      Yeah.

14               THE COURT:    You're excused.      Give the paddle to my

15   courtroom deputy here --

16               THE PROSPECTIVE JUROR:      Thank you.

17               THE COURT:    -- and you head down to the second

18   floor.    Bye-bye.

19               (Prospective juror excused.)

20               THE COURTROOM DEPUTY:      Juror 61.

21               (Prospective juror approaches sidebar.)

22               THE COURT:    Hello.

23               THE PROSPECTIVE JUROR:      Hey.

24               THE COURT:    How are you, sir?      Thank you for your

25   patience.

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                          JURY SELECTION - SIDEBAR

1                Did you raise your paddle on any issues?

2                THE PROSPECTIVE JUROR:      Two.

3                THE COURT:    Tell us about those.

4                THE PROSPECTIVE JUROR:      Officer, brother-in-law one

5    of them.    The other one I don't remember what I raised it for.

6                THE LAW CLERK:     Prior jury service.

7                THE COURT:    Prior jury service.

8                THE PROSPECTIVE JUROR:      Did that too, yes.

9                THE COURT:    Civil or criminal?

10               THE PROSPECTIVE JUROR:      Civil.

11               THE COURT:    How recently, 10 years, five years?

12               THE PROSPECTIVE JUROR:      Two years, three years.

13               THE COURT:    Did you reach a verdict without telling

14   us.

15               THE PROSPECTIVE JUROR:      Yes.

16               THE COURT:    Anything about relationships or about

17   the jury service that would make it impossible for you to be

18   fair in a case like this?

19               THE PROSPECTIVE JUROR:      No.

20               THE COURT:    Then you can serve.

21               Okay, seat him.

22               (Prospective juror returns to seat.)

23               THE COURTROOM DEPUTY:      Juror 62.

24               (Prospective juror approaches sidebar.)

25               THE COURT:    Good afternoon.      Thank you for your

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                          JURY SELECTION - SIDEBAR

1    patience.

2                Did you raise your paddle on any issues?

3                THE PROSPECTIVE JUROR:      I did.

4                THE COURT:    Tell us about those.      Come forward, keep

5    your wee voice up.

6                THE PROSPECTIVE JUROR:      Sure.    I got strong feelings

7    about any kind of terrorism cases especially Muslim terrorism.

8    I don't travel to Muslim countries being Jewish, super careful

9    in Europe, a lot of anti-Semitism.

10               THE COURT:    You don't think you could be fair and

11   impartial.

12               THE PROSPECTIVE JUROR:      I don't know.     I got very

13   anxious about this case.

14               THE COURT:    Well, I understand and appreciate you

15   coming in.     You're excused from this jury.       We'll get a nice

16   boring contract case for you to try.

17               Hand over the paddle to my deputy and go back to the

18   second floor, please.

19               THE PROSPECTIVE JUROR:      Thank you.

20               (Prospective juror excused.)

21               THE COURTROOM DEPUTY:      Juror 63.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon.

24               THE PROSPECTIVE JUROR:      Good afternoon, how are you?

25               THE COURT:    Thank you.

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                          JURY SELECTION - SIDEBAR

1                Did you raise your paddle on any issues?

2                THE PROSPECTIVE JUROR:      No, the only one was if they

3    asked me if I had served before.

4                THE COURT:    Yes.

5                THE PROSPECTIVE JUROR:      Yes.   That's the only thing.

6                THE COURT:    Civil or criminal?

7                THE PROSPECTIVE JUROR:      It was criminal.

8                THE COURT:    How long ago was it?

9                THE PROSPECTIVE JUROR:      It was about two and a half

10   years ago.

11               THE COURT:    Without getting into any details, did

12   you reach a verdict in that case?

13               THE PROSPECTIVE JUROR:      Yes.

14               THE COURT:    Was it state or federal?

15               THE PROSPECTIVE JUROR:      It was state.

16               THE COURT:    Anything about this case that would make

17   impossible for you to serve?

18               THE PROSPECTIVE JUROR:      Not at all.

19               THE COURT:    Then you can serve.

20               THE PROSPECTIVE JUROR:      Thank you.

21               THE COURT:    Mr. Jackson, would you seat her.

22               THE PROSPECTIVE JUROR:      Thank you.

23               THE COURT:    Thank you.

24               (Prospective juror returns to seat.)

25               THE COURTROOM DEPUTY:      Juror 64.

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                          JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Good afternoon.     Thank you for your

3    patience.

4                THE PROSPECTIVE JUROR:      Good afternoon.

5                THE COURT:    Did you raise your paddle on any issues?

6                THE PROSPECTIVE JUROR:      Yes, I was a victim twice

7    from mugging --

8                THE COURT:    I'm so sorry.

9                THE PROSPECTIVE JUROR:      -- and was on the train

10   myself and the worst part my sister was murdered.

11               THE COURT:    I'm sorry.    So you really couldn't serve

12   on this jury.

13               THE PROSPECTIVE JUROR:      No.

14               THE COURT:    You're excused from service.        Thank you.

15   Please give the paddle back to my courtroom deputy and go back

16   to the second floor.

17               (Prospective juror excused.)

18               THE COURTROOM DEPUTY:      Juror 65.

19               (Prospective juror approaches sidebar.)

20               THE COURT:    Good afternoon, Juror 65.

21               THE PROSPECTIVE JUROR:      Hello.

22               THE COURT:    Thank you for your patience.

23               THE PROSPECTIVE JUROR:      Thank you.

24               THE COURT:    I appreciate it.

25               Did you raise your paddle on any issues?

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      I did.

2                THE COURT:    Tell us about those.

3                THE PROSPECTIVE JUROR:      Sure.

4                THE COURT:    Speak up.

5                THE PROSPECTIVE JUROR:      I'm going to -- I'm going to

6    be out of town Friday, Monday and Tuesday.

7                THE COURT:    Okay.    Well, then we can't have you on

8    the jury that makes it easy.

9                THE PROSPECTIVE JUROR:      Okay.    Thanks.

10               THE COURT:    Please give the paddle to my courtroom

11   deputy and go back to the second floor.

12               THE PROSPECTIVE JUROR:      Thank you.

13               THE COURTROOM DEPUTY:      Juror 66.

14               (Prospective juror approaches sidebar.)

15               THE COURT:    Good afternoon.

16               THE PROSPECTIVE JUROR:      Hi.

17               THE COURT:    Thank you for your patience.        I

18   appreciate it.     You can come forward.

19               You raised your paddle on a couple of issues?

20               THE PROSPECTIVE JUROR:      No, I raise my hands I have

21   a time conflict with this case.

22               THE COURT:    You have a time conflict.

23               THE PROSPECTIVE JUROR:      Time conflict.

24               THE COURT:    What is your time conflict.

25               THE PROSPECTIVE JUROR:      I'm a professor in the

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1    medical school so I have --

2                THE COURT:    Which one?

3                THE PROSPECTIVE JUROR:      Cornell.

4                THE COURT:    Okay.    So --

5                THE PROSPECTIVE JUROR:      I teach.

6                THE COURT:    You could not serve on this jury?        You

7    couldn't get someone to cover?

8                THE PROSPECTIVE JUROR:      No.   It's scheduled like

9    more than four months ago, so Friday afternoon I have to teach

10   the student.

11               THE COURT:    You couldn't have anyone else cover?

12               THE PROSPECTIVE JUROR:      No.

13               THE COURT:    We'll excuse you, Doctor, thanks.        Give

14   it to colleague go back to the second floor.

15               THE PROSPECTIVE JUROR:      Okay, thank you.

16               (Prospective juror excused.)

17               THE COURTROOM DEPUTY:      Juror 67.

18               (Prospective juror approaches sidebar.)

19               THE COURT:    Good afternoon.

20               THE PROSPECTIVE JUROR:      Good afternoon.

21               THE COURT:    Thank you for your patience.

22               THE PROSPECTIVE JUROR:      No problem.

23               THE COURT:    Did you raise your paddle on any issues?

24               THE PROSPECTIVE JUROR:      I raised one because I knew

25   a cop.

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                          JURY SELECTION - SIDEBAR

1                THE COURT:    Anything about that relationship that

2    would make it difficult for you to serve in this case?

3                THE PROSPECTIVE JUROR:      No.

4                THE COURT:    Any other issues?

5                THE PROSPECTIVE JUROR:      No.

6                THE COURT:    Then you can serve.

7                THE PROSPECTIVE JUROR:      Thank you.

8                THE COURT:    Thank you.

9                Mr. Jackson.

10               (Prospective juror returns to seat.)

11               THE COURTROOM DEPUTY:      Juror 68.

12               (Prospective juror approaches sidebar.)

13               THE COURT:    Good afternoon.      Thank you for your

14   patience.

15               THE PROSPECTIVE JUROR:      Good afternoon.

16               THE COURT:    Did you raise your paddle for any

17   issues?

18               THE PROSPECTIVE JUROR:      Yes.

19               THE COURT:    Tell us about those.

20               THE PROSPECTIVE JUROR:      I'm an attorney.

21               THE COURT:    You're an attorney.

22               THE PROSPECTIVE JUROR:      Yes.

23               THE COURT:    Do you practice?

24               THE PROSPECTIVE JUROR:      Yes.

25               THE COURT:    Where do you practice?

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                          JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Queens mostly.     Nassau

2    County as well.     I also worked for the DA's office in

3    Brooklyn.

4                THE COURT:    For the DA's?

5                THE PROSPECTIVE JUROR:      Yes.

6                THE COURT:    When did you work for them.

7                THE PROSPECTIVE JUROR:      '13, '14.

8                THE COURT:    So obviously I'm going to wish you well

9    on another case, but you're not going to serve on this one.

10   Give the paddle to my courtroom deputy here, go back to the

11   second floor.     Thanks.

12               THE PROSPECTIVE JUROR:      Thank you.

13               (Prospective juror excused.)

14               THE COURTROOM DEPUTY:      Juror 69.

15               (Prospective juror approaches sidebar.)

16               THE COURT:    Good afternoon, sir.      Thank you for your

17   patience.

18               Did you raise your paddle for any issues?

19               THE PROSPECTIVE JUROR:      Yeah, I think one issue.

20               THE COURT:    What's that?

21               THE PROSPECTIVE JUROR:      I forgot already.

22               THE LAW CLERK:     Favor one side over the other.

23               THE COURT:    Favor one side over the other, tell us

24   about that.

25               THE PROSPECTIVE JUROR:      Oh, well, I have a younger

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1    sister her husband was in the military recently so I would

2    favor our military before him.

3                THE COURT:    Okay.    You could not be fair in a case

4    like this?

5                THE PROSPECTIVE JUROR:      No, I couldn't be fair.

6                THE COURT:    You know what?     You're excused.     Give

7    the paddle to my law clerk and go back to the second floor.

8                Thanks.

9                (Prospective juror excused.)

10               THE COURTROOM DEPUTY:      Juror number 70.

11               (Prospective juror approaches sidebar.)

12               THE COURT:    Good afternoon, Juror 70.       Thank you for

13   your patience.

14               Did you raise your paddle on any issues?

15               THE PROSPECTIVE JUROR:      Well, just generally

16   speaking, a case about terrorism is, you know, obviously I

17   have biases against someone who attacks my country.

18               THE COURT:    But could you be fair in respect to this

19   individual being tried.

20               THE PROSPECTIVE JUROR:      I can't say --

21               THE COURT:    You couldn't be fair?

22               THE PROSPECTIVE JUROR:      I can't say for certain.

23               THE COURT:    You can't say --

24               THE PROSPECTIVE JUROR:      I would try.

25               THE COURT:    Well, you have to say for certain

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1    because you have to go in being willing to be fair.

2                THE PROSPECTIVE JUROR:      Right.

3                THE COURT:    He's entitled to that.

4                THE PROSPECTIVE JUROR:      Right.

5                THE COURT:    All of us are.      But look me in the eye

6    and tell me, could you be fair in this case or no?

7                THE PROSPECTIVE JUROR:      I don't know.     I don't know.

8                THE COURT:    Only you know, you got to tell me.

9                THE PROSPECTIVE JUROR:      Yeah, I'm not sure.

10               THE COURT:    Yes or no.

11               THE PROSPECTIVE JUROR:      No.    I don't think so.

12               THE COURT:    Then you're excused.

13               THE PROSPECTIVE JUROR:      Fine.

14               THE COURT:    Give the paddle to my courtroom deputy

15   and go back to the second floor.        Thank you.

16               (Prospective juror excused.)

17               THE COURTROOM DEPUTY:      Juror 71.

18               (Prospective juror approaches sidebar.)

19               THE COURT:    Good afternoon.

20               THE PROSPECTIVE JUROR:      Hi.

21               THE COURT:    Thank you for your patience.        I

22   appreciate it.

23               So tell us, Juror 71, did you raise your paddle over

24   any issues?

25               THE PROSPECTIVE JUROR:      Yes.    I think two.      First of

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1    all, I work with children with disabilities in a private

2    school and I think they would -- it would be a disadvantage

3    for them if I would be here for two weeks.

4                THE COURT:    I appreciate that.      What's the other

5    issue?

6                THE PROSPECTIVE JUROR:      I'm also from the same -- I

7    was born in the same country as the defendant but I'm from a

8    different -- I'm Russian --

9                THE COURT:    Okay.

10               THE PROSPECTIVE JUROR:      -- and we had to come to

11   America because we were discriminated against.

12               THE COURT:    Could you be fair and impartial in a

13   case like this, or no?

14               THE PROSPECTIVE JUROR:      No.

15               THE COURT:    No.   You're excused.

16               THE PROSPECTIVE JUROR:      Thank you.

17               THE COURT:    Give the paddle to my law clerk and go

18   back to the second floor.

19               (Prospective juror excused.)

20               THE COURTROOM DEPUTY:      Juror 72.

21               (Prospective juror approaches sidebar.)

22               THE COURT:    Good afternoon, Juror 72.       Thank you for

23   your patience, appreciate it.

24               THE PROSPECTIVE JUROR:      No problem.

25               THE COURT:    Did you raise your paddle on any issues?

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1                THE PROSPECTIVE JUROR:      I think I had issue on two.

2                THE COURT:    Two issues.     Tell us about those.

3                THE PROSPECTIVE JUROR:      Two issues.     One, if have

4    any difficult 'cause I think in my reading difficult with the

5    language.

6                THE COURT:    Difficulty with the language.

7                THE PROSPECTIVE JUROR:      Yeah, and in daily basis

8    that would be okay, but in this case --

9                THE COURT:    You don't think so.

10               THE PROSPECTIVE JUROR:      I don't feel very confident.

11               THE COURT:    Okay, you know what?      We will excuse you

12   from the case.     Give the paddle to my deputy and go back to

13   the second floor.

14               THE PROSPECTIVE JUROR:      Thank you.

15               THE COURT:    Thank you.    God bless you.

16               THE PROSPECTIVE JUROR:      Thank you.

17               (Prospective juror excused.)

18               THE COURTROOM DEPUTY:      Juror 73.

19               (Prospective juror approaches sidebar.)

20               THE COURT:    Good afternoon, Juror 73.       Thank you for

21   your patience.

22               THE PROSPECTIVE JUROR:      Good afternoon.

23               THE COURT:    Did you raise your paddle on any of

24   those issues?

25               THE PROSPECTIVE JUROR:      Yes, I did.

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1                THE COURT:    Tell us about those.

2                THE PROSPECTIVE JUROR:      I raised my paddle for

3    hardship.    I am a bilingual speech language teacher.          I'm the

4    only one who is servicing my students, I don't have anyone to

5    substitute for my students.        Being out would cause a hardship

6    for my students that they are going to be losing continuity

7    and learning in my classroom.

8                THE COURT:    I appreciate that but any other issues.

9                THE PROSPECTIVE JUROR:      I have a couple of medical

10   appointments, doctor appointments.         I have an appointment with

11   my orthodontist, I'm getting a crown placed in after several

12   weeks of waiting --

13               THE COURT:    Is that within the next two weeks?

14               THE PROSPECTIVE JUROR:      Actually this Thursday

15   afternoon.

16               THE COURT:    Okay.    I'll excuse you.     Thank you.

17   Give the paddle to my deputy and go down to the second floor.

18               THE PROSPECTIVE JUROR:      Sure, thank you.

19               (Prospective juror excused.)

20               THE COURTROOM DEPUTY:      Juror 74.

21               (Prospective juror approaches sidebar.)

22               THE COURT:    Good afternoon, young lady.       Thank you

23   for your patience.      I appreciate it.

24               Did you raise your paddle on any issues?

25               THE PROSPECTIVE JUROR:      Yes.

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1                THE COURT:    Tell us about those.

2                Keep your voice up and come forward, make sure the

3    court reporter hears you.

4                THE PROSPECTIVE JUROR:      The investigation, and the

5    other one my husband was in the military for 24 years.

6    There's a lot of stuff still going on with him, but also the

7    investigation I have a daughter who was in investigation had

8    something to do -- I shouldn't say, they had something at the

9    college she was pulled out and she had to take a year off and

10   investigation and I just didn't like it.          It took us a

11   different place we didn't want to be.         And I was robbed a few

12   times.    And I have, you know, little issues going on with my

13   leg one that of the doctors came from one of the European

14   countries and it's a lot of issues and I didn't feel

15   comfortable.

16               THE COURT:    So when you put it all together could

17   you be fair and impartial in this case?

18               THE PROSPECTIVE JUROR:      No, not in this case.

19               THE COURT:    Then we'll excuse you.       Go back to the

20   second floor.

21               THE PROSPECTIVE JUROR:      Thank you.

22               (Prospective juror excused.)

23               THE COURTROOM DEPUTY:      Juror 75.

24               (Prospective juror approaches sidebar.)

25               THE COURT:    Good afternoon, how are you?

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1                THE PROSPECTIVE JUROR:      Hi, good afternoon.

2                THE COURT:    Appreciate your patience.

3                THE PROSPECTIVE JUROR:      Sure.

4                THE COURT:    Did you raise your paddle on any issues?

5                THE PROSPECTIVE JUROR:      I did.    A couple of them.

6                THE COURT:    Tell us about that.

7                THE PROSPECTIVE JUROR:      The victim of crime one, I

8    believe is one.

9                THE COURT:    Recently?    And I'm sorry to hear that.

10               THE PROSPECTIVE JUROR:      Not recent, no, not -- when

11   I was undergrad back in the early mid '90s in Atlanta.

12               THE COURT:    Okay.    Anything about that experience

13   impact you?

14               THE PROSPECTIVE JUROR:      No.

15               THE COURT:    And what else?

16               THE PROSPECTIVE JUROR:      The other thing I raised my

17   hands on was about whether it would cause difficulty with

18   work, I think everyone did pretty much.

19               THE COURT:    Well, pretty much, yes.

20               THE PROSPECTIVE JUROR:      Yeah.    I teach college at a

21   community college full time.

22               THE COURT:    But worse case scenario you could serve

23   for two weeks if you had to.

24               THE PROSPECTIVE JUROR:      If I had to.

25               THE COURT:    Any other issues?

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1                THE PROSPECTIVE JUROR:      That's it.

2                THE COURT:    You can serve.     We'll seat you.

3                THE PROSPECTIVE JUROR:      Okay.

4                (Prospective juror returns to seat.)

5                THE COURTROOM DEPUTY:      Juror 76.

6                (Prospective juror approaches sidebar.)

7                THE COURT:    Thank you, Juror 76, for your patience.

8                THE PROSPECTIVE JUROR:      Thanks.

9                THE COURT:    Did you raise your paddle on any issues?

10               THE PROSPECTIVE JUROR:      Yes, sir.

11               THE COURT:    Tell us about those.

12               THE PROSPECTIVE JUROR:      Mainly I'm a teacher of

13   students with disabilities in a hard to staff school.

14               THE COURT:    Hard to staff school.

15               THE PROSPECTIVE JUROR:      Yeah.

16               THE COURT:    Anything other than that.

17               THE PROSPECTIVE JUROR:      I have travel plans as well.

18               THE COURT:    Where are your travel plans and when are

19   they?

20               THE PROSPECTIVE JUROR:      They are for next Friday

21   5:30 flying to Portland.

22               THE COURT:    Okay.    Well, you know, you can catch a

23   later flight if we go to next Friday, right.

24               THE PROSPECTIVE JUROR:      I guess that's possible.       I

25   mean, they're booked already.

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1                THE COURT:    It's possible.      I understand life gets

2    in the way, we're not going to go more than two weeks I assure

3    you on that, so other than those issues anything else?

4                THE PROSPECTIVE JUROR:      No.

5                THE COURT:    Then you can serve.

6                THE PROSPECTIVE JUROR:      Thank you.

7                THE COURT:    Thank you.    All right.     Would you seat

8    her.

9                (Prospective juror returns to seat.)

10               (Continued on the next page.)

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                           JURY SELECTION - SIDEBAR

1                THE COURTROOM DEPUTY:      Juror Number 77.

2                (Prospective juror approaches sidebar.)

3                THE COURT:    Good afternoon, Juror Number 77.        Thank

4    you for your patience, sir.

5                Did you raise your paddle on any issues?

6                THE PROSPECTIVE JUROR:      I believe one.

7                THE COURT:    Tell us about that.

8                THE PROSPECTIVE JUROR:      I don't even remember.

9                THE CLERK:    He's been a arrested or a family member

10   has been arrested.

11               THE COURT:    Been arrested or a family member has

12   been arrested.     Tell us about that generally.

13               THE PROSPECTIVE JUROR:      Cousins.

14               THE COURT:    Cousins, okay.

15               THE PROSPECTIVE JUROR:      Right, charges --

16               THE COURT:    Anything about that experience have an

17   impact on your ability to serve in this case?

18               THE PROSPECTIVE JUROR:      No.

19               THE COURT:    Okay, anything else?

20               THE PROSPECTIVE JUROR:      No.

21               THE COURT:    Then you can serve.

22               THE PROSPECTIVE JUROR:      All right.

23               THE COURT:    Seat him, Mr. Jackson.

24               (Prospective juror returns to seat.)

25               THE COURTROOM DEPUTY:      Juror Number 78.

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                           JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Good afternoon, young lady.       Thank you

3    for your patience.      I appreciate it.

4                THE PROSPECTIVE JUROR:        Good afternoon.

5                THE COURT:    Did you raise your paddle on any issues?

6                THE PROSPECTIVE JUROR:      Yes, I did.

7                THE COURT:    Tell us about those.

8                THE PROSPECTIVE JUROR:      About knowing a police

9    officer --

10               THE COURT:    Right.    You know some?

11               THE PROSPECTIVE JUROR:      -- I worked with police

12   officers.    In my office there's police officers and family

13   member incarcerated.

14               THE COURT:    Putting all that together, could you be

15   fair and impartial in a case like this?

16               THE PROSPECTIVE JUROR:      Yes, I can.

17               THE COURT:    Okay, then we'll let you serve.

18               THE PROSPECTIVE JUROR:      Thank you, sir.

19               THE COURT:    Mr. Jackson, seat her, please.

20               (Prospective juror returns to seat.)

21               THE COURTROOM DEPUTY:      Juror 79.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon, young lady.       Thank you

24   very much for your patience.

25               You are Juror Number 79; is that right?

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                           JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Yes.

2                THE COURT:    Did you raise your paddle for any

3    issues?

4                THE PROSPECTIVE JUROR:      No, I didn't.

5                THE COURT:    Okay.    Are you able to serve in this

6    case?

7                THE PROSPECTIVE JUROR:      No, I can't.

8                THE COURT:    No.   Because why not?     Just generally.

9                THE PROSPECTIVE JUROR:      Because, tell you the truth,

10   I'm not going to be fair.

11               THE COURT:    Because?

12               THE PROSPECTIVE JUROR:      I'm not going to be fair.

13               THE COURT:    You're not going to be --

14               THE PROSPECTIVE JUROR:      -- fair.

15               THE COURT:    If you are not going to be fair, then

16   you can't serve.      Thank you for being up front.

17               THE PROSPECTIVE JUROR:      You're welcome.

18               THE COURT:    Give the paddle to my deputy and go back

19   to the second floor.

20               THE PROSPECTIVE JUROR:      Thank you so much.

21               (Prospective juror excused.)

22               THE COURTROOM DEPUTY:      Juror Number 80.

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Good afternoon, Young lady.       Thank you

25   for your patience.

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                           JURY SELECTION - SIDEBAR

1                Did you raise your paddle on any issues?

2                THE PROSPECTIVE JUROR:        I did.

3                THE COURT:    Tell us about those.

4                THE PROSPECTIVE JUROR:      I'm an enforcement attorney

5    with the SEC.

6                THE COURT:    Okay.

7                THE PROSPECTIVE JUROR:      I work with the U.S.

8    Attorney's Office, FBI, and Homeland.

9                THE COURT:    Do you think you can be fair and

10   impartial?     I think it would be nice to work on a nice civil

11   contract case, so give the paddle to my courtroom deputy and

12   go back to the second floor.

13               THE PROSPECTIVE JUROR:      Thank you.

14               (Prospective juror excused.)

15               THE COURTROOM DEPUTY:      Juror Number 81.

16               (Prospective juror approaches sidebar.)

17               THE COURT:    Good afternoon, Juror Number 81.        Thank

18   you for your patience, appreciate it.

19               THE PROSPECTIVE JUROR:      Good afternoon.     Thank you.

20               THE COURT:    Did you raise your paddle on any issues?

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    Come forward.

23               THE PROSPECTIVE JUROR:      Oh, sorry.

24               THE COURT:    That's okay.

25               Tell us about that.

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1                THE PROSPECTIVE JUROR:      My uncle is an agent for

2    Homeland Security and I'm currently studying full-time for my

3    physical therapy licensing exam next month, so I just don't

4    know if I can give my full attention while --

5                THE COURT:    It's a two-week trial, not a full-month

6    trial, do you think you can work with us for two weeks.            It

7    won't be any more than that.

8                THE PROSPECTIVE JUROR:      My test is in four weeks and

9    it's pretty grueling.

10               THE COURT:    Okay.    But still, we are just talking

11   about this week and next week, so could you do that, do you

12   think, if you had to?

13               THE PROSPECTIVE JUROR:      I don't --

14               THE COURT:    It would be hard, I know.

15               THE PROSPECTIVE JUROR:      It would be, yeah.

16               THE COURT:    But you could do it if you had to, yes?

17               THE PROSPECTIVE JUROR:      Yeah.

18               THE COURT:    Okay.    We'll let you serve.

19               Why don't you seat her, Mr. Jackson.

20               (Prospective juror returns to seat.)

21               THE COURTROOM DEPUTY:      Juror 82.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon, Juror Number 82.        Thank

24   you for your patience.

25               THE PROSPECTIVE JUROR:      Yeah.

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    Did you raise your paddle on any of

2    those issues?

3                THE PROSPECTIVE JUROR:      Just if you know a family

4    member that works in --

5                THE COURT:    Okay.    Tell us about that.

6                THE PROSPECTIVE JUROR:      My cousin works in Rikers,

7    so I don't know if that counts.

8                THE COURT:    Your cousin works at Rikers?

9                THE PROSPECTIVE JUROR:      Yeah.

10               THE COURT:    Any other connections?

11               THE PROSPECTIVE JUROR:      No.

12               THE COURT:    Anything about that that would make it

13   difficult for you to be in a case like this?

14               THE PROSPECTIVE JUROR:      No.

15               THE COURT:    Any other reason you couldn't serve?

16               THE PROSPECTIVE JUROR:      No.

17               THE COURT:    You can serve.      Thanks.

18               THE PROSPECTIVE JUROR:      Thank you.

19               THE COURT:    You can seat her, Mr. Jackson.

20               (Prospective juror returns to seat.)

21               THE COURTROOM DEPUTY:      Juror 83.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon, young lady.       Thank you

24   for your patience.      You are Juror Number --

25               THE PROSPECTIVE JUROR:      -- 83.

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1                THE COURT:    Did you raise your paddle on any issues?

2                THE PROSPECTIVE JUROR:      I did.    On two.

3                THE COURT:    Tell us about those.

4                THE PROSPECTIVE JUROR:      Okay.    I guess the first one

5    is hardship in terms of being here --

6                THE COURT:    Yes.

7                THE PROSPECTIVE JUROR:      -- because I have my

8    two-month-old grandson that I have three days a week while my

9    daughter went back to work part-time, so that was the first

10   hardship for me.

11               THE COURT:    And the second?

12               THE PROSPECTIVE JUROR:      I have the whole terrorism

13   issue.    My husband was -- my husband was in the Trade Center

14   twice --

15               THE COURT:    Say no more.     Thank you.

16               THE PROSPECTIVE JUROR:      Okay.

17               THE COURT:    You are excused, and please give the

18   paddle and you have all my respect.         You can go back to the

19   second floor.     Thank you.

20               (Prospective juror excused.)

21               THE COURTROOM DEPUTY:      Juror 84.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon, young lady.       Thank you

24   for your patience.

25               Did you raise your paddle on any issues?

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1                THE PROSPECTIVE JUROR:      Yes.

2                THE COURT:    Tell us about those.

3                THE PROSPECTIVE JUROR:      Because of, like, any crime

4    with my family.     I have three brother was convicted for

5    murder, so --

6                THE COURT:    I'm so sorry.

7                THE PROSPECTIVE JUROR:      For me to sit on a case to

8    decide somebody else is guilty or not guilty, it's very hard

9    for me.

10               THE COURT:    You couldn't do it.      Okay, we'll excuse

11   you.   Give the paddle to my deputy and go back to the second

12   floor.    Thank you.

13               THE PROSPECTIVE JUROR:      Thank you.

14               THE COURT:    Thank you.

15               (Prospective juror excused.)

16               THE COURTROOM DEPUTY:      Juror 85.

17               (Prospective juror approaches sidebar.)

18               THE COURT:    Good afternoon.      Thank you for your

19   patience.

20               Did you raise your paddle on any issues?

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    Tell us about those.

23               THE PROSPECTIVE JUROR:      My daughter, she -- we have

24   trouble having a baby-sitter because I had a motorcycle

25   accident a couple months ago, I haven't gone to work, so my

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1    parents used to look after my daughter so now that I'm not at

2    work, they went to India --

3                THE COURT:    Okay.

4                THE PROSPECTIVE JUROR:      -- and I have that problem

5    with the -- I don't have anybody to take care of her.

6                THE COURT:    How old is she?

7                THE PROSPECTIVE JUROR:      She's five.

8                THE COURT:    Okay.    Any other issues?

9                THE PROSPECTIVE JUROR:      I also -- I don't know if

10   this matters, but I was born in the United Arab Emirates --

11               THE COURT:    Okay.

12               THE PROSPECTIVE JUROR:      -- it's a Muslim country, so

13   I don't know if that's --

14               THE COURT:    That doesn't matter.

15               THE PROSPECTIVE JUROR:      And the disability, that's

16   it.   Other than that --

17               THE COURT:    Okay.    I think you can serve, so we will

18   let you serve.     Why don't you just be seated next to --

19               THE PROSPECTIVE JUROR:      Okay.

20               THE COURT:    Thanks.

21               (Prospective juror returns to seat.)

22               THE COURTROOM DEPUTY:      Juror 86.

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Good afternoon, and thank you for your

25   patience.    I appreciate it.

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1                Did you raise your paddle on any issues?

2                THE PROSPECTIVE JUROR:      Yes, I did.

3                THE COURT:    Tell us about those.

4                THE PROSPECTIVE JUROR:      I think the way you put the

5    question was about the United States policy in the Middle

6    East.

7                THE COURT:    Yes.

8                THE PROSPECTIVE JUROR:      I feel very strongly that

9    our intervention in the Middle East has caused a lot of the

10   destabilization that's there.

11               THE COURT:    Okay.    Do you think you can be fair and

12   impartial in this case?

13               THE PROSPECTIVE JUROR:      I think it would be tough.

14   I would try, but --

15               THE COURT:    Do you think you could be?       Remember, we

16   are talking about this case, one individual.           We are not

17   talking about all of our policies.

18               THE PROSPECTIVE JUROR:      I probably could.

19               THE COURT:    You could be fair?

20               THE PROSPECTIVE JUROR:      Yes.

21               THE COURT:    Okay.    We'll let you serve.     Why don't

22   you sit.

23               (Prospective juror returns to seat.)

24               THE COURTROOM DEPUTY:      Juror 87.

25               (Prospective juror approaches sidebar.)

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    Welcome.    Appreciate your patience,

2    Juror 87, thank you.

3                Did you raise your paddle on any issues?

4                THE PROSPECTIVE JUROR:      Yeah, I did.

5                THE COURT:    Tell us about those.

6                THE PROSPECTIVE JUROR:      I'm not going to be able to

7    be impartial because, I mean, I have prejudice against

8    Middle-Eastern people.

9                THE COURT:    You have prejudice against

10   Middle-Eastern people?

11               THE PROSPECTIVE JUROR:      I'm prejudice against

12   Middle-Eastern.     Also, I'm a criminal; I would never put

13   anybody in jail.

14               THE COURT:    Okay.

15               THE PROSPECTIVE JUROR:      That's my thing, I can't

16   be --

17               THE COURT:    Other than being prejudice and being a

18   criminal, any there any other issues?

19               THE PROSPECTIVE JUROR:      Well, I'm not going to put

20   anybody in jail or incarceration --

21               THE COURT:    No matter what they do.

22               THE PROSPECTIVE JUROR:      -- or imprisonment no matter

23   what.

24               THE COURT:    So you couldn't follow my instructions?

25               THE PROSPECTIVE JUROR:      No.   That's the laws I live

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                           JURY SELECTION - SIDEBAR

1    by.   I'm a Latin King.

2                THE COURT:    Okay.    I appreciate those are the laws

3    you live by, but I've got the laws I live by, so you are

4    excused.

5                THE PROSPECTIVE JUROR:      Okay.

6                THE COURT:    Give that to my deputy, and we've got a

7    nice contract case for you to work on.

8                THE PROSPECTIVE JUROR:      Okay.

9                THE COURT:    Thanks.

10               (Prospective juror excused.)

11               THE COURTROOM DEPUTY:      Juror Number 88.

12               (Prospective juror approaches sidebar.)

13               THE COURT:    Hello.    How are you?

14               THE PROSPECTIVE JUROR:      Good.    How about yourself?

15               THE COURT:    Thanks.    Fine, sir.

16               So did you raise your paddle for any issues?

17               THE PROSPECTIVE JUROR:      Yes.

18               THE COURT:    Tell us about those.

19               THE PROSPECTIVE JUROR:      For the 9:00 a.m. to the

20   5:00 p.m.    I'm a full-time college student --

21               THE COURT:    Okay.

22               THE PROSPECTIVE JUROR:      -- and a full-time worker as

23   well.

24               THE COURT:    Okay.

25               THE PROSPECTIVE JUROR:      So from work, I go straight

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                           JURY SELECTION - SIDEBAR

1    to college five days a week.

2                THE COURT:    What time is your college?

3                THE PROSPECTIVE JUROR:      I have college today

4    actually at four o'clock; and then Wednesdays 6:30; and then

5    Thursdays and Fridays, I have the morning, 8:00 a.m.

6                THE COURT:    Okay.    So it would be difficult for you

7    to serve in a case like this.

8                THE PROSPECTIVE JUROR:      Yes.

9                THE COURT:    I will excuse you.      Thank you.    Give the

10   paddle to my deputy and go back to the second floor.

11               (Prospective juror excused.)

12               THE COURTROOM DEPUTY:      Juror 89.

13               (Prospective juror approaches sidebar.)

14               THE COURT:    Hi.   How are you?

15               THE PROSPECTIVE JUROR:      Good.

16               THE COURT:    Appreciate your patience.

17               Did you raise your paddle on any issues?

18               THE PROSPECTIVE JUROR:      No.

19               THE COURT:    Can you serve in a case like this?

20               THE PROSPECTIVE JUROR:      Yes.

21               THE COURT:    Okay.    You can serve, thanks.

22               Mr. Jackson?

23               THE COURTROOM DEPUTY:       Sir, have a seat in the

24   second row.

25               (Prospective juror returns to seat.)

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                           JURY SELECTION - SIDEBAR

1                Juror Number 90.

2                (Prospective juror approaches sidebar.)

3                THE COURT:    Good afternoon, young lady.       Thank you

4    for your patience, Juror 90.

5                Did you raise your paddle on any issues?

6                THE PROSPECTIVE JUROR:      Pardon me?

7                THE COURT:    Before, did you raise your paddle

8    saying -- did you raise that before when I was asking

9    questions?

10               THE PROSPECTIVE JUROR:      I did.

11               THE COURT:    You did.    Tell us about that.

12               THE PROSPECTIVE JUROR:      I don't remember the

13   question.

14               THE COURT:    Okay.

15               THE CLERK:    Strong feelings about law enforcement.

16               THE COURT:    Strong feelings about law enforcement.

17   Do you have strong feelings about the police or anything like

18   that or prosecutors?

19               THE PROSPECTIVE JUROR:      Negative feelings.

20               THE COURT:    Negative feelings.

21               THE PROSPECTIVE JUROR:      My son was arrested --

22               THE COURT:    I'm sorry.

23               THE PROSPECTIVE JUROR:      -- in the '90s -- early '90s

24   here.

25               THE COURT:    I'm sorry.

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                           JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      He said the cop told him to

2    say yes to that he did certain things, and if he say yes, they

3    will let him go, and he said:        Mommy, I was stupid, I say yes,

4    and they arrested him, and he served ten years and they

5    deported him to Jamaica --

6                THE COURT:    I'm sorry.

7                THE PROSPECTIVE JUROR:      -- and he was there two

8    years ago, he and his friend were sitting on the roadside and

9    the car pull up, two gunmen with gun and they shot both of

10   them dead.     My son got 21 shots from head to toe.

11               THE COURT:    I'm sorry.    That's horrible.

12               THE PROSPECTIVE JUROR:      And up to now, the

13   Government did nothing to find the killers.

14               THE COURT:    I'm just appalled by that.

15               THE PROSPECTIVE JUROR:      I don't think I could make a

16   fair --

17               THE COURT:    I understand.     You have all the Court's

18   sympathy, we will excuse you from service in this case, and

19   God bless you.

20               THE PROSPECTIVE JUROR:      Thank you sir.

21               THE COURT:    Give the paddle to my deputy and go back

22   to the second floor.

23               (Prospective juror excused.)

24               THE COURTROOM DEPUTY:      Juror 91.

25               (Prospective juror approaches sidebar.)

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    Good afternoon.

2                THE PROSPECTIVE JUROR:      Good afternoon, Your Honor.

3                THE COURT:    Thank you for your patience.

4                THE PROSPECTIVE JUROR:      Of course.

5                THE COURT:    Appreciate it.

6                Did you raise your paddle on any issues?

7                THE PROSPECTIVE JUROR:      Oh, okay.

8                THE COURT:    Did you have any issues before?

9                THE PROSPECTIVE JUROR:      I am supposed to be out of

10   town on Thursday and Friday for a work event.

11               THE COURT:    Generally, what kind of work event?

12               THE PROSPECTIVE JUROR:      It is a leadership

13   conference to plan the future of the agency.

14               THE COURT:    Okay.    Beyond that, and I know it's an

15   imposition, is there anything else that would prevent you from

16   being on this jury?

17               THE PROSPECTIVE JUROR:      No, but we would likely have

18   to reschedule that because I'm the leader of the agency.

19               THE COURT:    Okay.    You know what, I appreciate it

20   would be a burden, but I'm going to ask you to serve.            Thank

21   you.   So you can sit down.

22               Seat her, please.

23               (Prospective juror returns to seat.)

24               THE COURTROOM DEPUTY:      Juror 92.

25               (Prospective juror approaches sidebar.)

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    Good afternoon and thank you for your

2    patience, Juror 92, appreciate it.

3                Did you raise your paddle on any issues?

4                THE PROSPECTIVE JUROR:      Yes.

5                THE COURT:    Tell us about those.

6                THE PROSPECTIVE JUROR:      The reading issue.      I have a

7    learning disability where I have, like, a level of a fifth

8    grader, so I don't understand certain things.

9                THE COURT:    I understand.     Any other issues?

10               THE PROSPECTIVE JUROR:      My dad does depend on me

11   medical-wise, so I have, like, appointments for him this week.

12               THE COURT:    I appreciate that and I wish you all the

13   best.    You don't have to serve on this case.         Give the paddle

14   to my deputy and go back to the second floor.

15               THE PROSPECTIVE JUROR:      Thank you.

16               THE COURT:    Thank you.

17               (Prospective juror excused.)

18               THE COURTROOM DEPUTY:      Juror 93.

19               (Prospective juror approaches sidebar.)

20               THE COURT:    Good afternoon, sir, and thank you for

21   your patience.

22               Did you raise your paddle on any of those issues?

23               THE PROSPECTIVE JUROR:      For a few items.

24               THE COURT:    Okay.    Tell us about those.

25               THE PROSPECTIVE JUROR:      One of which is I have a

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                           JURY SELECTION - SIDEBAR

1    young son who I care for in the evenings.

2                The second one is that I work at Brooklyn Law School

3    and I'm familiar with a lot of the judges on this court and

4    have close relationships with the DA's office.

5                THE COURT:    What do you do at Brooklyn Law School?

6                THE PROSPECTIVE JUROR:      I'm the director of events.

7                THE COURT:    Are you an attorney?

8                THE PROSPECTIVE JUROR:      I'm not an attorney, no.

9                THE COURT:    Okay.    So other than those, are there

10   any other reasons you might not be able to serve?

11               THE PROSPECTIVE JUROR:      Just also that -- I also

12   raised it just because I have family members who are on the

13   NYPD as well.

14               THE COURT:    Okay.    Would you be able to be fair and

15   impartial in this case if you were asked to serve?

16               THE PROSPECTIVE JUROR:      I can't say for certain.       As

17   an eyewitness of 9/11 --

18               THE COURT:    You have to look me in the eye and tell

19   me whether you think you can be fair and impartial in this

20   case.

21               THE PROSPECTIVE JUROR:      I'm not confident.

22               THE COURT:    You have to look me in the eye.        Yes or

23   no, could you fair and impartial in this case?

24               THE PROSPECTIVE JUROR:      No.

25               THE COURT:    Then we will excuse you.       Thank you.

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                           JURY SELECTION - SIDEBAR

1    Give the paddle and you're excused.         Go back to the second

2    floor.

3                (Prospective juror excused.)

4                THE COURTROOM DEPUTY:      Juror Number 94.

5                (Prospective juror approaches sidebar.)

6                THE COURT:    Good afternoon.      How are you?

7                THE PROSPECTIVE JUROR:      Good, how are you?

8                THE COURT:    Good.

9                Did you raise your paddle before?

10               THE PROSPECTIVE JUROR:      Yes.

11               THE COURT:    Okay.    Tell me those issues.

12               THE PROSPECTIVE JUROR:      One, I'm traveling for --

13   I'm going to be traveling to Canada next week for work.

14               THE COURT:    What kind of work generally?

15               THE PROSPECTIVE JUROR:      Finance, accounting.

16               THE COURT:    Okay.    And what else?

17               THE PROSPECTIVE JUROR:      And then the second reason

18   is that my older brother, he was convicted before and he got

19   arrested.    He served in jail for -- was in jail for a couple

20   years.

21               THE COURT:    Anything about those experiences make it

22   difficult for you to serve in a case like this?

23               THE PROSPECTIVE JUROR:      Yeah, it's going to be a

24   little bit difficult because I may have -- it's going to be

25   hard to have an unbiased view.

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                           JURY SELECTION - SIDEBAR

1                THE COURT:     Then we will excuse you.       Give the

2    paddle to my deputy and go back to the second floor.

3                (Prospective juror excused.)

4                THE COURTROOM DEPUTY:      Juror Number 95.

5                (Prospective juror approaches sidebar.)

6                THE COURT:    Good afternoon.     How are you?

7    Appreciate your patience.

8                THE PROSPECTIVE JUROR:      Thank you.

9                THE COURT:    Did you raise your paddle on any issues?

10               THE PROSPECTIVE JUROR:      I did.

11               THE COURT:    Tell us about those.

12               THE PROSPECTIVE JUROR:      I won't be able to stay

13   unbiased because I have a very, like, negative view of

14   terrorists groups of 9/11.       My aunt lost her sister that day

15   and my dad, who is now retired, was a police officer helping

16   out --

17               THE COURT:    It's okay.    We have enough.     Thank you.

18   You're excused.     Give the paddle to my deputy and go back to

19   the second floor.

20               (Prospective juror excused.)

21               THE COURT:    He was a 9/11.

22               THE COURTROOM DEPUTY:      Juror Number 96.

23               (Prospective juror approaches sidebar.)

24               THE COURT:    Thank you, sir.     Appreciate your

25   patience.

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                           JURY SELECTION - SIDEBAR

1                Did you raise your paddle on any issues?

2                THE PROSPECTIVE JUROR:      Yeah.

3                THE COURT:    Tell us about those.

4                THE PROSPECTIVE JUROR:      I have a -- so it's just

5    like the last thing, I think, you mentioned about having any

6    questions maybe --

7                THE COURT:    Yeah, the general generic --

8                THE PROSPECTIVE JUROR:      I have a psychiatrist

9    appointment tomorrow.

10               THE COURT:    What time?

11               THE PROSPECTIVE JUROR:      5:30.

12               THE COURT:    I'm going to ask you, we may be able to

13   end at 5:00, maybe a little earlier, so you can get there.

14   Will that be okay, or is there somebody to call --

15               THE PROSPECTIVE JUROR:      It's midtown.     Can I go in a

16   little more detail about it?

17               THE COURT:    No, no.    I mean other than that --

18               THE PROSPECTIVE JUROR:      It relates to -- I have a

19   personal trauma that relates to terrorism actually.

20               THE COURT:    So you think really you shouldn't serve

21   in a case like this?

22               THE PROSPECTIVE JUROR:      Yeah.

23               THE COURT:    You are excused.      Give the paddle to my

24   deputy and go to the second floor.

25               THE PROSPECTIVE JUROR:      Thank you.

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                           JURY SELECTION - SIDEBAR

1                (Prospective juror excused.)

2                THE COURTROOM DEPUTY:      Juror Number 97.

3                (Prospective juror approaches sidebar.)

4                THE COURT:    Thank you for your patience, Juror 97,

5    appreciate it.

6                Did you raise your paddle on any of those issues

7    earlier?

8                THE PROSPECTIVE JUROR:      I did.

9                THE COURT:    Tell me about that.

10               THE PROSPECTIVE JUROR:      It was do you know someone

11   who is in the FBI or the --

12               THE COURT:    Right.    And do you?

13               THE PROSPECTIVE JUROR:      Yeah.    My -- one of my best

14   friends is in the police department -- NYPD.

15               THE COURT:    Beyond that, anything else?

16               THE PROSPECTIVE JUROR:      No.

17               THE COURT:    Anything to make it difficult for you to

18   serve in this case?

19               THE PROSPECTIVE JUROR:      No.

20               THE COURT:    Then you can serve.      Thanks.    We'll seat

21   you.

22               THE PROSPECTIVE JUROR:      Great.

23               (Prospective juror returns to seat.)

24               THE COURT:    Who wants to come up?

25               Come on up.

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                           JURY SELECTION - SIDEBAR

1                Call him up, 85.

2                (Prospective juror approaches sidebar.)

3                THE COURT:    85.   Yes, Juror 85.

4                THE PROSPECTIVE JUROR:      I'm sorry, I forgot to tell

5    you last time, I had some appointments also, like, the

6    physical therapy appointments and my doctors' appointments.

7                THE COURT:    Could they be rescheduled?

8                THE PROSPECTIVE JUROR:      I tried -- I don't know.

9    The other one is for -- to clear me for -- to go to work

10   because of the disability --

11               THE COURT:    Okay.

12               THE PROSPECTIVE JUROR:      -- and to get that guy's

13   appointment is hard.      It took me about two months to get his

14   appointment.

15               THE COURT:    Okay.    Well, I'm sure a federal judge

16   can help clear his calendar, so you can serve, take your seat

17   again.    Thanks.

18               (Prospective juror returns to seat.)

19               THE COURTROOM DEPUTY:      Juror 98.

20               (Prospective juror approaches sidebar.)

21               THE COURT:    Good afternoon, Juror 98.       Thank you for

22   your patience.

23               THE PROSPECTIVE JUROR:      Hello.

24               THE COURT:    Did you raise your paddle on any issues?

25               THE PROSPECTIVE JUROR:      Yes.

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    Tell us about those.

2                THE PROSPECTIVE JUROR:      The personal one.

3                THE COURT:    Yes.

4                THE PROSPECTIVE JUROR:      So I'm a teacher, like, I'm

5    the only teacher in a special education class for first grade,

6    and I feel like it would just be hard having the kids adjust

7    to a new substitute teacher every day.         Also, I am leaving the

8    state next Friday.      I didn't know if that --

9                THE COURT:    We will probably be done by next Friday,

10   so do you think you will be able to serve?          I know you have

11   other things to do, but do you think --

12               THE PROSPECTIVE JUROR:      Only because of the whole

13   teaching thing.

14               THE COURT:    I know the teaching thing is important,

15   but this is too, so could you serve if you had to?

16               THE PROSPECTIVE JUROR:      I mean --

17               THE COURT:    I know you don't want to --

18               THE PROSPECTIVE JUROR:      Yeah, I don't.

19               THE COURT:    -- but if you had to -- I'm going to be

20   mean and say you have to.

21               THE PROSPECTIVE JUROR:      I guess if I had to, then I

22   would, but then also I'm doing my master's too, and I don't

23   really --

24               THE COURT:    You know what, I understand, but you

25   have to, so I'm going to insist that you serve for now, okay?

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                           JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      Okay.

2                THE COURT:    Okay.

3                THE PROSPECTIVE JUROR:      Can I eat, though?

4                THE COURT:    Yes.

5                THE PROSPECTIVE JUROR:         Okay.

6                THE COURT:    Okay.    Fast.

7                (Prospective juror returns to seat.)

8                THE COURTROOM DEPUTY:      Juror 99.

9                (Prospective juror approaches sidebar.)

10               THE COURT:    Good afternoon.      Thank you, Juror 99.

11               THE PROSPECTIVE JUROR:      Hi.

12               THE COURT:    Did you raise your paddle on any issues?

13               THE PROSPECTIVE JUROR:      Issues?    No.

14               THE COURT:    Okay.    So do you think you can serve in

15   a case like this?

16               THE PROSPECTIVE JUROR:      Yeah, I can.

17               THE COURT:    Okay, then you can serve.       Thanks.

18               Seat her.

19               (Prospective juror returns to seat.)

20               THE COURTROOM DEPUTY:      Juror 100.

21               (Prospective juror approaches sidebar.)

22               THE COURT:    Good afternoon, young lady.       Thank you

23   for your patience.

24               Did you raise your paddle on any issues?

25               THE PROSPECTIVE JUROR:      Yes.

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    Tell us about those.

2                THE PROSPECTIVE JUROR:      The main one is I have plain

3    reservations next Thursday.

4                THE COURT:    Okay.

5                THE PROSPECTIVE JUROR:      I'm going on a cruise.

6                THE COURT:    Okay.    Enjoy your cruise.     Give the

7    paddle to my deputy.      Bon voyage.

8                THE PROSPECTIVE JUROR:      Thank you.

9                THE COURT:    Go to the second floor.       Thank you.

10               (Prospective juror excused.)

11               THE COURTROOM DEPUTY:      Juror Number 102.

12               THE COURT:    Did you miss 101?

13               101 had to go because of -- hello, how are you?

14               THE PROSPECTIVE JUROR:      Good.    How are you?

15               THE COURT:    Good.    Thank you for being so patient.

16   You are Juror 102.

17               Any issues that you raised your paddle on?

18               THE PROSPECTIVE JUROR:      I did.    I work for a

19   criminal defense practice --

20               THE COURT:    Okay.

21               THE PROSPECTIVE JUROR:      -- in Staten Island and

22   work -- I also write preceding memorandums for the

23   prosecution.

24               THE COURT:    Okay, so you are on both sides?

25               THE PROSPECTIVE JUROR:      Yes.

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    All right.    Anything about that

2    experience that will make it difficult or impossible for you

3    to be fair on a case like this?

4                THE PROSPECTIVE JUROR:      I mean, I would do my best

5    to be impartial, but I think I would always think from a

6    defense point of view because I'm on the defense side.

7                THE COURT:    Okay.    Well, we presume innocence here,

8    so other than that, anything else?

9                THE PROSPECTIVE JUROR:      No.

10               THE COURT:    Okay, we'll let you serve.       Thanks.

11               (Prospective juror returns to seat.)

12               MR. PRAVDA:    Your Honor, can we make an application

13   for her because she said she favored the defense.

14               THE COURT:    She said she might.      And I said, well,

15   you know, it's presumption of innocence, and then I said

16   that's why God made peremptories.         Okay?

17               THE COURTROOM DEPUTY:      Juror number 103.

18               (Prospective juror approaches sidebar.)

19               THE PROSPECTIVE JUROR:      Hi.

20               THE COURT:     Hi.    How are you?

21               THE PROSPECTIVE JUROR:      Good.     How are you?

22               THE COURT:    Did you raise your paddle for any

23   issues?

24               THE PROSPECTIVE JUROR:      No, no issue.

25               THE COURT:    No issues?

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1                THE PROSPECTIVE JUROR:      No issues.

2                THE COURT:     Do you think you can serve in a case

3    like this?

4                THE PROSPECTIVE JUROR:      I guess so.

5                THE COURT:     I think you could.     Okay, you can serve.

6    Thank you.     Go ahead.

7                (Prospective juror excused.)

8                MR. HAGGANS:     That's 36, Your Honor.

9                THE COURT:     36?   Then we have that one juror who

10   went out to lunch, the one that said, "Can I eat?"

11               THE CLERK:     I thought we excused her.

12               THE COURT:     No, I don't think we did.      The one who

13   said she wanted to go out to lunch.

14               MS. MACEDONIO:       98.

15               THE COURT:     Was that 98?

16               MS. MACEDONIO:       The teacher.

17               THE COURT:     She's out of the room, right?       I think I

18   saw her go out.     I told her to be quick.

19               THE COURTROOM DEPUTY:      Juror Number 98.

20               MR. HAGGANS:     Your Honor, will the Court be

21   entertaining any cause challenges --

22               THE COURT:     No.

23               MR. HAGGANS:     Understood.

24               THE COURTROOM DEPUTY:      Juror Number 98 and 99 went

25   to lunch.

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1                THE COURT:    Then let's keep going.

2                THE COURTROOM DEPUTY:      Juror 104, please come up.

3                (Prospective juror approaches sidebar.)

4                THE COURT:    Good afternoon, Juror 104.       Thank you

5    for your patience.

6                Did you raise your paddle on any issues?

7                THE PROSPECTIVE JUROR:      One.

8                THE COURT:    What was that?

9                THE PROSPECTIVE JUROR:      I have a friend who's a

10   federal agent.

11               THE COURT:    Okay.    Was there anything about that

12   relationship that would make it difficult or impossible for

13   you to be fair in this case?

14               THE PROSPECTIVE JUROR:      No.

15               THE COURT:    Okay.    You can serve.

16               THE PROSPECTIVE JUROR:      Thank you.

17               THE COURT:    Thank you.

18               Why don't you seat her.

19               (Prospective juror returns to seat.)

20               THE COURTROOM DEPUTY:      Juror 105.

21               (Prospective juror approaches sidebar.)

22               THE COURT:    Thank you.    Appreciate your patience.

23               Did you raise your paddle on any issues?

24               THE PROSPECTIVE JUROR:      Sorry, English is not good.

25               THE COURT:    Your English is not good enough?        I

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1    understand.     You are excused.     Give the paddle to my deputy

2    and go back to the second floor.

3                THE PROSPECTIVE JUROR:      Okay.    Thank you.

4                THE COURT:    Okay?    Thank you.

5                (Prospective juror excused.)

6                THE COURTROOM DEPUTY:      Juror 106.

7                (Prospective juror approaches sidebar.)

8                THE COURT:    Good afternoon.

9                THE PROSPECTIVE JUROR:      Good afternoon.

10               THE COURT:    Thank you for your patience.

11               Did you raise your paddle on any issues?

12               THE PROSPECTIVE JUROR:      One.

13               THE COURT:    Tell us about that.

14               THE PROSPECTIVE JUROR:      I think you said was I ever

15   been a victim of a crime or something like that?

16               THE COURT:    Yes.

17               THE PROSPECTIVE JUROR:      Yes, I was.

18               THE COURT:    When was that?     And I'm sorry it

19   happened.    How many years ago?

20               THE PROSPECTIVE JUROR:      Now I'm 60, but the first

21   time was, like, when I was 20 --

22               THE COURT:    You can't be that old.       Come on.   Come

23   on.

24               THE PROSPECTIVE JUROR:      Yeah, and it was right here

25   in Brooklyn, I got robbed in daylight.

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1                And then second time I was still in my 20s, I got

2    robbed late at night, and then about 40, my house was broken

3    into.

4                THE COURT:    Okay.    So anything about all those

5    experiences, individually or collectively, make it difficult

6    or impossible for you to serve in a case like this?

7                THE PROSPECTIVE JUROR:      No.

8                THE COURT:    Okay.    Anything else?

9                THE PROSPECTIVE JUROR:      That's it.

10               THE COURT:    Then you can serve.

11               THE PROSPECTIVE JUROR:      All right.

12               THE COURT:    All right.    Thank you.

13               Mr. Jackson, would you seat the potential juror.

14               (Prospective juror returns to seat.)

15               THE COURTROOM DEPUTY:      Juror 107.

16               (Prospective juror approaches sidebar.)

17               THE COURT:    How are you?     Good afternoon.     Thank

18   you.

19               Did you raise your paddle for any issues, Juror 107?

20               THE PROSPECTIVE JUROR:      No.

21               THE COURT:    Okay.    Any reason you couldn't serve in

22   a case like this?

23               THE PROSPECTIVE JUROR:      I'm willing to serve, but

24   only thing is nowadays my -- I have right foot gout, I'm

25   taking medicine --

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1                THE COURT:    Yes.

2                THE PROSPECTIVE JUROR:      -- so because -- I am

3    willing to do that.      If pain increase, so then I have to

4    excuse for that day.

5                THE COURT:    For the whole day?

6                THE PROSPECTIVE JUROR:      For some other day if pain

7    increase because I'm taking medicine --

8                THE COURT:    Okay.    Well, we have to do this day to

9    day, this week and next week, so we can't excuse jurors from

10   any day this week or next week.        Would that be a problem for

11   you if you have a foot problem?

12               THE PROSPECTIVE JUROR:      Because I cannot put the

13   foot for a long time because it gets swelling.

14               THE COURT:    Okay.    So you might have to miss it.

15               THE PROSPECTIVE JUROR:      I'm taking medicine, but

16   it's all up to you.

17               THE COURT:    Okay.    You know, what, we'll excuse you

18   on that basis.     Thank you.     Give the paddle to my deputy and

19   go back to the second floor.        Thank you.

20               THE PROSPECTIVE JUROR:      Thank you very much.

21               THE COURT:    Thank you.

22               (Prospective juror excused.)

23               THE COURTROOM DEPUTY:      Juror 108.

24               THE COURT:    So what are we up to?

25               THE CLERK:    38 so far, plus two.

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1                THE COURT:    Plus two and the two that are missing?

2                THE CLERK:    Yes.

3                THE COURT:    Okay.    38 and the two that are missing,

4    okay.

5                Come forward.

6                (Prospective juror approaches sidebar.)

7                THE PROSPECTIVE JUROR:      Good afternoon.

8                THE COURT:    Thank you for your patience.

9                THE PROSPECTIVE JUROR:      Thanks.

10               THE COURT:    Did you raise your paddle on any issues?

11               THE PROSPECTIVE JUROR:      Yes, I did.

12               THE COURT:    Tell us about those.

13               THE PROSPECTIVE JUROR:      It's childcare, just in the

14   mornings, dropping off -- I drop off my daughter for eight

15   o'clock.

16               THE COURT:    For eight o'clock?

17               THE PROSPECTIVE JUROR:      For eight o'clock.      I know

18   you start at 9:30.

19               THE COURT:    We do.

20               THE PROSPECTIVE JUROR:      I live in Staten Island,

21   though --

22               THE COURT:    Okay.

23               THE PROSPECTIVE JUROR:      -- and I don't know if I can

24   make it.

25               THE COURT:    I bet you can.     I have friends who live

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1    in Staten Island, including one of my fellow judges, and he

2    takes mass transit.

3                THE PROSPECTIVE JUROR:      Yes.

4                THE COURT:    Okay, we are going to let you serve.

5                THE PROSPECTIVE JUROR:      Okay.

6                THE COURT:    Okay, thank you.      You can be seated.

7                THE PROSPECTIVE JUROR:      Okay.

8                (Prospective juror returns to seat.)

9                THE COURTROOM DEPUTY:      Juror Number 111.

10               (Prospective juror approaches sidebar.)

11               THE PROSPECTIVE JUROR:      Hi.

12               THE COURT:    How are you, Juror 111?       Appreciate your

13   patience.

14               Did you raise your paddle on any issues?

15               THE PROSPECTIVE JUROR:      Yeah, I have two issues, one

16   is I might be -- not be able to understand English.

17               THE COURT:    You know what, we will excuse you.

18               THE PROSPECTIVE JUROR:      It's my second language

19   anyway.

20               THE COURT:    We will excuse you.      You can go back to

21   the second floor.      Give the paddle to my deputy here.        Thank

22   you.

23               THE PROSPECTIVE JUROR:      Thank you.

24               (Prospective juror excused.)

25               THE COURTROOM DEPUTY:      Juror 113.

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                           JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Good afternoon.     Thank you for your

3    patience.    I appreciate it, Juror 113.

4                Did you raise your paddle on any issues?

5                THE PROSPECTIVE JUROR:      Yeah, the main issue is that

6    my mother-in-law is in late stage dementia.

7                THE COURT:    I'm so sorry.

8                THE PROSPECTIVE JUROR:      I'm, kind of, on standby;

9    I'm the only person with a car.        It's kind of touch and go.

10               THE COURT:    You know what, you are excused.        I get

11   it.   Please give the paddle to my deputy and go back to the

12   second floor.

13               THE PROSPECTIVE JUROR:      Thank you.

14               THE COURT:    God bless.

15               (Prospective juror excused.)

16               THE COURTROOM DEPUTY:      Juror 114.

17               (Prospective juror approaches sidebar.)

18               THE COURT:    Good afternoon.     How are you?

19               THE PROSPECTIVE JUROR:      Very well.

20               THE COURT:    Thank you.    Appreciate your patience.

21               Did you raise your paddle on any issues?

22               THE PROSPECTIVE JUROR:      I did, and I've been a

23   witness in a criminal case.

24               THE COURT:    Okay.    Anything about that experience

25   that would have an impact here?

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1                THE PROSPECTIVE JUROR:      No.

2                THE COURT:    How long ago was that?

3                THE PROSPECTIVE JUROR:      About 20 years ago.

4                THE COURT:    About 20 years ago.

5                Any other issues?

6                THE PROSPECTIVE JUROR:      No.

7                THE COURT:    Okay, then you can serve.       Thanks.

8                Next.

9                (Prospective juror returns to seat.)

10               THE COURTROOM DEPUTY:      Juror 115.

11               (Prospective juror approaches sidebar.)

12               THE COURT:    Good afternoon.

13               THE PROSPECTIVE JUROR:      Hi.

14               THE COURT:    Good afternoon.      Thank you.

15               THE PROSPECTIVE JUROR:      How are you?

16               THE COURT:    You are Juror 115.

17               THE PROSPECTIVE JUROR:      Yes.

18               THE COURT:    Appreciate your patience.

19               Did you raise your paddle on any issues?

20               THE PROSPECTIVE JUROR:      I did.

21               THE COURT:    Tell us about those.

22               THE PROSPECTIVE JUROR:      Several things.     Time-wise,

23   I have a college tour set up for my daughter next weekend

24   Friday to Monday in Boston.

25               THE COURT:    Say no more, you are excused.        Give the

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1    paddle to my deputy and go back to the second floor.

2                THE PROSPECTIVE JUROR:      Thank you.

3                THE COURT:    Thank you.

4                (Prospective juror excused.)

5                THE COURTROOM DEPUTY:      Juror 116.

6                (Prospective juror approaches sidebar.)

7                THE COURT:    Good afternoon, Juror 116.       Thank you

8    very much.

9                THE PROSPECTIVE JUROR:      Hi.

10               THE COURT:    Did you raise your paddle on any of

11   those issues I was calling out earlier?

12               THE PROSPECTIVE JUROR:      I raised it --

13               THE CLERK:    Strong feelings about law enforcement.

14               THE PROSPECTIVE JUROR:      Well, I had a few run-ins

15   with the cops before, but that was, like, when I was younger.

16               THE COURT:    Okay.    Any other issues?

17               THE PROSPECTIVE JUROR:      Not really.

18               THE COURT:    Okay.

19               I'm sorry?

20               THE CLERK:    He's been arrested.

21               THE COURT:    Been arrested?

22               THE PROSPECTIVE JUROR:      Yeah.    When I was 17, I --

23   twice, actually -- I jumped the turnstile and smoking pot --

24               THE COURT:    Okay.

25               THE PROSPECTIVE JUROR:      -- on the street.

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1                THE COURT:    Well, you know, youthful indiscretions,

2    I hear you, but we will excuse you from this jury.

3                THE PROSPECTIVE JUROR:       Okay.

4                THE COURT:    Give the paddle to my deputy and go back

5    to the second floor.

6                THE PROSPECTIVE JUROR:       All right.    Thank you.

7                (Prospective juror excused.)

8                THE COURT:    Are the jurors all back, or are we

9    missing people?

10               THE COURTROOM DEPUTY:       I will double-check.

11               THE COURT:    Don't double check yet; stay here.         I

12   just want to know who we're missing.         All right, let's go.

13               THE COURTROOM DEPUTY:       Juror 117.

14               THE COURT:    Which numbers are we missing?        Do you

15   know?

16               THE COURTROOM DEPUTY:       I would have to check, Judge.

17   They are scattered.

18               THE COURT:    You don't know which ones stepped out?

19               Do you know which ones stepped out?

20               MR. HAGGANS:     No.

21               THE COURT:    No?   Okay.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Hi.   How are you today?

24               THE PROSPECTIVE JUROR:       Fine.

25               THE COURT:    Good.

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                           JURY SELECTION - SIDEBAR

1                Did you raise your paddle on any issues?

2                THE PROSPECTIVE JUROR:      Yeah.

3                THE COURT:    Okay.    I know it seems like a long time

4    ago.   It probably was a long time ago.         Tell me what they

5    were, if you recall.      If not, my law clerks will help me.

6                THE PROSPECTIVE JUROR:      Legal training.

7                THE COURT:    Tell me about that.

8                THE PROSPECTIVE JUROR:      I was a sanitation officer,

9    I gave summonses, arrests.        I have a son who is a detective in

10   the NYU.

11               THE COURT:    Anything else?

12               THE PROSPECTIVE JUROR:      NYPD, not NYU.

13               THE COURT:    All right.    Any other issues?

14               THE PROSPECTIVE JUROR:      No.

15               THE COURT:    Okay.    We'll excuse from you this case.

16   We will get you a nice civil contracts case to work on.            You

17   are excused from this one.        Give the paddle to my deputy and

18   head back down.

19               THE PROSPECTIVE JUROR:      Thank you.

20               (Prospective juror excused.)

21               THE COURTROOM DEPUTY:      Juror 118.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Hi.   How are you?

24               THE PROSPECTIVE JUROR:      Good.    How are you?

25               THE COURT:    Thank your for your patience.        I very

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1    much appreciate it.

2                Did you raise your paddle on any issues?

3                THE PROSPECTIVE JUROR:      I did.

4                THE COURT:    Tell me about those.

5                THE PROSPECTIVE JUROR:      I raised it with regards to

6    dealings with law enforcement and trusting law enforcement.

7                THE COURT:    Right.

8                THE PROSPECTIVE JUROR:      I had the FBI arrest a

9    family member of mine and they were convicted of a crime and

10   sent to federal detention camp.        I've also had close family

11   members -- my father, my uncle and my grandfather -- held up

12   at gunpoint in their store multiple times, and law enforcement

13   didn't do anything to bring any kind of justice to the

14   situation.

15               THE COURT:    And so you would not be able to be fair

16   in a case like this?

17               THE PROSPECTIVE JUROR:      I don't believe so, no.

18               THE COURT:    Okay, then you are excused.       I

19   appreciate your candor.       Give the paddle back to my law clerk

20   and go back to the second floor.        Thank you.

21               THE PROSPECTIVE JUROR:      Thank you.

22               (Prospective juror excused.)

23               THE COURTROOM DEPUTY:      Juror 119.

24               (Prospective juror approaches sidebar.)

25               THE COURT:    Thank you for your patience.        I

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1    appreciate it.

2                Did you raise your paddle on any issues, Juror 119?

3                THE PROSPECTIVE JUROR:      I don't think any major

4    issues.

5                THE COURT:    How about any minor issues?

6                THE PROSPECTIVE JUROR:      I think, like, I was a

7    victim of a violent crime.

8                THE COURT:    Were you?

9                THE PROSPECTIVE JUROR:      Yeah, I was.

10               THE COURT:    I'm sorry, when was that?

11               THE PROSPECTIVE JUROR:      Four years ago.

12               THE COURT:    Okay.    And did they catch the person who

13   did it?

14               THE PROSPECTIVE JUROR:      No.

15               THE COURT:    I'm sorry.    Anything about that

16   experience have an impact on your ability to be fair in a case

17   like this?

18               THE PROSPECTIVE JUROR:      No.

19               THE COURT:    Any other issues?

20               THE PROSPECTIVE JUROR:      No.

21               THE COURT:    Okay.    Then you can serve.

22               THE PROSPECTIVE JUROR:      Okay.

23               THE COURT:    Thank you.

24               Seat him.

25               (Prospective juror returns to seat.)

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                           JURY SELECTION - SIDEBAR

1                THE COURTROOM DEPUTY:      Juror 120.

2                (Prospective juror approaches sidebar.)

3                THE COURT:    Thank you, Juror 120.      I appreciate it.

4                Did you raise your paddle on any issues?

5                THE PROSPECTIVE JUROR:      Just the -- when I was

6    younger, my house was broken into.

7                THE COURT:    I'm sorry.    Did they catch the person

8    who did it or persons?

9                THE PROSPECTIVE JUROR:      I don't know.     I was, like,

10   10 --

11               THE COURT:    Okay.

12               THE PROSPECTIVE JUROR:      -- I was really young.

13               THE COURT:    I'm sorry.    Anything about that

14   experience have an impact on a case like this?

15               THE PROSPECTIVE JUROR:      No.

16               THE COURT:    Any other issues?

17               THE PROSPECTIVE JUROR:      No.

18               THE COURT:    They you can serve.

19               THE PROSPECTIVE JUROR:      All right.

20               THE COURT:    Thank you.

21               Mr. Jackson?

22               (Prospective juror returns to seat.)

23               THE COURTROOM DEPUTY:      Juror 121.

24               (Prospective juror approaches sidebar.)

25               THE COURT:    Thank you.    Appreciate your patience.

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                           JURY SELECTION - SIDEBAR

1                Did you raise your paddle before?

2                THE PROSPECTIVE JUROR:      Yes.

3                THE COURT:    Any issues?

4                THE PROSPECTIVE JUROR:      Yeah, kind of.

5                THE COURT:    Kind of tell us.

6                THE PROSPECTIVE JUROR:      I live in a neighborhood

7    with a lot of Muslims around and I have a little animosity

8    towards them.     They're --

9                THE COURT:    You have some animosity towards them?

10               THE PROSPECTIVE JUROR:        Yeah.

11               THE COURT:    We'll excuse you in this case, then.

12               THE PROSPECTIVE JUROR:      All right.

13               THE COURT:    Give the paddle to my courtroom deputy

14   and go back to the second floor.

15               THE PROSPECTIVE JUROR:      Thank you.

16               (Prospective juror excused.)

17               THE COURTROOM DEPUTY:      Juror 122.

18               THE COURT:    We had a total of 130?

19               THE COURTROOM DEPUTY:      Yes.

20               (Prospective juror approaches sidebar.)

21               THE COURT:    Hi.

22               THE PROSPECTIVE JUROR:      Hi.

23               THE COURT:    Please come forward.      Thank you for your

24   patience.

25               Did you raise your paddle on any of those issues

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1    before?

2                THE PROSPECTIVE JUROR:      No.

3                THE COURT:    Okay.    Is there any reason you could not

4    serve?

5                THE PROSPECTIVE JUROR:      Personal issues.

6                THE COURT:    Tell me.

7                THE PROSPECTIVE JUROR:      So I recently started a job,

8    I work with kids with severe developmental disabilities, and

9    they count on me every day --

10               THE COURT:    You know what, I will excuse you on that

11   basis.

12               THE PROSPECTIVE JUROR:      Thank you so much.

13               THE COURT:    Go back to the second floor.

14               (Prospective juror excused.)

15               THE COURTROOM DEPUTY:      Juror 123.

16               (Prospective juror approaches sidebar.)

17               THE COURT:    Good afternoon, young lady.       Thank you

18   for your patience.      I appreciate it.

19               Did you raise your paddle on any of those issues

20   that I called out before?

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    Tell me about those.

23               THE PROSPECTIVE JUROR:      The biggest issue right now

24   is that my brother was just diagnosed with colon cancer and my

25   mind can't concentrate hardly on anything.

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                           JURY SELECTION - SIDEBAR

1                THE COURT:    You know what, say no more, you go with

2    our blessings --

3                THE PROSPECTIVE JUROR:      Okay.

4                THE COURT:    -- and may God be good to you and your

5    family.    Please give the paddle to my deputy --

6                THE PROSPECTIVE JUROR:      Okay.

7                THE COURT:    -- and go back to the second floor.

8                THE PROSPECTIVE JUROR:      Thank you.

9                THE COURT:    Thank you.

10               (Prospective juror excused.)

11               THE COURTROOM DEPUTY:      Juror 124.

12               (Prospective juror approaches sidebar.)

13               THE COURT:    Good afternoon, sir.      Thank you for your

14   patience.    I appreciate it.

15               Did you raise your paddle on any of those issues?

16               THE PROSPECTIVE JUROR:      I did.

17               THE COURT:    Tell me about those.

18               THE PROSPECTIVE JUROR:      So one of them was -- my

19   biasness --

20               THE COURT:    Yes.

21               THE PROSPECTIVE JUROR:      -- my bias.     Based on what

22   the court case is, I had a parent during 9/11 in the Twin

23   Towers, and it's one of those things that definitely, kind of,

24   has me leaning towards one direction in the sense of which --

25               THE COURT:    So you are not sure you could be fair in

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                           JURY SELECTION - SIDEBAR

1    a case like this?

2                THE PROSPECTIVE JUROR:      I'm -- I can't.

3                THE COURT:    Okay.    Then we will excuse you, I

4    appreciate your candor.       Please give the paddle to my deputy

5    and go back to the second floor.        Thank you.

6                THE PROSPECTIVE JUROR:      Thank you.

7                (Prospective juror excused.)

8                THE COURTROOM DEPUTY:      Juror 125.    Juror 125.    Thank

9    you.

10               (Prospective juror approaches sidebar.)

11               THE COURT:    Thank you for your patience, young lady,

12   appreciate it.

13               THE PROSPECTIVE JUROR:      Yes.

14               THE COURT:    Did you raise your paddle on any issues

15   before when you were sitting out there when I was calling out

16   the issues?

17               THE PROSPECTIVE JUROR:      Just the conflict for --

18               THE COURT:    Tell me about that.

19               THE PROSPECTIVE JUROR:      Just next Monday, I'll be

20   out of town.

21               THE COURT:    Okay.    Well, we have to have everybody

22   here, so you are excused.

23               THE PROSPECTIVE JUROR:      Okay.

24               THE COURT:    Give the paddle to my deputy and head

25   down to the second floor.       Thanks.

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                           JURY SELECTION - SIDEBAR

1                (Prospective juror excused.)

2                THE COURTROOM DEPUTY:      Juror Number 126.

3                (Prospective juror approaches sidebar.)

4                THE COURT:    Thank you.    Appreciate your patience,

5    sir.

6                THE PROSPECTIVE JUROR:      No problem.

7                THE COURT:    Did you raise your paddle on any of

8    those issues I called out?

9                THE PROSPECTIVE JUROR:      I did.

10               THE COURT:    Tell me about those.

11               THE PROSPECTIVE JUROR:      I would struggle a little

12   bit with -- my father was -- father-in-law was a cop --

13               THE COURT:    Okay.

14               THE PROSPECTIVE JUROR:      -- deeply affected by the

15   September 11th events.

16               THE COURT:    So you think you might be a little

17   biased?

18               THE PROSPECTIVE JUROR:      Yeah.

19               THE COURT:    Okay.    We'll excuse you.     Thank you.

20               THE PROSPECTIVE JUROR:      Okay.

21               THE COURT:    Give the paddle to my law clerk and go

22   down to the second floor.

23               THE PROSPECTIVE JUROR:      Thank you.

24               (Prospective juror excused.)

25               THE COURTROOM DEPUTY:      Juror Number 127.

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                           JURY SELECTION - SIDEBAR

1                (Prospective juror approaches sidebar.)

2                THE COURT:    Thank you.    How are you?

3                THE PROSPECTIVE JUROR:      Good.    How are you?

4                THE COURT:    I'm very well.     Thank you for your

5    patience.    I appreciate it.

6                THE PROSPECTIVE JUROR:      Sure.

7                THE COURT:    I feel like we're old friends.

8                THE PROSPECTIVE JUROR:      I know, right?

9                THE COURT:    Did you raise your paddle on any of

10   those issues I called out?

11               THE PROSPECTIVE JUROR:      I did, just two:      One, my

12   dad was convicted of a crime.

13               THE COURT:    I'm sorry.

14               THE PROSPECTIVE JUROR:      I know, right?     But, you

15   know, I had to answer yes to that.

16               THE COURT:    Yeah, well --

17               THE PROSPECTIVE JUROR:      And then the other one is I

18   have a vacation that's scheduled on the 30th.

19               THE COURT:    Which is?

20               THE PROSPECTIVE JUROR:      Which is just after two

21   weeks.

22               THE COURT:    Well, I assure you this case is not

23   going beyond that.

24               THE PROSPECTIVE JUROR:      Okay.    So if we're in

25   between the two weeks, I'm totally fine, but it's a cruise and

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                           JURY SELECTION - SIDEBAR

1    I can't get my money back, and it's been planned for a year

2    and a half, and it's the anniversary thing and --

3                THE COURT:    It's an anniversary thing?

4                THE PROSPECTIVE JUROR:      -- my husband would kill me

5    if I missed it.

6                THE COURT:    I definitely don't want to be involved

7    in that.    You know what, you are excused, you can get ready

8    for your cruise, give your paddle to my law clerk.            They are

9    all engaged -- two of them are engaged and one of them ought

10   to be engaged, but that's another story.          Bottom line, have a

11   great cruise.

12               THE PROSPECTIVE JUROR:      Thank you.

13               THE COURT:    I'm talking about the guy sitting over

14   there who is blushing, all right?         So there you go.     Thanks.

15   Go back to the second floor.

16               THE CLERK:    It's all on the record now, literally.

17               THE PROSPECTIVE JUROR:      Thank you.

18               THE COURT:    You're outed.

19               Okay, next.

20               (Prospective juror excused.)

21               THE COURTROOM DEPUTY:      Juror Number 128.

22               (Prospective juror approaches sidebar.)

23               THE COURT:    Good afternoon, Juror 128.       Thank you so

24   much for your service and your patience.

25               Did you raise your paddle on any of those issues

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1    before?

2                THE PROSPECTIVE JUROR:      Just a couple.

3                THE COURT:    Tell us about those.

4                THE PROSPECTIVE JUROR:      Actually, my main concern is

5    I have a doctor -- doctor's appointment next Tuesday.

6                THE COURT:    Yeah.

7                THE PROSPECTIVE JUROR:      I would be good if it only

8    lasted a week.

9                THE COURT:    Yeah, but we are going to go two weeks.

10   So you can't do it?

11               THE PROSPECTIVE JUROR:      No.

12               THE COURT:    Okay.    I understand.    You are excused,

13   give the paddle to my deputy and go down to the second floor.

14               THE PROSPECTIVE JUROR:      Thank you.

15               THE COURT:    Thank you, sir.

16               THE PROSPECTIVE JUROR:      Have a nice day.

17               THE COURT:    You too.

18               (Prospective juror excused.)

19               THE COURTROOM DEPUTY:      Juror 129.

20               (Prospective juror approaches sidebar.)

21               THE COURT:    Thank you.    Appreciate your patience.

22               Did you raise your paddle on any of those issues

23   before?

24               THE PROSPECTIVE JUROR:      Yeah, one -- two of them.

25               THE COURT:    What was that?      What were they?

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                           JURY SELECTION - SIDEBAR

1                THE PROSPECTIVE JUROR:      I don't really remember.

2                THE CLERK:    Strong feelings about law enforcement.

3                THE COURT:    Strong feelings about law enforcement?

4                THE PROSPECTIVE JUROR:      Yeah.

5                THE COURT:    You have them?

6                THE PROSPECTIVE JUROR:      Yes.

7                THE COURT:    And you couldn't be fair in a case like

8    this?

9                THE PROSPECTIVE JUROR:      No.

10               THE COURT:    No.

11               You know what, you're excused.        Thank you.    Give the

12   paddle to my deputy, go back to the second floor.

13               THE PROSPECTIVE JUROR:      Thank you.

14               (Prospective juror excused.)

15               THE COURTROOM DEPUTY:      Juror 130.

16               (Prospective juror approaches sidebar.)

17               THE COURT:    Thank you for your patience, young lady.

18   I appreciate it.

19               Did you raise your paddle on any of those issues?

20               THE PROSPECTIVE JUROR:      Yes.

21               THE COURT:    Tell me about those.

22               THE PROSPECTIVE JUROR:      The hardship.

23               THE COURT:    Yes.

24               THE PROSPECTIVE JUROR:      I'm a special needs teacher,

25   so I'm a unit teacher, so I'm the only liaison between the

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                           JURY SELECTION - SIDEBAR

1    principal -- there's no principal on-site, so if I'm out for

2    two weeks, I have severely autistic children --

3                THE COURT:    Say no more.     You are excused.     Give the

4    paddle to my deputy and go back to the second floor.

5                THE PROSPECTIVE JUROR:      Thank you.

6                (Prospective juror excused.)

7                THE COURT:    Ask Juror Number 102 to come back up

8    again.

9                THE COURTROOM DEPUTY:      102?

10               THE COURT:    102.

11               THE COURTROOM DEPUTY:      Juror Number 102, please come

12   up.

13               (Prospective juror approaches sidebar.)

14               THE COURT:    Thank you.    Just so we are clear, when

15   you were here before, although you said you worked on both

16   sides of the issues, Juror 102, you said you thought you might

17   be biased; is that right?

18               THE PROSPECTIVE JUROR:      I mean --

19               THE COURT:    Just answer my question now.        You think

20   you might be biased?

21               THE PROSPECTIVE JUROR:      Yes.

22               THE COURT:    Okay.    You don't have to say anymore.

23   You are excused.

24               THE PROSPECTIVE JUROR:      Thank you.

25               THE COURT:    Give the paddle to my deputy and go down

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1    to the second floor.

2                THE PROSPECTIVE JUROR:      Thank you.

3                (Prospective juror excused.)

4                THE COURT:    Close up the box so we can begin the

5    strike process.

6                MS. MACEDONIO:     Your Honor?

7                THE COURT:    Yes.

8                MS. MACEDONIO:     If I could --

9                THE COURT:    Are they all seated in order?

10               Go ahead.

11               MS. MACEDONIO:     There was one juror, Juror Number

12   81, that became Juror Number 26.        Since we have more jurors

13   than we actually need, I would just ask the Court to revisit

14   her.   She's the one who is studying for her physical therapy

15   test in four weeks.      I have a daughter who is studying for the

16   Series 7 and I know the effort that she's putting into it, and

17   I just felt that she wasn't strong enough to tell Your Honor

18   how she really felt.      She almost looked like she was going to

19   cry, so that's my application to the Court.

20               THE COURT:    I hear you, but I don't believe it rises

21   to the level of a for-cause challenge, and if you feel that

22   it's appropriate to excuse her with a peremptory, I don't

23   think there would be anything inappropriate about that at all,

24   but a lot of people who are here work in the area of special

25   needs, and I understand that, but I hear your application, but

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1    I don't think it rises to a for-cause reason.

2                MS. MACEDONIO:     Thank you.

3                THE COURT:    Okay.    So now I'm going to ask you all

4    to step back.     What I will do is I'm going to ask the jurors

5    to hold up their paddles for as long as you folks need to have

6    to make your decisions with peremptories, and you will let me

7    know when you are ready to exercise your peremptories and we

8    will come back to the sidebar here and you will exercise your

9    peremptories.

10               MS. SHARKEY:     Judge, do you think we can have a

11   short break to use the bathroom, things like that?

12               THE COURT:    Yes.

13               MS. MACEDONIO:     We also haven't been able to review

14   the questionnaire yet.

15               THE COURT:    I know.

16               MS. SHARKEY:     So could you give us an hour.

17               THE COURT:    No, I'm not going to give you an hour.

18   I will give you a 15-minute comfort break.          These people have

19   been here all day.      What I want you to do now is to exercise

20   your peremptories and sit down with the questionnaires and --

21   you have been through these individual examinations, and if

22   you -- you see who is in the box, you've got the

23   questionnaires, so you're really looking now at only the first

24   36 names, and go over your questionnaires as you sit there

25   but -- and obviously, you can filter out to use the facilities

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1    as you wish, but I'm not going to keep these jurors here for

2    an hour while you go over the questionnaires.           Okay?

3                So we are going to take 15 minutes.         What we are

4    going to do now is, I'm going to ask them to hold up their

5    paddles so you can start the process.         You guys can filter in

6    and out as you need to for comfort breaks.

7                MS. SHARKEY:     Will you let them know that they can

8    use the bathroom, too?

9                THE COURT:    Not during this period they can't.

10   They're right here.

11               MS. SHARKEY:     Okay.   All right.    Thank you, Judge.

12               THE COURT:    Some of them, in the course of the

13   day -- you may not have noticed, but they have been doing

14   that.

15               MS. SHARKEY:     Okay.   Thank you, Your Honor.

16               THE COURT:    We haven't been doing it, I haven't been

17   doing it.    I'm 69 years old, all right?

18               MS. SHARKEY:     Thank you, Judge.

19               THE COURT:    These things Depends.      No pun intended.

20               THE COURTROOM DEPUTY:      Juror Number 58 has an issue.

21               THE COURT:    Come back to the sidebar, please.

22               Number 58, would you come forward, please.

23               (Prospective juror approaches sidebar.)

24               THE PROSPECTIVE JUROR:      Hi.

25               THE COURT:    What is your issue?

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1                THE PROSPECTIVE JUROR:      Fridays I observe Shabbas,

2    so I have to leave, like, 12:00 --

3                THE COURT:    That's not going to happen.       You can

4    either not serve on the jury or you can miss Shabbas.

5                THE PROSPECTIVE JUROR:      I just remember that, so --

6                THE COURT:    You tell me.

7                THE PROSPECTIVE JUROR:      -- is it possible?

8                THE COURT:    No, it's not possible to leave for

9    Shabbas.    I love Shabbas, but -- I'm a Shabbas goy, but I

10   can't do it.     All right?    You have to be excused, then.

11               THE PROSPECTIVE JUROR:      Thank you.

12               THE COURT:    What's your juror paddle number?

13               THE PROSPECTIVE JUROR:      58.

14               THE COURT:    58, you are excused.      Give it to my

15   deputy.    Go with God.    Shalom.

16               THE PROSPECTIVE JUROR:      Shalom.

17               THE COURT:    Anything else?

18               THE COURTROOM DEPUTY:      Everybody is seated.

19               THE COURT:    Okay.    Let's close up the box.

20               Everybody is in numerical order, so step back, I'm

21   going to ask the jurors to hold up their paddles and then

22   we're off.

23               (Sidebar end.)

24               (Continued on the next page.)

25

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                                 JURY SELECTION

1                (In open court; prospective jurors present.)

2                THE COURT:    Thank you, ladies and gentlemen of the

3    jury.    I'm going to ask you to all hold up your paddles high

4    and keep them high and then I will have another sidebar with

5    the jurors -- with the lawyers and then we will proceed to the

6    next phase, so please hold your paddles up high and I

7    appreciate your patience.

8                Ladies and gentlemen, keep your paddles up but at

9    this time I'm going to ask my courtroom law clerks to excuse

10   jurors 108, 114, 119 and 120 and you can return to the second

11   floor.    Jurors 108, 114, 119 and 120 and report to the second

12   floor.    Thank you.    Appreciate your service.       Thank you very

13   much.

14               The rest of you please continue to hold your paddles

15   high.

16               I'll give counsel five more minutes and then we'll

17   have our sidebar.

18               (Pause in proceedings.)

19               THE COURT:    One more minute counsel, then we'll have

20   our sidebar.     All set?    All right.    We're going to have our

21   sidebar.    White noise machine please.

22               (Continued on the next page.)

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1                (The following occurred at sidebar.)

2                THE COURT:    All right.    So round one of the strikes

3    we begin with the government, you go first.          You have one

4    strike in round one, which juror do you strike?

5                MR. PRAVDA:    Thirty-seven.

6                THE COURT:    I can't hear you, you have to keep up.

7                MR. PRAVDA:    Thirty-seven.

8                THE COURT:    3-7?

9                MR. PRAVDA:    Yes.

10               THE COURT:    All right.    Now, the defense has its

11   strike.    Who do you strike first?

12               MS. MACEDONIO:     Jurors 11 and 12.

13               THE COURT:    Juror 11 and juror 12; is that correct?

14               MS. MACEDONIO:     Yes.   Your Honor --

15               THE COURT:    Hang on, hang on.      That ends round one.

16               MS. MACEDONIO:     Just so I'm absolutely crystal

17   clear, we're using the paddle numbers, correct?

18               THE COURT:    That's the only numbers you got and they

19   ought to be the same as the questionnaire numbers.            Were there

20   any discrepancies between the paddle numbers and the

21   questionnaire numbers?

22               MS. SHARKEY:     No.

23               MS. MACEDONIO:     Not that I'm aware of.

24               MR. HAGGANS:     No, Your Honor.

25               THE COURT:    We're now into round two.       The first two

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1    strikes in round two, the defendant who do you strike?

2                MS. MACEDONIO:     Jurors number 40 --

3                THE COURT:    4-0.    And?

4                MS. MACEDONIO:     And 41.

5                THE COURT:    4-1.

6                Now the government, who do you strike in round two?

7    You get one strike.

8                MR. PRAVDA:    Seventy-five.

9                THE COURT:    7-5; is that right?

10               MR. PRAVDA:    Yes.

11               THE COURT:    7-5.    That completes the strikes in

12   round two.

13               Now we're in round three.       The government you get

14   one strike, who do you strike?

15               MR. PRAVDA:    Eighty-six.     Eighty-six.

16               THE COURT:    I'm sorry.

17               MR. PRAVDA:    Eighty-six.

18               THE COURT:    8-6?

19               MR. HAGGANS:     8-6.

20               THE COURT:    8-6.

21               Now we're on to the defense in round three, you have

22   two strikes, who do you strike?

23               MS. MACEDONIO:     Juror Number five.

24               THE COURT:    Juror Number five.

25               MS. MACEDONIO:     And Juror Number 61.

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1                THE COURT:    And Juror Number 6-1?

2                MS. MACEDONIO:     I'm sorry, 78.

3                THE COURT:    Let's try it again.

4                MS. MACEDONIO:     Okay.

5                THE COURT:    We're now in round three, who do you

6    strike first?

7                MS. MACEDONIO:     Juror Number Five.

8                THE COURT:    And?

9                MS. MACEDONIO:     Juror Number 78.

10               THE COURT:    7-8.

11               We're now into round four, defense?

12               MR. PRAVDA:    I'm sorry, did you say 6-1?

13               MS. MACEDONIO:     No, I said 7-8.

14               MR. PRAVDA:    Okay.

15               So is 61 still in?

16               MS. MACEDONIO:     Yes.

17               MR. PRAVDA:    Sorry about that.

18               THE COURT:    We're now into round four, defense you

19   have two strikes, who do you strike in round four?

20               MS. MACEDONIO:     Juror Number 61.

21               THE COURT:    Juror Number 6-1.      And?

22               MS. MACEDONIO:     Juror Number 33.

23               THE COURT:    Juror Number 3-3?

24               MS. MACEDONIO:     Yes.

25               THE COURT:    We're now on the government strike in

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1    round four, you get one strike in round four, who do you

2    strike?

3                MR. PRAVDA:    Twenty-seven.

4                THE COURT:    2-7.    That completes round four strikes.

5                We're now into round five, the government strikes

6    first, who do you strike?

7                MR. PRAVDA:    Thirty-one.

8                THE COURT:    3-1.

9                Defense, you have one strike in round five, who do

10   you strike?

11               MS. MACEDONIO:     Juror Number 15.

12               THE COURT:    1-5.

13               We're now into round six, defense you get the first

14   strike, who do you strike?

15               MS. MACEDONIO:     Juror Number 18.

16               THE COURT:    1-8?

17               MS. MACEDONIO:     Yes.

18               THE COURT:    Okay.    Round six, government, who do you

19   strike?    You have one strike in round six.

20               MR. PRAVDA:    Fifty-six.

21               THE COURT:    5-6.

22               We're now into the alternate round one.         Defense,

23   who do you strike?

24               MS. MACEDONIO:     Juror Number 99.

25               THE COURT:    Ninety-nine is your strike in alternate

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1    one.

2                Government, you have one strike in alternate one,

3    who do you strike?

4                We're now into alternate round one and the

5    government gets one strike, who do you strike?

6                MR. PRAVDA:    Oh, 99 -- 106.

7                THE COURT:    1-4-6?

8                MR. PRAVDA:    1-0-6.

9                THE COURT:    1-0-6.

10               We're now in alternate round two, government, you

11   get the first strike.

12               MR. PRAVDA:    We have two in a row.

13               THE COURT:    The government has one more strike.

14   We're in alternate round two, you get one more strike then the

15   defense gets a strike.       This is your last strike.

16               MR. PRAVDA:    Seventy-seven.

17               THE COURT:    7-7.

18               Now, defense, who do you strike as your last strike?

19               MS. MACEDONIO:     Juror Number 98.

20               THE COURT:    Juror Number 98.

21               Let me call them out to you again.         The government

22   strikes in round one, 37; the defense strikes 11 and 12.

23               In round two, the defense strikes 40 and 41.          The

24   government strikes 75.

25               In round three, the government strikes 86, the

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                          JURY SELECTION - SIDEBAR

1    defense strikes five and 78.

2                In round four, the defense strikes 61 and 33.          The

3    government strikes 27.

4                In round five, the government strikes 31, the

5    defense strikes 15.

6                In round six, the defense strikes 18, the government

7    strikes 56.

8                In alternate round one, the defense strikes 99.           The

9    government strikes 106.

10               In alternate round two, the government strikes 77

11   and the defense strikes 98.

12               Does that accurately reflect your strikes?

13               MR. HAGGANS:     It does, Your Honor.

14               MS. MACEDONIO:     Yes, Your Honor.

15               THE COURT:    Okay, step back.

16               (End of sidebar conference.)

17               (Continued on the next page.)

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                                 JURY SELECTION

1                (In open court.)

2                THE COURT:    Ladies and gentlemen, the following are

3    excused with the thanks of the Court.         I'm going to ask you to

4    leave your paddles on your chair as you exit.

5                Jurors number 37, 11, 12, 40, 41, 75, 86, 5, 78, 61,

6    33, 27, 31, 15, 18, 56, 99, 106, 77, and 98.           You all leave

7    with the thanks of the Court and please return to the second

8    floor jury panel.      Now I'm going to ask the jurors who remain

9    to come forward in the order of your paddle number.

10               So, Mr. Jackson, just slide them forward please in

11   sequential order.      Hang on one second, we'll pick up the ones

12   that were left behind.       Would you help him with that.

13               Please come forward in the numerical order.

14               THE COURTROOM DEPUTY:      Slide them down.

15               THE COURT:    Slide them down in numerical order.

16               THE COURTROOM DEPUTY:      Slide down, 17, 36, 38, 47,

17   48, 63, 67, 76, 81, 82, 85, 89, 91, 97, 103 and 104.

18               Judge, the box is full.

19               THE COURT:    Thank you.    Members of the jury, now

20   that you have been sworn and before we start the trial, let me

21   give you a few rules of the road.

22               It will be your duty to find from the evidence what

23   the facts are.     You, and you alone, are the judges of the

24   facts.    You want to swear them again?

25               THE COURTROOM DEPUTY:      Yes.

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1                THE COURT:    We swore them earlier.       Swear them,

2    please.

3                THE COURTROOM DEPUTY:      Jurors, please stand and

4    raise your right hand.

5                You, and each of you, do solemnly swear or affirm

6    that you will well and truly try this case before you and a

7    true verdict render according to the evidence and law, so help

8    you God.

9                THE JURY:    I do.

10               THE COURT:    Thank you.    Please be seated.

11               Now that you have been sworn again, first as the

12   members of the panel and now as the jury that's been

13   selected -- well, members of the jury now that you have been

14   sworn and before we start the trial let me give you a few

15   additional rules of the road.

16               It will be your duty to find from the evidence what

17   the facts are because you, and you alone, are the judges of

18   the facts.     You will apply those facts to the law that I, as

19   the Court, will give to you.        You must follow that law whether

20   you agree with it or not.

21               Nothing I, as the Court, say or do during the course

22   of the trial is intended to indicate, nor should it be taken

23   by you as indicating, what your verdict should be.            Do not

24   read anything into my voice.        Do not try to figure out what

25   the judge thinks about the facts because that is your job and

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1    I defer to you.

2                The evidence from which you will find the facts will

3    consist of testimony of witnesses, documents, and other items

4    received into the record as evidence.         Any of the facts that

5    the lawyers agree to or stipulate to, or that I may instruct

6    you to find as a matter of fact; however, there are certain

7    things which are not evidence and which you cannot consider to

8    be evidence.     Statements, arguments and questions by lawyers

9    are not evidence.      Lawyers ask questions.      The questions are

10   not evidence.     The answers the witnesses provide, those are

11   what contain evidence.

12               Lawyers make objections.       Lawyers are supposed to

13   make objections.      Objections are not evidence.       Lawyers have

14   an obligation to their clients and to the Court to make

15   objections when they believe, for example, that evidence is

16   being offered improperly under the Federal Rules of Evidence

17   that apply in this case.       You should not be influenced by the

18   objections themselves.       Rather, understand that if a lawyer

19   objects to a question I will either sustain the objection or

20   overrule the objection.       If I sustain the objection, you

21   should ignore the question.        If I overrule the objection,

22   please treat the question and answer like any other question

23   and answer.

24               If you are instructed that some item of evidence is

25   received for a limited purpose only, you must follow that

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1    instruction.     If this Court has excluded or told you to

2    disregard testimony, you cannot consider that testimony.

3                Nothing you see or hear outside of this courtroom is

4    evidence.    You are to decide this case solely on the evidence

5    presented here.

6                There are essentially two kinds of evidence.          There

7    is what we call direct evidence and what we call

8    circumstantial evidence.       In the course of this trial you're

9    going to hear me say to witnesses periodically to speak into

10   the microphone.     Even though I have a booming voice, you now

11   hear the difference between me speaking without the microphone

12   and me speaking with it.       So when you hear me say in the

13   course of trial to witnesses use the microphone, this is the

14   difference.     You're going to hear the witnesses clearly.          I

15   will insist on it.      I can be very insistent so you will hear

16   the evidence.

17               As I said, there are essentially two kinds of

18   evidence.    There is what we call direct evidence and what we

19   call circumstantial evidence.        Direct evidence is direct proof

20   of a fact.     An eyewitness says I saw it snowing, that is

21   direct evidence that it was snowing.         The eyewitness is

22   testifying as to what he or she saw firsthand.

23               Circumstantial evidence, on the other hand, is proof

24   of facts from which you may infer or conclude that other facts

25   exist.    If the eyewitness says I saw snow on the ground but

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1    that I did not see it snowing, from that you can logically

2    infer or conclude that had it in fact been snowing, despite

3    the fact that the witness did not see it snow.

4                I will give you further instructions on this at the

5    end of the case, but for the time being please keep in mind

6    that you may consider both kinds of evidence, the direct and

7    the circumstantial.

8                It will be up to you to decide which witnesses to

9    believe or not to believe.       It will be up to you to decide how

10   much of a witness' testimony to accept or reject.           I will give

11   you some guidelines for determining a witness' credibility at

12   the end of the case but again you are the ones to determine

13   whom to believe and whom not to believe because you determine

14   the facts.

15               Let's talk a bit about the burden of proof.          The

16   defendant, as I told you earlier, has pled not guilty to the

17   charges against him.      To convict the defendant the burden is

18   on the prosecution and solely on the prosecution to prove the

19   defendant's guilt of each element of the charge beyond a

20   reasonable doubt.      This burden never, ever shifts to the

21   defendant because the law presumes the defendant to be

22   innocent and the law never imposes upon a defendant in a

23   criminal case the burden or duty of calling any witness or

24   producing any evidence.       I say, again, and will say repeatedly

25   to you, the burden belongs solely, squarely and exclusively on

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1    the shoulders of the prosecution.         In other words, the

2    defendant starts with a clean slate and he is presumed

3    innocent of each and every charge.         It is only if you, the

4    jury, are satisfied the government has proven the defendant

5    guilty beyond a reasonable doubt and only at the end of all of

6    the testimony and all the evidence may a defendant be found

7    guilty, but each and every element of that charge must be

8    proven to you beyond a reasonable doubt.          Because in order to

9    convict the defendant of a given charge, the government is

10   required to prove that charge beyond a reasonable doubt.

11               The question then is, what is a reasonable doubt?

12   What constitutes reasonable doubt?         The words almost define

13   themselves.     It is a doubt based upon reason.        It is a doubt

14   that a reasonable person has after carefully weighing all the

15   evidence.    It is a doubt that would cause a reasonable person

16   to hesitate to act in a matter in his or her personal life.

17   Proof beyond a reasonable doubt must therefore be proof of a

18   convincing character that a reasonable person would not

19   hesitate to rely upon in making an important decision.

20               A reasonable doubt is not caprice, nor is it whim.

21   It is not speculation, nor is it suspicion.          It is not an

22   excuse to avoid the performance of an unpleasant, difficult

23   duty.    The law does not require that the government prove

24   guilt beyond all possible doubt, proof beyond a reasonable

25   doubt is sufficient to convict, but it must be proof beyond a

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1    reasonable doubt.

2                If, after fair and impartial consideration of the

3    evidence, you have a reasonable doubt as to the defendant's

4    guilt with respect to a charge against him, you must find the

5    defendant not guilty of that charge.         On the other hand, if,

6    after fair and impartial consideration of all the evidence,

7    you are satisfied beyond a reasonable doubt of the defendant's

8    guilt with respect to a particular charge against him, you

9    should find the defendant guilty of that charge.

10               The question of possible punishment of the defendant

11   is of no concern to the jury and should not in any sense enter

12   into or influence your deliberations.         If you find the

13   defendant guilty beyond a reasonable doubt, then the Court and

14   the Court alone will deal with any issue of sentencing.            The

15   duty of imposing sentencing rests exclusively upon the Court.

16               Your function is to weigh the evidence in the case

17   and to determine whether or not the defendant is, in fact,

18   guilty beyond a reasonable doubt.         Doubt based solely upon the

19   basis of such evidence.

20               Under your oath as jurors you cannot allow

21   consideration of the punishment, which may be imposed upon the

22   defendant if he is convicted, to influence your verdict in any

23   way, shape or form, or in any sense to enter into your

24   deliberations.

25               Let me talk briefly a bit more specifically about

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1    this case.     This is a simple, brief overview of the case and

2    I'm not yet going to cover all the legal issues or legal

3    principles.      The instructions I give you at the conclusion of

4    the case will govern your deliberations.          This overview, as I

5    said before, is meant only to give you a sense of the big

6    picture.

7                Members of the jury, the government has filed an

8    indictment charging Mr. Kasimov with conspiring and attempting

9    to provide material support to a foreign terrorist

10   organization.      An indictment is simply the means by which the

11   government gives a defendant notice of the charges and brings

12   the defendant to court.       The indictment is merely an

13   accusation and nothing more.        It is not evidence and it is not

14   to be considered by you, the jury, in arriving at a verdict.

15               In response to the indictment the defendant has

16   pled, as I told you before, not guilty.          The defendant is

17   therefore presumed to be innocent unless and until such time

18   as his guilt has been proven by the government beyond a

19   reasonable doubt to you, the jury.

20               The indictment in this case reads as follows:          The

21   Grand Jury charges conspiracy in Count One, conspiracy to

22   provide material support to a foreign terrorist organization.

23               1.    In or about and between August 2014 and

24   February 2015, both dates being approximate and inclusive

25   within the Eastern District of New York and elsewhere, the

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1    defendant Mr. Kasimov, together with others, did knowingly and

2    intentionally conspire to provide material support and

3    resources, as defined in Title 18, United States Code

4    Section 2339(a)(b), including services and personnel to a

5    foreign terrorist organization, to wit:          The Islamic State of

6    Iraq and the Levant.

7                And Count Two states:      The attempt to provide

8    material support to a foreign terrorist organization.

9    Paragraph two says:      In or about and between August 2014 and

10   February 2015, both dates being approximate and inclusive

11   within the Eastern District of New York and elsewhere, the

12   defendant Mr. Kasimov, together with others, did knowingly and

13   intentionally attempt to provide material support and

14   resources as defined in Title 18, United States Code

15   Section 2339(a)(b), including services and individuals as

16   personnel to a foreign terrorist organization, to wit:            The

17   Islamic State of Iraq and the Levant.

18               Now again charges, those charges are not evidence

19   and the burden of proof is on the government to prove each and

20   every element of the charges beyond a reasonable doubt against

21   this defendant.     I will give you detailed instructions on the

22   law at the end of the case.        Remember that the law comes from

23   me, not from the lawyers.       I'm sure the lawyers understand

24   this and I'm sure the lawyers are not going to try to tell you

25   what the law is because I assure you the lawyers do not want

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1    me to interrupt them sternly and to remind them what their job

2    is, what my job is, although if they try to tell you what the

3    law is, I will interrupt them.        So, therefore, you can be

4    comfortable that they won't do that.

5                As I previously instructed you, this is an anonymous

6    and partially sequestered jury.        It is common practice in

7    federal court for the names and identities of the jurors to be

8    kept confidential.      That means your names will not be known to

9    the public, the members of the press, to the parties in this

10   action or to the lawyers.       Although there is no reason to

11   believe anyone on either side or the press or anyone else to

12   try to contact you about this case, it's an added precaution

13   and it protects your privacy.        We will never ask you to state

14   here in court your name, address, telephone number, place of

15   business or any other personal identifying information.            Of

16   course, the Court will know your names and addresses and

17   telephone numbers but I will use this information only if

18   there is a need to contact you because of some family

19   emergency or something else.        I assure you that the Court will

20   not share that information with anyone else.           As the Court I

21   will refer to you only by your juror number throughout this

22   trial.

23               The United States Marshal Service will escort you as

24   a jury to and from the courthouse daily to ensure a timely

25   start each day.     As jurors, you will remain together during

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1    breaks and during lunch in order to ensure the trial continues

2    expeditiously.     I promised you no more than two weeks, I am

3    going to stick to that promise.        We will provide you lunch

4    daily so you do not need to leave the courthouse.

5                After we adjourn today, the marshals will convene

6    with you in the jury room, which is right behind here, to

7    discuss the logistics and assure no one except for you, the

8    jury, and the Marshals know these logistics.

9                Now, a few words about your conduct as jurors.

10   Please do not discuss the case with anyone.          This includes

11   discussing the case in person, in writing, by phone or

12   electronic means via text messaging, email, Facebook, Twitter,

13   blogging, website, social media, the Internet or any other

14   features.    If you have to tell someone, such as your spouse,

15   your significant other or your employer that you are on jury

16   duty, you're serving on a jury and the trial may last up to

17   two weeks, that's okay, but when they inevitably ask you what

18   the case is about or even the name and the nature of the case,

19   please tell them you are under strict instructions from a

20   judge who sounds a lot like Darth Vader not to discuss

21   anything, and I mean anything about the case.           The reason for

22   this is serious and obvious and, that is, you must decide this

23   case solely on the evidence presented in this courtroom and

24   not on the basis of anything anyone who is not a member of the

25   jury and who hasn't heard the evidence may think about the

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1    case.

2                If you are asked or approached in any way about your

3    jury service or anything about this case, or if you're

4    concerned about anything about this case, you should respond

5    that you've been ordered by this judge not to discuss the

6    matter and you should report that immediately to the Court

7    Security Officer or the United States Marshal as soon as

8    possible.    Do not wait.     Tell the Court Security Officer or

9    the Marshal and he or she will tell me.          And trust me, I will

10   make Lord Vader look like a wuss.         I do not let anyone

11   interfere with my juries.

12               You must not try to access any information about the

13   case or do any research on any issue that arises in the case

14   from any outside source including dictionaries, reference

15   books or, goodness knows, anything on the Internet.

16               The lawyers in this case on all sides are excellent,

17   as you will soon see.      Do not attempt to do their jobs for

18   them.    They are all very good.      In the event you see anything

19   in the media about this case, please turn away from it

20   immediately and pay it no heed.        Your sworn duty is to decide

21   this case solely and wholly on the evidence presented in this

22   courtroom.

23               Please do not discuss the case even amongst

24   yourselves until all the evidence has been presented and the

25   case has been given to you for your deliberations.            The reason

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1    for this is that evidence will be presented, as I'm sure you

2    know, one witness at a time and one exhibit as a time and it

3    is important that you keep an open mind until you've heard all

4    the evidence.     You would not decide an Agatha Christie novel

5    on the basis of what you read in the first 10 pages or a

6    mystery on the basis of a character you meet in the first five

7    minutes, you wait until the entire matter is presented to you.

8                Do not take any notes during the trial.         We have

9    excellent court stenographers, as you know, you've seen them

10   coming in and out, they're absolutely excellent.           We have

11   excellent recording devices.        If, in the course of your

12   deliberations at the end of the trial when you begin your

13   deliberations in the case, you decide as the jury that you

14   need to review testimony or documents again, the process is

15   very simple.     You will have your foreperson of the jury send a

16   written note to the Court signed by the jury foreperson and I

17   will have it sent back to you in the jury room for your review

18   whatever evidence you need, whatever testimony you need will

19   be sent back to you in the jury room for your review.            That

20   way you will all be on the same page.

21               If instead, you take notes and one person writes X

22   and one person writes Y, you can spend a lot of time fighting

23   about who takes the better notes and then we're all back in

24   junior high school fighting about whose notes to accept, so we

25   don't to do that.      We have the world's best note takers and

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1    there won't be any question about what was said or what the

2    documents state.      It is just better to ask for the actual

3    documents and the actual testimony rather than to have notes

4    taken that way there will be no doubt as to what was said and

5    there will be no confusion about that.

6                I will make sure, as I said repeatedly, and you will

7    see me do it, that the witnesses speak clearly, that the

8    documents admitted into evidence are legible.           You don't have

9    to worry about that.      You will hear me say to jurors if they

10   start to speak quickly -- to witnesses if they start to speak

11   quickly to slow down and to channel their inner Lord Vader

12   speech pattern rather than their inner Chris Rock or Woody

13   Allen or Annie Hall speech pattern.         So when I say to them

14   "Vader not Annie Hall, not Chris Rock," I'm talking about

15   speech patterns.      Trust me, you'll hear it and you'll

16   understand why I slowed them down.         That way the court

17   reporter doesn't have to throw up his or her hands and say, I

18   can't take it down because you're going too quickly.

19               So before we begin, let me talk about the course of

20   the trial.     Tomorrow each side will make an opening statement.

21   Remember that each opening statement is not evidence but only

22   an outline of what each party believes the evidence will show.

23   And I say again, remember the entire burden of proof is on the

24   government.     The defendant need not prove anything.         He does

25   not even need to take the witness stand at all.

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1                Next, the government will present its witnesses and

2    the defendant may cross examine them.         Then the defendant will

3    have the opportunity to present any witnesses if he wishes to

4    do so, but he doesn't have to.        If the defendant presents

5    witnesses the government may cross examine them.           After that,

6    once all the witnesses have testified and the Court has

7    admitted into evidence everything that must be admitted into

8    evidence, each side will have the opportunity to present a

9    closing argument.      And remember, the closing arguments are not

10   evidence.

11               I will then give you detailed instructions on the

12   law as you are to apply it in this case.          You will then retire

13   to the jury room, which is conveniently located right behind

14   this courtroom, to deliberate your verdict.          There are

15   restrooms, a sink, a refrigerator, it's really quite lovely.

16   We will continue to buy you lunch each and every day when you

17   are deliberating and, indeed, each and every day throughout

18   the trial.     That way you do not have to leave until you've

19   reached a verdict.

20               We will take three breaks during the course of the

21   day.   The first will be from 11 to 11:15 a.m.; the second will

22   be for lunch which will be from 12:30 to 1:45 p.m.            As I said,

23   the lunch will be provided to you.         The third will be from

24   three to 3:15 p.m.      We will adjourn each day promptly at 5

25   p.m. and I mean each day promptly at 5 p.m.          I don't care what

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1    the lawyers are in the midst of saying, we're going to adjourn

2    at 5 o'clock.     You see that big clock over there, you will

3    hold me to it.     Because when it gets to be five to five you're

4    going to look at me and say, okay, Judge, did you really mean

5    it?   Your eyes will be very clear to me.         I've told the

6    lawyers we're stopping them at five every day, ruthlessly.             In

7    a kind and gentle way, but ruthlessly at five.           Therefore, we

8    will adjourn each day at 5 p.m. and we will begin every day

9    9:30 a.m. sharp.

10               When you are meeting Marshals, you will arrive at

11   the courthouse in a timely fashion.         I ask that you please not

12   be late.    We cannot start without each and every one of you.

13   Please do not make us wait.

14               I thank you for your attention, and because both

15   parties have agreed to do opening statements tomorrow morning,

16   I'm going to violate my 5 o'clock rule and tell you we are

17   adjourning early today.

18               The Marshals and Court Security Officers will now

19   direct you to the jury room and we'll discuss with you the

20   transportation logistics.

21               Have a good afternoon, we'll see you tomorrow

22   morning at 9:30 a.m. sharp.

23               You can leave your paddles here on your seats my law

24   clerks or court deputy will pick them up.          So thank you.

25               Thank you very much, ladies and gentlemen of the

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1    jury.    See you tomorrow.

2                (Jury exits courtroom.)

3                THE COURT:    You may be seated.      The jury has left

4    the courtroom.     Counsel and parties are still present.

5                Are there any logistical issues we need to discuss

6    today outside the presence of the jury?

7                MS. SHARKEY:     Judge, we'd --

8                THE COURT:    From the government first.       Anything?

9                MR. PRAVDA:    Nothing from the government.

10               THE COURT:    Defense counsel.

11               MS. SHARKEY:     Judge, we've been alerted to --

12               THE COURT:    I'm sorry just keep your voice up please

13   and make sure the little green light is on.

14               MS. SHARKEY:     We've been alerted to three witnesses

15   that the government anticipates will be testifying tomorrow.

16               THE COURT:    Hang on.    These are witnesses who are on

17   that list that I read of names I hope, yes.

18               MS. SHARKEY:     Yes.

19               THE COURT:    Go ahead.

20               MS. SHARKEY:     We ask if anybody else is testifying

21   tomorrow and who they anticipate for Wednesday.

22               THE COURT:    Okay, when I was in private practice for

23   33 years, I hated it when judges said to me, who are you

24   calling next and what do you anticipate?          I loved it when

25   judges did that to my adversary and I promised that when I

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1    became a judge, if that ever happened, I would never burden

2    either side of lawyers with saying, who you going to call, how

3    long is it going to take, what do you anticipate.           Because you

4    do not know how long your cross examination is going to be and

5    you don't know how long the direct is going to be and I didn't

6    and don't do it in civil cases and I'm not going to do it

7    here.

8                The government will call their witnesses and they'll

9    take as long as they need.       Your cross will take as long as

10   you need but I don't put anybody in a straight jacket on

11   either side.     So if they want to tell you, cool.        But I'm not

12   going to make them tell you because I don't think it's

13   appropriate to burden counsel on either side with that.

14               I know about planning issues, but I will tell you

15   one autobiographical story from my first trial as a first year

16   associate for the senior partner who was representing a major

17   bank and it came to a point when he said my next witness is

18   the controller of an outfit that shall remain nameless and

19   they are having their annual meeting.         We'll just call the

20   outfit CitiCorp and the judge, who shall remain nameless,

21   we'll just call him the late Chief Judge Charles Bryant of the

22   Southern District, said to the lawyer, who shall remain

23   nameless, we'll just call him Clarence W. Olmstead Jr, he said

24   my jury is more important than Citibank's annual meeting, so

25   you tell Mr. Donald H. Howard, to make up a name, that he is

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1    to get on the subway in midtown, not to take the corporate

2    limo and he is to be here in 20 minutes or I'm entering a

3    default judgment against your client.         Fifteen minutes later

4    Mr. Howard was in the jury -- was in the witness box.            Judge

5    Bryant said something about the eagle behind him with the

6    talons, the talon of peace and the talon of war, the 13 arrows

7    representing the original 13 colonies, and the peace olive

8    branch.    That was the last time I thought about not having

9    witnesses available and the first time I thought about delay

10   of the process for the jurors.        I think that was 1978 before

11   most of you were born.       So I just thought I would throw that

12   little autobiographical bit out there, not so much for the

13   defense counsel but for the prosecution to realize that you

14   have your next witness or you rest.

15               Anything else I can help you with on witness order?

16               MS. MACEDONIO:     No, thank you, Your Honor.

17               MS. SHARKEY:     No, Judge.

18               THE COURT:    All right.    Anything else?

19               MS. MACEDONIO:     No, thank you.

20               THE COURT:    Anything else?

21               MR. PRAVDA:    Nothing else.     Thank you, Your Honor.

22               THE COURT:    Have a wonderful evening.       See you

23   tomorrow.    We'll start at 9:30 promptly.

24               (Whereupon, the trial adjourned at 4:30 p.m. to

25   resume Tuesday, September 17, 2019 at 9:30 a.m.)

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